Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 1 of 80




                        Exhibit N
    Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 2 of 80







     Ƭ 


      




      ʹͲͳͶǦʹͲʹ͵
                       




      




      
      February,2014
      
      






           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 3 of 80

                                                                                                                                                                                 
TableofContents

1.ExecutiveSummary............................................................................................................................... ................3
            StormSandyProgram............................................................................................................................... .....7
2.MajorProjectProfiles............................................................................................................................... ............8
            BayonneBridgeNavigationalClearanceProgram.........................................................................................9
            GoethalsBridgeModernizationProject......................................................................................................10
            GeorgeWashingtonBridgeͲSuspenderRopesReplacementProgram.....................................................11
            LincolnTunnel–HelixReplacementProgram.............................................................................................12
            LincolnTunnelAccessProgram..................................................................................................................13
            GreenvilleYards............................................................................................................................... ............14
            LaGuardiaAirportRedevelopmentProgram..............................................................................................15
            NewarkInt’lAirportTerminalARedevelopmentProgram........................................................................16
            HarrisonStationReplacementandUpgrade...............................................................................................17
            GroveStreetStation–CapacityEnhancementsandStationModernization............................................18
            PATHtoNewarkInt’lAirport....................................................................................................................... 19

3.DepartmentalSummaries............................................................................................................................... ....20
            Aviation............................................................................................................................... .........................21
                      AviationDepartmentProjectListing..............................................................................AͲ1

            Tunnels,Bridges,andTerminals..................................................................................................................25
                        TB&TDepartmentProjectListing...................................................................................BͲ1
            PATH............................................................................................................................... .............................29
                        PATHDepartmentProjectListing...................................................................................CͲ1

            PortCommerce............................................................................................................................... ............33
                        PortCommerceDepartmentProjectListing..................................................................DͲ1

            WorldTradeCenterRedevelopment..........................................................................................................37
                        WTCDepartmentProjectListing...................................................................................EͲ1
            ProvisionsandRegionalDevelopment........................................................................................................39
            DocumentAcronyms............................................................................................................................... ....41
4.CompleteCapitalPlanProjectListing...............................................................................................................FͲ1



                                                                                                                                                                                 

        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 4 of 80

                                                                                                                        
ExecutiveSummary

The2014Ͳ2023CapitalPlanprovides$27.6billionincapitalinvestmenttofundcriticalprojectsforthePort
Authority’sPorts,Airports,PATHsystem,Tunnels,Bridges,TerminalsandtheWorldTradeCenter.Theproposed
10Ͳyearcapitalplanisabalancedportfolioofmorethan500projectsthatwillbringvitalairportterminalsinto
the21stcenturyandcreateimportantnewbridgecapacity,whileatthesametimepreservingcriticalPort
Authorityinfrastructurethatissoessentialforsafeandefficienttransportationintheregion.Itwillsupportthe
generationofmorethan126,000jobyears,$7.3billioninwagesandapproximately$29billionineconomic
activity,andwillenhancethePortAuthority’slegacyofexcellenceinconstructing,maintainingandoperating
theNewYorkͲNewJerseyregion’stransportationsystem.

TheCapitalPlanwasdevelopedusingacomprehensiveplanningprocessandriskͲbasedprioritizationthat
consideredassetcondition,operationalandrevenueimpact,threatassessment,customerservice,regional
benefit,andregulatoryorstatutoryrequirements.ForourStateofGoodRepairProgram(SGR),thecriticalityof
anSGRprojectwasdeterminedbyassessingtheassociatedassetintwoindependentcategories:(1)the
currentphysicalconditionoftheasset,and(2)theoperationalimpactthattheassethasonthefacilitywhere
theassetislocated.ThefollowingisthecriteriaemployedintheSGRassessment:


                                                   SGRProjectCriteria

                                                             

                                                             

              PhysicalConditionCriteria                                    OperationalImpactCriteria
                                                                 
      9 LifeSafety—extenttowhichfailureofan                    9 OperationalImpacttotheFacility—
       assetwouldposeathreattolifesafety                        criticalityoftheassettofacilityoperation
      9 LifeCycle—Considerationofasset’s                          9 RevenueImpact—revenuelossand

        usefullife                                                     operatingcostsresultingfromasset
     9 Physical/MechanicalOperational                                failure
        Capability—extenttowhichanassetcan                      9 CustomerServiceImpact—asset's
       bereliedupontoperformitsintended                          impactonqualityservicetocustomers
        function                                                  

      9 MaintenanceRequired—extenttowhich
       assetsrequireimmediaterepairs
      9 Maintainability—extenttowhichsystem
       maybecomeobsolete
Theotherprojectcategorieswerealsoprioritizedforinclusioninthecapitalplan.SystemEnhancing/Revenue
Producingprojectswereevaluatedbasedonthescaleoftheproject,thepotentialeconomicvaluetotheregion,
aswellasthepotentialtoproviderevenuefortheagency.MandatoryProjectswerereviewedtoconfirm
specificlaw,governmentalruleorpolicyaddressedbyinvestment.AllMandatoryProjectswereincludedinthe
CapitalPlan.SecurityProjectswereevaluatedbytheChiefSecurityOfficerandtheOfficeofEmergency

                                                                                                            3|P a g e 

        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 5 of 80

                                                                                                                                            
Managementaspartofanoverallriskbasedanalysis.The2014Ͳ2023CapitalPlanalsoprovidesforsignificant
advancementoftheagency’smissionthroughinvestmentin:

    •   NewMajorInitiatives:
           • CentralTerminalBuildingat                                         •      BayonneBridgeRoadwayElevation
              LaGuardiaAirport(CTB)                                            •      GWBSuspenderRopesReplacement
           • TerminalARedevelopmentat                                          •      GreenvilleYardsPortDevelopment
              NewarkInt’lAirport                                               •      PATHGroveSt.StationRenovation
           • LincolnTunnelHelixReconstruction                                  •      PATHHarrisonStationRenovation
           • LincolnTunnelAccessProjects                                       •      PATHExtensiontoNewarkInt’l
           • GoethalsBridgeReplacement                                                 Airport

    •   CompletionoftheWorldTradeCenter(WTC)
        
    •   Asreflectedinthefollowingtable,coreLineDepartmentplannedspending,whichexcludesmajor
        projectinitiatives,representsnearly40%ofthe2014Ͳ2023capitalplan.TheWorldTradeCenter
        represents18%oftheplanandisforecastedtocompletenearlyallactivitieswithinthefirst3yearsof
        theplan.Newmajordepartmentinitiativesaccountfor40%ofthecapitalplan.ThePortAuthoritywill
        investnearly$16billioninthefirstfiveyearsoftheplan,including$500millioninStormSandyrelated
        projects.
          ʹͲͳͶǦʹͲʹ͵Ȃ 
                                                                                                                2014Ͳ2023
                                                                                                               Shareof
           ($in000’s)                                          2014Ͳ2018                    2014Ͳ2023      CapitalPlan
          Aviation–CoreProject                   2,053,633          4,740,606         17.2%
           TB&T–CoreProjects                       1,251,674          2,250,856           8.2%
          PATH–CoreProjects                       873,279         1,715,502           6.2%
           Port–CoreProjects                         495,711         1,266,391           4.6%
          ProvisionsandDevelopment                    11,165       781,104          2.8%
           LineDept.Subtotal                     4,685,462                  10,754,460           39.0%
          BayonneBridgeElevation                               1,142,820                    1,142,820            4.1%
           GoethalsBridgeConstruction                              463,435                     474,552           1.7%
           GWBSuspenderRopesReplacement                            208,943                     933,150           3.4%

           LincolnTunnelHelixReconstruction                          36,297                 1,441,267            5.2%
           LincolnTunnelAccessProjects                         1,455,060                    1,727,375            6.3%
          GreenvilleYardsDevelopment                               286,351                     312,701           1.1%
           CTBatLaGuardiaAirport                               1,486,188                    2,080,545            7.5%
          TerminalARedevelopmentatNewarkAirport                 199,612                  1,220,504            4.4%
           PATHHarrisonStationRenovation                           191,950                     206,950           0.8%
          PATHGroveStreetStationRenovation                         18,641                    214,141           0.8%
           PATHExtensiontoNewarkAirport                           575,000                  1,200,000            4.4%
          MajorProjectsSubtotal                 6,064,296                  10,954,004         39.7%
           WTC                                          4,900,211          4,912,156            18%
          StateandRegional                           192,571         942,571            3%
           Total                                               15,842,540                   27,563,191                  






                                                                                                                                4|P a g e 

           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 6 of 80

                                                                                                                                                
Profilingtheplanbycapitalprojectcategories,thePortAuthorityhasprioritizeditsportfoliobyprovidingfor
StateofGoodRepairinvestmenttomaintaincriticalstructuralintegrityandoperationalcapabilitiesofitsassets;
Mandatoryprojectsthatarerequiredbylaw,governmentalruleorregulationorbyPortAuthoritypolicy;
Securityprojectsthatmeetriskmanagementgoals;andSystemEnhancingProjectsthatimprovecustomer
servicelevelsandyieldregionaloreconomicbenefits.


                ʹͲͳͶǦʹͲʹ͵Ȃ  
                                                                                                                 2014Ͳ2023
                                                                      2014Ͳ2018                 2014Ͳ2023          Shareof
               ($000’s)                                     CapitalProgram                  CapitalPlan      CapitalPlan
                StateofGoodRepair                       2,897,846       7,918,140          28.8%
               Mandatory                                  563,235      738,282          2.7%
                Security                                   492,710      829,533          3.0%
               WTC                                          4,900,211       4,912,156          17.8%
                StateandRegional                           192,571      942,571          3.4%
                SystemEnhancing/RevenueProducing           731,672     1,268,505            4.6%

                MajorProjectInitiatives*                             6,064,296      10,954,004           39.7%
                Total                                               15,842,540        27,563,191                  
     

*$4.7billionofspendingin2014Ͳ2023forMajorProjectInitiativesconstituteStateofGoodRepairProjects.
Togetherwithcoredepartmentalspending,StateofGoodRepairprojectsrepresent46%ofthetotalCapital
Plan.

                                 DistributionofCapitalInvestmentbyProjectType
                                              (ExcludesMajorProjects)
    2,500,000
                                                     2014Ͳ2018

    2,000,000
                                                                                                                           SGR
                                                                                                                           Mandatory
    1,500,000
                                                                                                                           Security
                                                                                                                           WTC
    1,000,000                                                                                                              Regional
                                                                                                                           Other/SEP

     500,000


           0
                      2014              2015               2016                   2017                      2018
                                                                                                                                            

WithineachLineDepartment’scapitalbudget,asignificantportionoffundingisdedicatedtoStateofGood
Repairprojects;intotal,$2.9billionofcapitalinvestmentinSGRworkisscheduledfor2014Ͳ2018,excluding
MajorProjectInitiatives.



                                                                                                                                   5|P a g e 

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 7 of 80

                                                                                                                      
DeliverabilityProcessandFutureAdjustments

ThePortAuthorityisalsoenhancingvariousCapitalDeliverabilityProcessestobetterfocusonexpeditingthe
processtobringcapitalprojectsfromtheirinitialconceptualphasetoexecution,constructionandultimatelyto
operation.Theseseriesofdeliverabilityinitiativesinclude:

     NewProjectOnͲBoardingProcess:Anenhancedprojectinitiation,budgeting,monitoringandoversight
      processtoallowforintegrationofassetmanagementwiththeprojectplanninganddeliveryefforts.
      
     ImplementationofStageGates:Astructured“fundinggate”reviewprocessatdefinedpointsinthe
      projectlifecycletoensureprojectscomplywithapplicableprojectqualitystandards,approvedplans
      andthePortAuthority’sstrategicobjectives.
      
     ProjectRiskAssessments:Astreamlinedandscalableriskmanagementprocesstoallowforthe
      identification,quantificationandmanagementofProjectRisksthroughouttheprojectlifecycle.Efforts
      includetheperformanceofqualitativeandquantitativeRiskAssessmentstoaidintheestablishment
      andmanagementofProjectContingencies.
      
     SmallProjectDeliveryProgram:Anexpediteddeliveryprocessforsmalland/orroutine
      infrastructure/buildingprojects,includinganexpeditedprocurementprocess.
      
     EnhancedReportingonKeyPerformanceIndicators:Anenhancedreportingsystemfocusedonkey
      capitalprogramperformanceindicators,withformalQuarterlyprogressupdatestotheBoard’sCapital
      Planning,ExecutionandAssetManagementCommittee;acommitteeoftheBoardtaskedwiththe
      governancetomonitoranddriveexecution,effectivenessandefficiencyofthecapitalplan.
      

The2014Ͳ2023CapitalPlanprovidesthepublicwithtransparencyastotheplannedcapitalexpendituresand
prioritiesovertheperiod.ThePlanisintendedtoenhancetheBoardauthorizationprocessandwillnotbea
substituteforcurrentauthorizationpractices.ThePlanwasdevelopedusingthebestinformationavailableat
thetimeandinconsiderationofavailablePortAuthoritycapitalcapacityandthirdͲpartyfunding.ThePort
Authoritywillregularlymonitorprogressontheplan,newdevelopmentsastochangesinrisk,laworsecurity
andavailabilityoffundingandmodifythePlanasnecessary.Forthoseprojectswithtotalprojectcoststhat
exceedtheplannedPortAuthorityspending,outsidefundingwillbesought/securedand/orprojectscope
revisited.









                                                                                                        6|P a g e 

         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 8 of 80

                                                                                                                                                            
StormSandyProgram

The Capital Plan provides funding for the Storm Sandy           StormSandyCapital
Program,whichincludespermanentrepair,mitigation,and             ProgrambyDepartment
resiliencyprojectsforecastedinthe2014Ͳ2023period.
                                                                              2014Ͳ2023
                                                                                                   Aviation
It is anticipated that a portion of these costs will be                                   10.7%
recoveredthroughinsuranceandFederalpublicassistance
programs.TheinitialStormSandyCapitalProgramconsists
                                                                                                             TB&T
of 57 projects, estimated to require $1.0 billion of capital
                                                                                                             16.3%
investment over ten years, with $474 million of spending
estimated to occur between 2014 and 2018.  It is                        PATH
anticipatedthattheSandycapitalplanwillincreaseduring                     64.4%                        Port
the 10 year plan period as project scopes are refined and                                       Commerce
agreedtowithourFederalassistancepartners.Inaddition,                                                8.6%
the Port Authority will continue to invest in Storm Sandy
operatingrepairsandrestoration,particularlyattheWorld
TradeCentersite.

OverhalfofthespendingwillbeforpermanentrepairstothePATHsystemrelatedtoStormSandy.The
remainingprojectsareforlongͲtermrepairandresiliencytohelpprotectotherPortAuthority’sassetsfrom
futurestorms.

StormSandyProgram5–YearCapitalSpendingbyDepartment                                                                                     
($in000’s)
                        2014                2015            2016               2017               2018          2014Ͳ2018               2014Ͳ2023
     Aviation               24,213 28,629 23,998     357    318   77,515       117,004
     TB&T                   18,870 20,097 26,862    3,482     4,268     73,578       177,490
     PortCommerce          17,803 15,909 8,676    987   2,183     45,558        93,330
     PATH                   27,865 49,214 59,271    80,758      60,596      277,704        701,545
TotalSandyProgram         88,750 113,849  118,806     85,583      67,365      474,355        1,089,369


                                                                                                                                                      
                                                  StormSandyProgram(2014Ͳ2018)
                                                      SpendingbyDepartment
                        140,000                                                                                                                      
                        120,000                                                                                                                      
                        100,000                                                                                               PATH
                                                                                                                                                      
                                                                                                                                                      
         ($in000's)




                         80,000                                                                                                                      
                                                                                                                               Port
                         60,000                                                                                               Commerce               
                                                                                                                               TB&T                   
                         40,000
                                                                                                                                                      
                         20,000                                                                                               Aviation
                                                                                                                                                      
                              Ͳ                                                                                                                       
                                   2014           2015              2016             2017                 2018                                        
                                                                                                                                                      

                                                                                                                                          7|P a g e 

        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 9 of 80

                                                                                                                                                                        
MajorProjectProfiles
Intheupcoming10years,thePortAuthoritywillbeundertaking11majorprojectinitiatives,excludingWTC
work.Theseprojectswillhaveasignificantimpactontheregion,aswellasaccountfor$10.9billion(39%)ofthe
agency’scapitalprogram.

                                                MajorProjectsCapitalInvestment(2014Ͳ2023)
    HarrisonStation
        GroveStreet
     GreenvilleYards
                                                                                                                                                    2014Ͳ2018
     GoethalsBridge
     GWBSuspender…
     BayonneBridge                                                                                                                                2019Ͳ2023
        PATHtoEWR
    TerminalA(EWR)
               LTHelix
      LincolnTunnel…
            CTB(LGA)

                            Ͳ                      500,000                  1,000,000                  1,500,000                  2,000,000                 2,500,000

                                                                                            ($in000's)
                                                                                                                                                                             

ThefollowingpagesprovidesummaryprofilesforeachoftheMajorProjects:

        BayonneBridgeNavigationalClearanceProgram.........................................................................................9
        GoethalsBridgeModernizationProject......................................................................................................10
        GeorgeWashingtonBridgeͲSuspenderRopesReplacementProgram.....................................................11
        LincolnTunnel–HelixReplacementProgram.............................................................................................12
        LincolnTunnelAccessProgram..................................................................................................................13
        GreenvilleYards............................................................................................................................... ............14
        LaGuardiaAirportRedevelopmentProgram..............................................................................................15
        NewarkInt’lAirportTerminalARedevelopmentProgram........................................................................16
        HarrisonStationReplacementandUpgrade...............................................................................................17
        GroveStreetStation–CapacityEnhancementsandStationModernization............................................18
        PATHtoNewarkInt’lAirport....................................................................................................................... 19




                                                                                                                                                       8|P a g e 

                   Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 10 of 80

                                                                                                                              
BayonneBridgeNavigationalClearance
Program

Purpose:TheBoardauthorized$1.3billiontoraisethe
roadwayoftheBayonneBridgeto215feetto
accommodatelargermoreefficientshipsanticipatedpost
PanamaCanalexpansion.Thecurrentnavigational
clearanceof151feetisanongoingconcernforthe
maritimeindustry.Inlate2015,muchlarger
containershipsareexpectedtocallateastcoastports.
Allowingthesevesselsaccesstoourportfacilitieswill
provideamoresustainableandcompetitivePortofNewYorkandNewJersey.
                                                              BayonneBridgeNavigationalClearanceProgram
Scope:Thescopeofworkincludesthereplacementofthe TotalProjectCost                   $1.3billion
existingmainspandeckandtheNYandNJapproach
                                                               Actualsthrough2013             $105million
structuresandaccessramps,atahigherelevation.The
                                                               ProjectStartDate               3Q2009
projectwillprovidestandard12Ͳfootlanes,mediansafety
                                                               AnticipatedEndDate             2Q2017
barrierandshoulders,abikewayandafuturetransit
                                                               CurrentStage                    Stage4Construction
corridor.

Stakeholders:Externalstakeholdersincludedomestic/internationalcommercialshippingandmaritimeindustry,
adjacentcommunities,environmentalinterests,utilities,municipal,stateandfederalagencyrepresentatives
andthetravelingpublic.

ProjectPhasing:Theconstructionwillbeperformedinfivemainconstructionstagesandallowcontinuous
vehicularoperation,onelaneineachdirection.Weeknightandcertainweekendclosureswillberequired.




                                        BayonneBridgeNavigationalClearanceProject
                                              ActualsandPlannedSpending*
                    $350,000
                    $300,000
                    $250,000
    ($in000's)




                    $200,000
                    $150,000
                    $100,000
                     $50,000
                                $438   $690   $1,681
                         $Ͳ
                                2008    2009    2010      2011   2012   2013   2014   2015   2016   2017   2018
                          *Nospending plannedpostͲ2018




                                                                                                                  9|P a g e 

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 11 of 80

                                                                                                                                                                           
GoethalsBridgeModernizationProject
                                                                            GoethalsBridgeModernizationProgram
Purpose:TheexistingGoethalsBridge,which
                                                                             TotalProjectCost                          $1.5billion
openedin1928,isnowfunctionallyobsolete.The                                                                        (PAcostlimitedto$540M)
currentroadwayhastwosubstandard10Ͳfootlanes                           Actualsthrough2013                        $132million
ineachdirectionandlacksemergencyshoulders.                            ProjectStartDate                          2Q2002
Congestionisprevalentandtrafficspeedsareoften                        AnticipatedEndDate                        4Q2019
below30mph.Thecrossingisanimportant                                  CurrentStage                               Stage3Design
componentwithintheregionaltransportation
networkoftheNewYorkMetropolitanAreaandisa
keylinkthatconnectsIͲ278,Route1/9andtheNew
JerseyTurnpiketotheStatenIslandExpressway,the
WestShoreExpresswayandtheVerrazanoNarrows
Bridge.

Scope:Theprogramscopeofworkincludesthe
replacementoftheexistingGoethalsBridgeinits
entiretywithanewcablestayedbridgeand
approachviaducts.TheAuthorityisutilizinga
PublicͲPrivatePartnership(PPP)formattodesign,                      direction;5’wideinnershoulderineachdirection;
build,financeandmaintain(“DBFM”)thenew                            10’widebikeway/walkwayalongthenorthernedge
structure.TheAuthoritywillretainownershipofthe                   ofthewestboundroadway;andacorridorinthe
bridgeandresponsibilityfortolloperations.The                      centerofthebridgetoaccommodatefuturemass
newroadwaywillincludethefollowing                                  transit.
components:Six12’widelanes(threeineach                           
direction);12’wideoutershoulderineach

Stakeholders:USCG,FHWA,USACOE,NYSHPO,                                     GoethalsBridgeModernizationProjectͲ Actualsand
NYSDOT,NYSDEC,NYCDCP,NYCEDC,NYCDEP,                                                     PAPlannedSpending*
NYCDOT,SIB,NJDEP,NJSHPO,NJTA,Cityof                               $200,000
Elizabeth,CONRAIL,travelingpublic,adjoining                        $180,000
privatepropertyowners,andutilities.                                 $160,000
                                                                        $140,000
ProjectPhasing:ProjectimplementationviaaPPP                     $120,000
Design/Buildapproach,withdesignand
                                                         ($in000's)




                                                                         $100,000
constructioncommencingin2013.Itisanticipated                       $80,000
thatthesouthernportionofthenewbridgewillbe                      $60,000
constructedandopenedtotrafficinlate2016.This                    $40,000
willbefollowedbythedemolitionofaportionof                       $20,000
theexistingbridgetoenablecommencementof                                 $0
constructionforthenorthernsectionofthenew
                                                                                       2006
                                                                                              2007
                                                                                                     2008
                                                                                                            2009
                                                                                                                   2010
                                                                                                                          2011
                                                                                                                                 2012
                                                                                                                                        2013
                                                                                                                                               2014
                                                                                                                                                      2015
                                                                                                                                                             2016
                                                                                                                                                                    2017
                                                                                                                                                                           2018
                                                                                                                                                                                  2019




bridge.Thenewbridgeisanticipatedtobefully
openfortrafficbyendof2017andproject
                                                          *Includesdevelopermilestonepaymentsforconstruction. No
completion,includingdemolitionoftheexisting         plannedspendingpostͲ2019:2006datapointrelectscumulative
bridge,bylate2018.                                    actualsthrough2006
                                                                        
                                                                        

                                                                                                                                                 10|P a g e 

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 12 of 80

                                                                                                                                                                                  
GeorgeWashingtonBridge–Suspender                                   
RopesReplacementProgram
                                                              GeorgeWashingtonBridgeSuspenderRopeReplacement
                                                               Project
Purpose:Theexistingsuspenderropes,maincables
andcablestrandsareoriginalinstallation                   TotalProjectCost         $1.2Billion
componentsoftheGWB,whichopenedin1931.                 Actualsthrough2013     $6million
Inspectionsandstudiesindicatethatthesuspender           ProjectStartDate         1Q2008
ropesrequirereplacement.Themaincablesare                AnticipatedEndDate       4Q2024
composedofindividualwiresandneedtobe                   CurrentStage              FinalDesign(Stage3)
inspected,cleanedandprotectedfrom
                                                              
deterioration.Thisworkisrequiredtomaintainthe
                                                              ProjectPhasing:Thesuspenderropesonthenorth
structuralintegrityoftheGWB,whichisanintegral
                                                              sidearetobereplacedfirst,requiringclosureofthe
partoftheIͲ95corridorhandlingover100million
                                                              sidewalkthroughoutdurationofwork.
vehiclesperyear,annuallygenerating
                                                              
approximately$600millioninrevenue.
                                                              Oncecompleted,thenorthsidewalkwillbeopened

                                                              tothepublicandthesouthsidewalkclosedfor
Scope:Thescopeconsistsofreplacementofall592
                                                              suspenderropereplacementworktoprogress.
suspenderropes,rehabilitationofthefourmain
                                                              Uponreplacementofallsuspenderropesand
cablessupportingtheupperlevelandlowerlevel
                                                              reopeningofthesouthsidewalk,themaincable
roadways(includingrelocationofutilitiesto
                                                              necklacelightingistobereplaced.Thecablestrand
effectuatetheropereplacement),replacementof
                                                              rehabilitationwithintheanchoragesproceeds
upperlevelsidewalks,handrails,roadwaycurbsand
                                                              through2016independentofthesuspenderrope
maincablenecklacelighting.Thisprogramalso
                                                              replacementwork.
includesrehabilitationofcablestrandsinthe
                                                              
anchorages.
                                                              

Stakeholders:Externalstakeholdersinclude
                                                                   GWBSuspenderRopesReplacementProject
theUnitedStatesCoastGuard,State
HistoricalPreservationOfficesinNewJersey
                                                                              ActualsandPlannedSpending
                                                       180,000
andNewYork,BoroughofFortLee,Bergen
County,NewYorkCityDepartmentof                   160,000
TransportationandCommunityBoard12.                140,000

                                                   ($in,000's)




                                                       120,000
                                                      100,000

                                                                   80,000
                                                                   60,000
                                                                                   $ 6million
                                                                   40,000          cumulativeactuals
                                                                                   through2013
                                                                   20,000
                                                                       0
                                                                            2008
                                                                                    2009
                                                                                           2010
                                                                                                  2011
                                                                                                         2012
                                                                                                                2013
                                                                                                                       2014
                                                                                                                              2015
                                                                                                                                     2016
                                                                                                                                            2017
                                                                                                                                                   2018
                                                                                                                                                          2019
                                                                                                                                                                 2020
                                                                                                                                                                        2021
                                                                                                                                                                               2022
                                                                                                                                                                                      2023




                                                                        
                                                                        
                                                                       
                                                                       


                                                                                                                                                          11|P a g e 

           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 13 of 80

                                                                                                                 


LincolnTunnelǦHelixReplacementProgram

    LincolnTunnelHelixReplacementProgram

    TotalProjectCost             $1.4billion
    PlanningAuthorization         $5.0million
    Actualsthrough2013          $10million
    ProjectStartDate             1Q2011
    AnticipatedEndDate           4Q2023
    (ConstructionComplete)
    CurrentStage                  ConceptualDesign(StageI)

Purpose:TheLincolnTunnelHelix,constructedin             ProjectPhasing:AspartofonͲgoingefforts,
1937andwidenedbyonelanein1957,is                        continuousrehabilitationprogramsareunderway
approachingtheendofitsusefullife,isfunctionally         toaddressshortͲtermneeds(pavementrepairs)
obsoleteandinneedofreplacement.Asa                      andmidͲtermneeds(structuralrehabilitationand
precautionarymeasure,arehabilitation                         repavingcurrentlycontractedandundergoing)
constructioncontractisunderwaytoextendthelife            whileawaitingthelongͲtermsolutionto
oftheexistinghelixuntilthisreplacementprogram            completelyreplacetheHelix.
isundertaken.OnatypicalweekdaytheHelix’s                
sevenlandroadwaycarriesover120,000vehicles                Thereplacementprogramwillbestagedand
and1,800busescarrying65,000commuters.                      phasedwhilemaintainingthesamenumberof
                                                                trafficlanesbydivertingtraffictothenewly
Scope:Thescopeconsistsofanewroadway                     widenedlaneswhileworkingonthereplacement
structurewithnewfoundationstoreplacethe                   lanes.ThiswillminimizedisruptiontotheXBL
existingHelix.Theroadwaywillbebuiltwiththe              operationsandthetunneltraffic.
                                                                 
samenumberoflanesbutwitha30Ͳfootwider
                                                                 
decktoimprovethebuslaneflowridingonanew
                                                                 
breakdownlaneduringmorningandafternoon
                                                                 
peakperiod,andtowidenthetrafficlanesfrom
                                                                 
narrow10.5footto12Ͳfootlanes.
                                                                      ReplacementofHelixͲ ForecastedSpending*
Thescopewillalsoincludeanimprovement
                                                           400,000
andextensionoftheaccelerationlaneat
PleasantAveonͲramptofacilitatewestbound              350,000
tunneltraffic,andmergingWeehawken                     300,000
trafficwithoutbackinguptunneltraffic.This           250,000
300ftaccelerationlanewillrequirewidening             200,000
                                                             ($in,000's)




twooverpassbridgesofthelocalstreets.               150,000

                                                           100,000

                                                            50,000
Stakeholders:NJDOT;NJDEP;SHPO;
Weehawken;UnionCity;NJLightͲRail;private                     Ͳ
propertyowners,busoperators,commuters,
andtravelingpublic.
                                                    *$10millionincumulativeactualsfrom2008
                                                              to2013

                                                                                                    12|P a g e 

        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 14 of 80

                                                                                                                                        
                                                                         
    LincolnTunnelAccessProgram(LTAP)                                
                                                                        LincolnTunnelAccessProgram

                                                                        TotalProjectCost               $1.8billion
    Purpose:In2011,thePortAuthorityandthe                      Actualsthrough2013            $121million
                                                                         ProjectStartDate               3Q2011
    StateofNewJerseyDepartmentof                                   AnticipatedEndDate            4Q2021
    Transportation(NJDOT)enteredintoan                              (ConstructionComplete)
    agreementtoaddresscriticalroadwaysand                          CurrentStage                     Design&Construction
                                                                                                           (StageIͲIV)
    approachesprovidingaccesstotheLincoln
                                                                         
    Tunnel.Theseexistingroadwaysare
                                                                         
    deteriorated,overburdened,orusedbeyond
                                                                         
    theircapacity.                                                     
                                                                        
    TheLTAPisintendedtoimproveNY/NJregional                      
    competitiveness,mobilityofgoodsand                              Route1and9T(Newroad):Designand
    services,fostereconomicactivityandcreate                       constructionofanewroadforRoute1&9
    hundredsofconstructionjobs.ThePort                            TruckconnectingTonnelleCircletoIͲ495.
    Authorityhasallocated$1.8billionforLTAP                       Projectwillrequiretheacquisitionof
    infrastructureimprovementsundertakenby                           approximately40parcelsoflandneededfor
    andincooperationwithNJDOT.                                      rightͲofͲwaypurposes
                                                                        
    Keyprogramcomponentsinclude:                                    Stakeholders:PANYNJ,NJDOT,citiesofJersey
    •       RehabilitationofthePulaskiSkyway                       City,Kearny,Bayonne,Newark,property
    •       ReplacementoftheWittpennBridge                         owners,regulatoryagencies,andthetraveling
    •       Route1and9T–constructionofnew                      public.
    lanes                                                               
                                                                        
    Scope:TheLTAPconsistsoftherehabilitation,                     
    replacement,andnewconstructionofthree                          
    distinctprojects:                                                  
                                                                        
    PulaskiSkywayRehabilitation:Includesthe                        
                                                                         
    replacementoftheentiredeck,
    repair/replacementofalldeteriorated
    structuralsteelandsafetyrailing.Also
                                                                                   LincolnTunnelAccessͲ ActualandPlannedSpending*
    includesnewCCTV,lighting,ITS(VMS)                           400,000
    elements,seismicallyretrofitting,and                          350,000
    repaintingthestructure.
                                                                      300,000
    
                                                                      250,000
    WittpennBridgeReplacement:Includesthe
                                                       ($in000's)




                                                                      200,000
    replacementoftheexistingstructure(a
                                                                      150,000
    verticalliftbridge).Thescopeofworkalso
                                                                      100,000
    includesthedemolitionanddisposalofthe
    existingbridge.                                                  50,000
                                                                             0
                                                                                 2011 2012 2013 2014 2015 2016 2017 2018 2019 2020 2021

                                                                             *Noplanned spendingpostͲ2021



                                                                                                                           13|P a g e 
    
       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 15 of 80

                                                                                                                             
GreenvilleYards

Purpose:Tofacilitateandimprovethemovement               GreenvilleYardDevelopment
ofgoodsintoandthroughtheGreenvilleYard–                TotalProjectCost          $438million
PortAuthorityMarineTerminal.                                                             (PAcostlimitedto$249
                                                                                            Million)
Scope:Finaldesignandconstructionofthe                    Actualthrough2013         $24.5million
upgradedCrossHarborCarFloatsystemandan                  ProjectStartDate          4Q2007
IntermodalContainerTerminalFacility(ICTF)                  AnticipatedEndDate        4Q2019
includingsupporttracksandvarioussite                      CurrentStage               FinalDesign(Stage3)
improvements.

Stakeholders:NY/NJRailCorporation;PortJersey
Railroad;GlobalContainerTerminal;Conrail;CSX;
NorfolkSouthern;Tropicana;JerseyCityMunicipal
UtilitiesAuthority;BMW;WeeksMarine;NYC
Sanitation;IESICorp.;Prologis;SummitGreenwich
Renewal,LLC;FreezeStoreJerseyCity,LLC;Polar
LogisticsEastUrbanRenewalAssociates;NJDOT;NJ
TurnpikeAuthority;PSE&G;andSimmsMetal

ProjectPhasing:                                          
Phase1includesallworkthatcanbecompleted            
withouttherelocationoftheTropicanarail,to           
supportCrossHarborandtheICTF.Phase1is              
scheduledtobecompletedin2015.                        
                                                           
Phase2includesthefullbuildoutafterTropicana        
Railrelocation,whichistobecompletedin2019.         
                                                           
                                                           

                                     GreenvilleYardsͲ ActualandPlannedSpending*
                          120,000

                          100,000

                           80,000
           ($in000's)




                           60,000

                           40,000

                           20,000

                               0
                                    2010     2011     2012     2013   2014   2015   2016   2017   2018   2019

                               *No spendingforecastedpostͲ2019
                                                                                                                14|P a g e 

          Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 16 of 80

                                                                                                                               
LaGuardiaAirport(LGA)RedevelopmentProgram

Purpose:Toreplacetheexisting1964Central
                                                                    LGARedevelopmentProgram
TerminalBuilding(CTB)andassociatedaeronautical
ramps,utilities,roadwaynetworkandother                        TotalProjectCost          $3.6billion
supportinginfrastructurefacilitiestomeetcurrent                                            (PAcostlimitedto$2.2B)
andfuturepassengerdemands.                                      Actualsthrough2013       $88million
                                                                   ProjectStartDate          1Q2006
Scope:                                                           AnticipatedEndDate        3Q2021
Theprogramiscomprisedoftwomajorparts;the                   CurrentStage               StageI(DesignComplete)
CTBReplacementProjectdeliveredbyaPublic                      
PrivatePartnership(PPP)andtheLGACapital                      Stakeholders:Airlines,passengers,tenants,
InfrastructureProgramdeliveredbythePort                       NYSDOT(GrandCentralParkway),NYCMTA(bus
Authority.TheCTBReplacementProjectincludesa                 services),FAAandTSA.
new35Ͳgatecommonuseterminal,70acresof                       
aeronauticalramps,frontageroads,coolingand                    ProjectPhasing:
heatingplant,andaconsolidatedreceiving,                       x Planninganddesignactivitiesfrom2006–2017
warehousinganddeliveryfacility.                               x Sitepreparationoflandsidestartingin2012

                                                                    x Remainderofprogramtobeimplemented
ThePPPwilldesign,build,partiallyfinance,operate
                                                                        beginningin2013
andmaintainthenewterminalandrelatedfacilities
                                                                    x Tennewgatesareexpectedtobeopeninlate
until2050.Itwillalsodesignandconstructseveral
                                                                        2016,withthenewheadhouseopeningin2018
elementsforthePAincludingthewestgarage,
                                                                    x Thecomplete,35ͲgateCTBisexpectedtobein
landsideutilitiesandanewroadandbridgesystem
                                                                        operationbylate2021
inthecentralterminalarea.TheLGACapital                     
InfrastructureProgramincludesdesignand                         
constructionofanew24MWelectricalsubstation,                 
eastgarage,infrastructureandthedemolitionof                  
Hangar2and4.                                                    
                                                                   
                                                                   




                     CTBReplacementProject(LGA)
    500,000         ActualsandPlannedSpending*
    400,000
    300,000
    200,000
    100,000
         Ͳ


          *$54million incumulativeactualsfrom2006to2013;
          NoanticipatedspendingpostͲ2021



                                                                                                              15|P a g e 

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 17 of 80

                                                                                                                                                                                   
EWRTerminalARedevelopmentProgram

Purpose:Toreplacetheexisting1973TerminalA
withanewmodernfacilitytomeetincreased
passengerdemands.

Scope:Theprogramincludesconstructionofanew
33Ͳgate common use terminal (expandable to 45),
144acresofassociatedairfieldwork,newroadway
systemanda3,000Ͳspaceparkinggaragecomplex.

Stakeholders:
Airlines, passengers and tenants, NJDEP, FAA, and                                         EWRTerminalARedevelopmentProgram
TSA.                                                                                           TotalProjectCost                                   $2.0billion
                                                                                                                                                      (PAcostlimited$1.2B)
                                                                                                Actualsthrough2013                                 $50.1million
ProjectPhasing:                                                                              ProjectStartDate                                   2006
x Planninganddesignactivitiesfrom2013–2017                                               AnticipatedEndDate                                 4Q2022
x Sitepreparationoflandsidestartingin2015                                                 CurrentStage                                        PhaseIIPlanning
                                                                                                                                                       (Stage1)
x Remainder of program implemented starting in
                                                                                                                                                                             
  2018
                                                                                                        
x Anticipate60percentopeningofTerminalin2020
                                                                                                        
x ProgramCompletionin2022
                                                                                                        

                                                                                                 

                                                                                                        

                                                                                                 

                                                                                                                                                                             
                                                             TerminalARedevelopment
                                                           ActualsandPlannedSpending*
                           $400,000
                           
                           $350,000

                          $300,000
                          $250,000

            ($in000's)




                          $200,000
                          $150,000

                           $100,000

                           $50,000
                                $0

                                       2006
                                              2007
                                                     2008
                                                            2009
                                                                   2010
                                                                          2011
                                                                                 2012
                                                                                        2013
                                                                                               2014
                                                                                                      2015
                                                                                                             2016
                                                                                                                    2017
                                                                                                                           2018
                                                                                                                                  2019
                                                                                                                                         2020
                                                                                                                                                2021
                                                                                                                                                         2022





                             *NospendingforecastedpostͲ2022




                                                                                                                                                                      16|P a g e 

           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 18 of 80

                                                                                                                                         
    HarrisonStationReplacementandUpgrade
    
    Purpose:RenovationofaPATHstationthatwas
    builtin1936andisnowattheendofitsusefullife.
    
    Scope:Stationrenovationincludes:
    
    x Newstationentrancesservingthewestbound
        andeastboundplatformswithentrancesto
        eachplatformonbothsidesofFrankE.Rodgers
        Boulevard
        
    x GlassͲenclosedentrancesprovidingweatherͲ
        protectedfacilitiesfromtheentryvestibules
        throughplatformͲlevelwaitingareaswith                           ContractorWorkOrderConstructionContract
        heightenedvisibilityandclearwayͲfinding                         awardedtoHalmarInternationalinJanuary2013.
        signageforpassengers                                              Contractorhascommencedwithconstructability
                                                                            reviewandbuyͲoutofearlyactionitems.
    x    Widenedstairsandescalatoraccesstoboth                       HarrisonStationUpgrade
         eastboundandwestboundplatformsandnew
                                                                            TotalProjectCost         $249million
         elevators
                                                                            Actualsthrough2013       $29.7million

                                                                            ProjectStartDate         2Q2008
    x    Newextendedplatformscapableofsupporting                      AnticipatedEndDate       1Q2018
         uptotenͲcartrainoperations(thecurrent                       CurrentStage              FinalDesignandConstruction
         platformsarelimitedtoeightͲcartrains)                                                    (Stages3&4)
                                                                            
    Stakeholders:PortAuthorityPATH,Commuters,the                       
    TownofHarrison,Amtrak,LocalDevelopers                             
    
    ProjectPhasing:Constructtemporary
    platformstotheWestforboth
    platformstocontinuenormal8Ͳcar                                           HarrisonStationUpgradeandReplacement
    trainoperationswhiletheNortheast                                                 ActualandPlannedSpending*
    andSoutheastHeadhousesare             $70,000
    constructed.Uponcompletionofthe
                                              $60,000
    NortheastandSoutheastHeadhouses,
    constructionoftheNorthwestand        $50,000
    SouthwestHeadhouseswillbegin.
                                                 ($in000's)




                                             $40,000
    Allconstructiontooccurundera        $30,000
    ConstructionManagerGeneral
                                             $20,000

                                                          $10,000
    
                                                                 $0
                                                                     2008 2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 2019
                                                             *No anticipatedspendingpostͲ2019

                                                                                                                         17|P a g e 
    
       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 19 of 80

                                                                                                                                                                  
GroveStreetStation–CapacityEnhancementsandStationModernization

Purpose:Providefortheenhancementand                                                         MezzanineLevelImprovements:Existing(left)andProposed(right)
                                                                                                         
upgradeofPATH’sGroveStreetStation,inclusiveof
improvementsnecessarytoaccommodate10Ͳcar
trainoperations,ADAcompliantelevators,NFPA
egressrequirementstomeetfutureridership
forecastandoverallstationmodernization.

Scope:TomodernizePATHtrainstationand
accommodate10Ͳcartrainoperationsonthe
                                                                                            
NewarktoWorldTradeCenterserviceline.
                                                                     

                                                           
TheproposedPhase2improvementsincludethe
                                                           
stagedelevatorsforADACompliance:Two
elevatorsfromStreettoMezzaninelevelandone             GroveStreetStation
elevatorfromMezzaninetoPlatformlevel                    TotalProjectCost   $192million
                                                              Actualsthrough2013 $5.6million
Stakeholders:PA,PATH,JerseyCity,WellsGarage             ProjectStartDate   2Q2008Phase1
Realtors,GregoryParkDevelopers,PATHpatrons               AnticipatedEndDate 1Q2016Phase1
                                                              CurrentStage        FinalDesign(Stage3)Phase1
ProjectPhasing:                                        
Phase1ͲInterimADAAccess                             
                                                          
Phase2ͲDetaileddesignandconstructionof10         
carfullStationModernization                                     
                                                                    
                                                                    
                                                                    
                                                          
                                                                                                              
                             GroveStreetStationͲ  ActualsandForecastedSpending                         
                $60,000                                                                                      
                                                                                                                                                         
                          $50,000
                                                                                                                                                         
                          $40,000
                                                                                                                                                         
           ($in000's)




                          $30,000

                         $20,000                                                                                                                        

                         $10,000                                                                                                                        

                              $0                                                                                                                        
                                     2008
                                            2009
                                                   2010
                                                          2011
                                                                 2012
                                                                        2013
                                                                               2014
                                                                                      2015
                                                                                             2016
                                                                                                    2017
                                                                                                           2018
                                                                                                                  2019
                                                                                                                         2020
                                                                                                                                2021
                                                                                                                                       2022
                                                                                                                                              2023




                                                                                                                                                         

                                                                                             

                                                                                                                                                     18|P a g e 

                          Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 20 of 80

                                                                                                                                                
    PATHExtensiontoNewarkAirport                                                 PATHtoNewarkAirport

    Purpose:ExtendPATHtoNewarkLiberty                                           TotalProjectCost       $1.5billion
                                                                                                                 (PAcostlimitedto$1.0B)
    InternationalAirport’sRailLinkStationtoenhance
                                                                                       Actualsthrough2013     $2.9million
    railservicetotheairportfromcommunitiesserved
                                                                                       ProjectStartDate       3Q2012
    byPATH,particularlyLowerManhattan.
                                                                                       AnticipatedEndDate     2024
                                                                                      CurrentStage            Planning(Stage1)
    Scope:
                                                                                   
    
                                                                                   Stakeholders:Amtrak,NJTransit,NewJerseyDOT,
    x Constructnewplatformsandassociatedstation
                                                                                   CityofNewark,FederalAviationAdministration,
         passengerinfrastructureattheRailLinkStation
                                                                                   FederalRailroadAdministration,FederalTransit
         withconnectionstotheexistingRailLink
                                                                                   Administration,FederalTransitAdministration,local
         Station
                                                                                   businessowners,andcommunity.

                                                                                   
    x                  Replacetherailstorageyardinthevicinityof           ProjectPhasing:TBDforecastcompletion2024.
                       theRailLinkStation                                      
                                                                                  
    x                  MakemodificationsatNewarkPennStationto
                       accommodatebidirectionalpassengerflowas                
                       wellaslimitedverticalcirculation
                       improvements                                               

    x                  InvestigateaPublicͲPrivatePartnershipto                
                       constructaparkinggarageinthevicinityofthe
                       RailLinkStationfornonͲaviationcommuters               
                       usingthenewstation
                                                                                  
    
                                                             PATHExtensiontoEWR
                           300,000                      ActualsandPlannedSpending*
                           275,000
                           250,000
                           225,000
                           200,000
                           175,000
        ($in000's)




                           150,000
                           125,000
                           100,000
                            75,000
                            50,000
                            25,000
                                Ͳ
                                            2014           2015            2016          2017            2018
                             * $2.9millioncumulativeactualsfrom2008to2013;2019Ͳ2023spendingis$625million
                                                                                                                                       
    



                                                                                                                                   19|P a g e 
    

      Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 21 of 80





DepartmentalSummaries
EachLineDepartmentSummarycontainsthefollowinginformation,detailingdepartmentalplansoverthenext
tenyearswithfocusonthefirstfive(2014Ͳ2018).

    1. 5ͲYearSpendingOverview
    2. MajorProjects
    3. CoreProjects
           a. Top10Projects
           b. CompositionbyDepartmentandType
           c. SGRAnalysis
    4. CompleteProjectListing

SummarydataontheWTCRedevelopmenteffortisincluded,alongwithadescriptionofprovisionswithinthe
CapitalPlan.TheseprovisionsallocatefundingforcapitalinvestmentintheTechnologyServicesDepartment,
theCapitalMajorWorksProgram,andanticipatedFutureStateofGoodRepairRequirements.


                                     CapitalInvestmentbyDepartment(2014Ͳ2023)
    9,000,000

    8,000,000

    7,000,000

    6,000,000

    5,000,000

    4,000,000

    3,000,000

    2,000,000

    1,000,000

           0
                 Aviation      TBT          PATH        Port         WTC     Provisionsand   Regional
                                                                             Development
                                                                                                                       
                               




                                                                                                      20|P a g e 


        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 22 of 80





Aviation


Aviation’scapitalportfolioconsistsoftwomajorprojectinitiativesinadditiontothecoredepartmentprogram,
whichtotals$8.0billioninthenexttenyears.Ofthe$8.0billionincapitalinvestmentthroughout2014Ͳ2023,
$3.7billionisforecastedtobespentin2014Ͳ2018,whichis46%ofitsplan.

Aviation’scoredepartmental                                          AviationͲ HistoricalandForecastedDepartmental
spendingoverthenexttenyears                                                            Spending
issimilartohistoricallevels(from
                                                               2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023
2002to2012).                                    1,400,000

Aviation’stotalforecasted                         1,200,000
spendingdropssignificantlyin
                                                     1,000,000
2015Ͳ2018duetothecompletion
ofseveralrunwayprojects,                           800,000                                                            $8.0billion
howevergreatlyincreasesin
                                                       600,000
2019Ͳ2023,duetothe
commencementofsignificant                           400,000
workonTerminalA
                                                       200,000
RedevelopmentatNewark
InternationalAirport,aswellas                            Ͳ
continuedinvestmentintheCTB                                  2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012

RedevelopmentProjectat                                                HistoricalSpending
                                                                         TotalForecastedSpending
LaGuardia.                                                             TotalForecastedSpending(ExcludingMajors)

FiveYearSpendingAnalysis

Inthenextfiveyears(2014Ͳ2018),$2billionwillbespentoncoreprojectsintheAviationdepartment.Ofthe
$2.0billion,83%willbeforStateofGoodRepairprojectsandprojectsthatareinactiveconstruction.

                                                                   
AviationCapitalProjects2014Ͳ2018($in000’s)                                AviationCapitalBudget($3.7billion)
                                                                                               2014Ͳ2018
CapitalBudget(2014Ͳ2018)                          3,739,433
CapitalBudgetas%of5YrPlan                        23.6%
NumberofProjects                                        211
                                                                                                          CTB
NumberofMajorProjects                                    2                                            39.7%
                                                                                            Core
MajorProjectBudget(2014Ͳ2018)                   1,685,800
                                                                                          Projects
MajorProjectBudgetas%of                            45.1%                            54.9%
DepartmentalBudget
                                                             
CoreProjectBudget(2014Ͳ2018)                    2,053,633
                                                                                                               Terminal
                                                                                                                   A
                                                                                                                 5.3%


                                                                                                                        21|P a g e 


             Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 23 of 80





Aviation5–YearCapitalSpending($in000’s)


                                                               2014                  2015                       2016                      2017                   2018                2014Ͳ2018
   Mandatory                                               18,473                30,060                      5,557                     2,134                 10,094                    66,318
   Security                                                 8,829                16,278                     23,736                    17,648                 24,600                    91,091
   SGR                                                     99,538               248,097                    264,977                   199,812                148,557                   960,980
   Stage4–Construction                                 302,975               249,981                     85,493                    63,714                 51,112                   753,275
   SEP/RPP                                                 29,561                31,562                     36,902                    25,572                 58,371                   181,969
CoreProjectsSubtotal                                     459,377               575,979                    416,664                   308,880                292,733                 2,053,633

  CTB                                                     98,201               227,903                    387,366                   361,683                411,036                 1,486,188
  TerminalA                                              6,750                13,500                     27,500                    31,500                120,362                   199,612
MajorProjectsSubtotal                                    104,951               241,403                    414,866                   393,183                531,398                 1,685,800

TotalCapitalBudget                                       564,328               817,381                    831,530                   702,063                824,131                 3,739,433


MajorProjects

Overthenexttenyears,theAviationdepartmentisundertakingtwomajorcapitalprojects,whichtotal$3.3
billioninPortAuthoritycapitalinvestment,withapproximately$1.6billion(51%),occurringin2014Ͳ2018.



                                           AviationMajorProjects                            2014Ͳ2018             2019Ͳ2023                2014Ͳ2023
                                           ($in000’s)
                                           CTB                                                1,486,188                   594,357               2,080,545
                                           TerminalA                                           199,612                 1,020,892               1,220,504
                                           Total                                              1,685,800                 1,615,249               3,301,049
                                                                                                                                                                                                         

                                                                                                                                                                                                         
                                          AviationMajorProjectCapitalBudgetbyProject(2014Ͳ2023)
    800,000                                                                                                                                                                                              

    700,000                                                                                                                                                                                              
    600,000
                                                                                                                                                                                                         
    500,000
                                                                                                                                                                                                         
    400,000
                                                                                                                                                                                                         
    300,000

    200,000                                                                                                                                                                                              

    100,000                                                                                                                                                                                              

               0                                                                                                                                                                                         
                          2014             2015             2016             2017             2018             2019             2020             2021             2022             2023
                                                                                                                                                                                                         
                                                                                            CTB              TerminalA
                                                                                                                                                                                                         
                                                                                                                                                                                          22|P a g e 


            Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 24 of 80





CoreDepartmentProjects(ExcludesMajors)

Aviation’scoreprogramconsistsof188projects,with$4.7billioninspendingoverthenexttenyears.Ofthe
$4.7billion,$2.0billion(43%)isscheduledtobespentinthefirstfiveyearsoftheplan.Listedbeloware
Aviation’slargestupcomingcoreprojects,rankedbytotalspendingin2014Ͳ2023.

Rank        Top10($in000’s)                                                 Stage     2014Ͳ2018        2019Ͳ2023            2014Ͳ2023      TPC
 1          RehabilitationofRunway4LͲ22R(JFK)                                  3         333,666           30,000              363,666     445,681
 2          EndAroundTaxiwaysforRunway4LͲ22R(EWR)                            P          40,325          214,125              254,450     254,450
     3      RedevelopmentofTerminal4(JFK)                                        4        185,864           35,266             221,130     222,927
             InfrastructureRenewal–FuelDistributionͲPhase1
     4                                                                                3         76,585           59,000             135,585     146,124
             (EWR)
     5      RehabilitationofRunway4RͲ22L(JFK)                                   P         61,452           64,119             125,570     125,570
             ReplacementofPumpsandUndergroundPiping
     6                                                                                P                0       114,661              114,661     836,455
             SystemsSatelliteFuelFarmandBulkFuelFarm(JFK)
     7      Runway13and22DecksSafetyOverrun(JFK)                              4         95,989                 0             95,989        95,989
             Rehabilitation/ReplacementofHighPressureWater
     8                                                                                P             767          87,188              87,955        87,956
             (JFK)
    9       RehabilitationofRunway4LͲ22R(EWR)                                    3         75,493                 0             75,493        97,500
    10      RehabilitationofRunways9Ͳ27and16Ͳ34(SWF)                          4         71,750                 0             71,750        99,697



CompositionofCoreProjects

ThemajorityofcoredepartmentalprojectsandinvestmentinbothfiveyearperiodsisatJFKInternational
Airport,with$1.7billionintotalinvestment.However,itshouldbenotedthattheCTBprojectatLaGuardiaand
TerminalARedevelopmentatNewarkAirportsnotreflectedinthecoreprogramspending.Theseprojectsare
highlightedasmajorinitiatives.

CoreDepartmentCapital                                                                                                             2014Ͳ2023Share
SpendingbyFacility                               Numberof                                                                         ofCoreDept
($in000’s)                                        Projects        2014Ͳ2018              2019Ͳ2023        2014Ͳ2023               Spending
LaGuardia                                                36          336,370                  71,532             407,901              9%
JFK                                                      60          926,755                 825,136          1,751,892              37%
Newark                                                   52          581,046                 416,401             997,447             21%
Teterboro                                                16            54,951                 99,116             154,067              3%
Stewart                                                  24          129,511                 132,609             262,121              6%
Provisions(SGR/CMWP/CPR)                                 0            25,000              1,142,178           1,167,178             25%
TotalCoreProjects                                      188       2,053,633               2,686,973           4,740,606
                                                                                                                                                           
CoreDepartmentCapital                                                                                                             2014Ͳ2023Share
SpendingbyProjectType                             Numberof                                                                       ofCoreDept       
($in000’s)                                          Projects          2014Ͳ2018              2019Ͳ2023        2014Ͳ2023           Spending
StateofGoodRepair1                                   104             1,242,100               2,290,388          3,532,488           75%           
Mandatory                                               24               249,630                  39,954            289,584           6%
Security                                                33               392,142                 338,412            730,554           15%           
SEP/RPP                                                 27               169,762                  18,219            187,980           4%
TotalCoreProjects                                     188      2,053,633        2,686,973   4,740,606                         

1
    StateofGoodRepairtotalreflects$1.0billionofallocatedfundsforfutureCPRandSGRrequirements.
                                                                                                                                                 23|P a g e 


        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 25 of 80





StateofGoodRepairProgram

Aviation’scoredepartmentportfoliolargelyconsistsofStateofGoodRepairprojects,whichtotal$3.5billionin
spendingfrom2014Ͳ2023,withapproximately$1.2billionoccurringinthefirstfiveyears.

TheStateofGoodRepairprogramconsistsofthemosthighlyrankedprojects(basedonphysicalcondition,life
safetyandoperationalimpact),whichspanacrossallairportfacilities.OfAviation’stotalbudgetfor2014Ͳ2023
(includingmajorprojects),approximately44%isdedicatedtoStateofGoodRepairprojects.



                                                            AviationͲ StateofGoodRepairProjectFundingby
AviationSGRProjects($in000’s)                                                Stage
TotalSGRBudget(2014Ͳ2023)           3,532,488     3,000,000
SGRBudgetasShareofDept.Budget       43.9%
                                                     2,500,000
SGRBudget(2014Ͳ2018)                 1,242,100
SGRBudget(2019Ͳ2023)                 2,290,388     2,000,000
                                                
NumberofSGRProjects                       104
                                                       1,500,000
NumberofSGRProjectsinStage4           27
ShareofSGRProjectsinStage4         26.0%
Stage4ProjectBudget                   281,120     1,000,000
          
                                                         500,000
          
                                                                0
                                                                    Planningand FinalDesign   Construction
                                                                    Prelim.Design



















                                                                                                         24|P a g e 

                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                      2014-2023 CAPITAL PLAN
                                                                   BY DEPARTMENT AND FACILITY
                                                                                         (in thousands)

                                                                                                                                                              2014-2018    2019-2023       2014-2023
    Project ID                                                        Category   Stage       2014         2015         2016         2017         2018          Forecast     Forecast        Forecast
    AVIATION
                 CA02-LaGUARDIA AIRPORT
    CA02-037     PHYSICAL PROTECTION OF TERMINAL BUILDING GLASS         SEC       P                 247      1,002        5,135              -            -        6,384               -        6,384

    CA02-045     INSTALLATION OF CCTV AT SELECT AOA ACCESS DOORS        SEC       P               419        1,646        1,084              -            -        3,149               -        3,149
    CA02-053     SCHOOL SOUNDPROOFING - PHASE 3                        MAND       4             5,560        7,860            -              -            -       13,420               -       13,420
    CA02-114     INSTALLATION OF BOLLARD AT TENANT TERMINALS            SEC       4               972        2,650            -              -            -        3,622               -        3,622
                 UPGRADE OF GUARD POST VEHICLE BARRIER CONTROL
    CA02-117     PANELS                                                 SEC       4                 211            -            -            -            -          211               -          211

    CA02-118     REHABILITATION OF RUNWAYS DECK WEARING SURFACE        SGR        1                   -            -            -            -          137          137       11,020          11,157
                 REHABILITATION OF RUNWAY DECK PRIORITY
    CA02-127     STRUCTURAL ELEMENTS - I                               SGR        4               888            -              -            -            -          888               -          888
    CA02-128     TRANSFER OF RUNWAY DECK ELECTRICAL CIRCUITS           SGR        4             2,397        1,071              -            -            -        3,468               -        3,468
                 REHABILITATION OF RUNWAY DECK STRUCTURAL
    CA02-129     ELEMENTS - 2                                          SGR        1             1,079        2,933        5,363              -            -        9,375               -        9,375
    CA02-231     PERIMETER INTRUSION DETECTION SYSTEM                  SEC        4             5,940        1,413            -              -            -        7,353               -        7,353
                 AIRPORT CHECKPOINT DIGITAL CCTV SYSTEM
    CA02-246     ENHANCEMENTS                                           SEC       3               250          153        1,575            -              -        1,978            -           1,978
    CA02-328     UPGRADE PUMPS IN PUMP HOUSE 4                         SGR        4             3,703        3,995        4,290            -              -       11,988            -          11,988
    CA02-330     BIOMETRICS                                             SEC       3                 -           45          407        2,483              -        2,935            -           2,935
    CA02-352     DEICING PRODUCT RECOVERY                              MAND       P                 -            -            -            -            717          717        6,728           7,444
                 CONSTRUCT UNDERGROUND GLYCOL STORAGE
    CA02-353     FACILITY AT WEST END                                  MAND       P                 -              -            -            -            -            -        7,461           7,461
    CA02-360     REHABILITATION OF EAST END LGA ROAD PAVEMENT          SGR        4             1,773            923            -            -            -        2,696            -           2,696
                 REALIGNMENT OF WESTSIDE TAXIWAYS Y, CY, AA, BB, F,
    CA02-368     D AND RVSR                                            MAND       4             1,161        1,248              -            -            -        2,409            -           2,409
    CA02-381     EMERGENCY GENERATORS                                  SGR        1                 -            -              -            -          619          619       13,868          14,487
    CA02-388     CMWP - REHABILITATION OF CENTRAL TERMINAL ROAD        SGR        3               421            -              -            -            -          421            -             421
                 REHABILITATION OF RUNWAY 13-31 AND ASSOCIATED
    CA02-401     TAXIWAYS                                              SGR        1               835       12,058       15,768       10,004              -       38,665               -       38,665
    CA02-417     RUNWAY 13 & 22 DECKS SAFETY OVERRUN                   MAND       4            31,872       54,909        9,208            -              -       95,989               -       95,989

    CA02-423     REHABILITATION OF TAXIWAYS WEST OF RUNWAY 4-22        SGR        P             2,845        7,651            780            -            -       11,276            -          11,276
    CA02-434     CTB WATER DAMAGE REMEDIATION PHASE - 2                SGR        4             1,614          412              -            -            -        2,027            -           2,027
    CA02-435     CTB CONCOURSE PLANK REHABILITATION                    SGR        4               786        1,052              -            -            -        1,838            -           1,838
    CA02-445     REHABILITATION OF TAXIWAYS A, M, AND ZA               SGR        4             6,945        3,540              -            -            -       10,485            -          10,485
    CA02-446     FACILITY DATA ROOM REHABILITATION                     SEP        P                 -            -              -            -          375          375        4,877           5,252

    CA02-447     800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE          SEC       3             1,349        1,379              -            -            -        2,728               -        2,728
                 CMWP - TRAFFIC AND INTERSECTION SAFETY
    CA02-451     IMPROVEMENTS - PHASE 1                                MAND       4                 964          159            -            -            -        1,123               -        1,123
                  FEEDER UPGRADE AND REDISTRIBUTION FOR DELTA
    CA02-454     2013 EXPANSION OF DELTA AIRLINES                                 4                 832          894            -            -            -        1,726               -        1,726
                                                                                                                                                                                                        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 26 of 80




                                                                        SEP
                 REPLACEMENT OF THE RUNWAY DECK EXPANSION
    CA02-464     JOINTS                                                SGR        P                   -          215          672          915      3,828          5,630       16,555          22,186




Aviation                                                                                      AͲ1
                                                              PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                        2014-2023 CAPITAL PLAN
                                                                     BY DEPARTMENT AND FACILITY
                                                                                          (in thousands)

                                                                                                                                                             2014-2018     2019-2023       2014-2023
    Project ID                                                         Category   Stage       2014         2015         2016       2017         2018          Forecast      Forecast        Forecast
                 REHABILITATION OF RUNWAY DECK PRIORITY
    CA02-465     STRUCTURAL ELEMENTS - 3                                SGR        P                   -          792      4,858      6,162        2,896         14,708                -       14,708
                 REHABILITATION OF TAXIWAY "A" FROM ("L" TO "B") AND
    CA02-466     TAXIWAY "B" (FROM "G" TO "CY")                         SGR        P                 507      4,576        3,528          -            -          8,611             -           8,611
    CA02-467     REHABILITATION OF TAXIWAY "B" (FROM "G" TO "V")        SGR        P                   -        625        1,323      7,486        9,667         19,100         2,716          21,817
                 REHABILITATION OF TAXIWAY "AA" AND TAXIWAY "BB"
    CA02-468     (RUNWAY 4 THRESHOLD TO "E")                            SGR        P                 -              -          -          264          606          870         8,306           9,176
    CA02-470     REPLACEMENT OF RUNWAY 4 & 31 EMAS                      SGR        4            12,047              -          -            -            -       12,047             -          12,047
                 LAGUARDIA AIRPORT FLOOD CONTROL AND RESILIENCY
    CA02-486     IMPROVEMENTS                                            SEP       1             2,400       15,000       20,000            -            -       37,400                -       37,400
                 CTB REDEVELOPMENT PROGRAM - CENTRAL HEATING &
    CA02-372     REFRIGERATION PLANT                                    SGR        P                   -      7,500       20,000     20,000       20,000         67,500                -       67,500
                 CTB REDEVELOPMENT PROGRAM - TERMINAL
    CA02-419     CONSTRUCTION AND RAMP                                   RPP       P                 -       70,000      140,000    137,709      200,000        547,709       272,751         820,460
    CA02-429     DEVELOPMENT OF INGRAHAM'S MOUNTAIN                      SEP       1             8,135       12,052        9,492      5,265            -         34,944             -          34,944

    CA02-460     WEST END 5KV DUCTBANK INFRASTRUCTURE UPGRADE            SEP       3             9,313        8,967        7,824      3,200              -       29,304                -       29,304

    CA02-461     EAST END SUBSTATION FOUNDATION AND SITE UTILITIES      SGR         3            2,202        2,202        1,102      1,112              -        6,618                -        6,618
                 CTB REDEVELOPMENT PROGRAM - AIR TERMINAL
    CA02-441     RESTRICTED DEVICE RD & TAXIWAYS CONNECTIONS             SEP       P                 -            -       10,000     10,000       10,000         30,000        30,000           60,000
                                    CTB PROGRAM                                                 19,650      100,721      188,418    177,286      230,000        716,075       302,751        1,018,826
                 CTB REDEVELOPMENT PROGRAM PLANNING & DESIGN -
    CA02-339     PHASE 2                                                 RPP       M             1,267              -          -            -            -        1,267                -        1,267
                 CTB REDEVELOPMENT PROGRAM - REPLACEMENT OF
    CA02-440     UTILITIES EAST OF GUARD POST 1                         SGR        P            13,082       20,193       41,211     31,419       12,181        118,086        35,734         153,820
                 CTB REDEVELOPMENT PROGRAM - AIR TERMINAL
    CA02-442     HIGHWAY EAST OF GUARD POST 1                            SEP       P                 580     20,859       42,652     59,613       81,507        205,210       239,871         445,082
                 CTB REDEVELOPMENT PROGRAM - SURFACE AND
    CA02-443     STRUCTURE PARKING PROGRAM                               SEP       P            11,276       36,145       74,564     54,480       30,994        207,459        16,000         223,459
                 CTB REDEVELOPMENT PROGRAM - HANGARS 2 & 4 SITE
    CA02-444     REUTILIZATION                                           SEP       P            11,825        9,464            -            -            -       21,289                -       21,289
                 CTB REDEVELOPMENT PROGRAM - EAST END
    CA02-469     SUBSTATION BUILDING, EQUIPMENT AND FEEDERS             SGR         3           15,583       15,583       15,583     15,586       23,435         85,770                -       85,770
                 CTB REDEVELOPMENT PROGRAM - EAST PARKING
    CA02-474     GARAGE                                                  SEP       1            13,846       13,846       13,846     13,847       23,468         78,853                -       78,853
                 CTB REDEVELOPMENT PROGRAM - FINAL PLANNING &
    CA02-482     DESIGN                                                  RPP       M            11,092       11,092       11,092      9,452        9,451          52,179            -           52,179
                            CTB INFRASTRUCTURE PROGRAM                                          78,551      127,182      198,948    184,397      181,036         770,113      291,605        1,061,719
                                          LaGUARDIA AIRPORT Subtotal     50                    186,221      356,102      461,355    388,998      429,881       1,822,558      665,889        2,488,446
                 CA03, 32-JFK AIRPORT
    CA03-016     EMERGENCY FUEL SHUTOFF SYSTEM                          MAND       4                 266            -          -            -            -          266                -          266
                 INSTALLATION OF WELCOME CENTERS AT TERMINAL 4
    CA03-TB1     AND 5                                                   SEP       P                 200          365          -            -            -          565                -          565
                                                                                                                                                                                                         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 27 of 80




                 REPLACEMENT OF GEOCOMPOSITE LINERS AT BULK
    CA03-017     FUEL FARM - PHASE 2                                    MAND       4             1,045              -          -            -            -        1,045             -           1,045
    CA03-018     REPLACEMENT OF HANGAR 19 ROOF                          SGR        P                 -              -          -            -          942          942         7,446           8,387



Aviation                                                                                       AͲ2
                                                          PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                    2014-2023 CAPITAL PLAN
                                                                 BY DEPARTMENT AND FACILITY
                                                                                      (in thousands)

                                                                                                                                                         2014-2018    2019-2023       2014-2023
    Project ID                                                     Category   Stage       2014         2015         2016       2017         2018          Forecast     Forecast        Forecast
                 PAVEMENT REHABILITATION OF NORTH BOUNDARY
    CA03-023     EASTERN, & NORTH HANGAR ROAD                       SGR        4             3,055              -          -            -            -        3,055               -        3,055
                 PAVEMENT REHABILITATION OF PAN-AM AND BERGEN
    CA03-025     ROAD & FEDERAL CIRCLE RAMPS                        SGR        3               516        3,629        3,998          357            -        8,500               -        8,500
    CA03-032     REHABILITATION OF TAXIWAYS FA & FB                 SGR        4             4,166        1,447        1,628            -            -        7,240               -        7,240
                 PAVEMENT REHABILITATION OF EAST & WEST HANGAR
    CA03-036     ROAD                                               SGR        4             1,655            -            -          -            -          1,655               -        1,655
    CA03-061     CCTV EQUIPMENT IN TERMINAL BAGGAGE AREAS           SEC        1               490        1,564        7,306      5,473            -         14,833               -       14,833
    CA03-075     TWA FLIGHT CENTER INTERIOR RENOVATION              RPP        4               138            -            -          -            -            138               -          138
    CA03-141     INSTALLATION OF BOLLARD AT TENANT TERMINALS        SEC        4             8,784        8,978          114        229        2,686         20,791               -       20,791
                 UPGRADE OF GUARD POST ANTI-RAM VEHICLE BARRIER
    CA03-145     CONTROL PANELS                                     SEC        4               211            -            -          -            -            211            -             211
    CA03-168     REHABILITATION OF RUNWAY 4L-22R                    SGR        3            27,798       96,663       83,695     95,510       30,000        333,666       30,000         363,666
    CA03-207     REHABILITATION OF BULK FUEL FARM ROADWAY           SGR        P                 -            -            -          -          481            481       18,323          18,805
                 PAVEMENT REHABILITATION OF CARGO PLAZA ROAD &
    CA03-234     CENTER CARGO ROAD                                  SGR        4             1,107              -          -            -            -        1,107               -        1,107

    CA03-243     RUNWAY 13L-31R RUNWAY SAFETY AREA COMPLIANCE       MAND       1             1,915       18,908        4,001      2,134        7,989         34,947               -       34,947
    CA03-389     PERIMETER INTRUSION DETECTION SYSTEM                SEC       4             8,818        3,290            -          -            -         12,108               -       12,108
                 AIRPORT CHECKPOINT DIGITAL CCTV SYSTEM
    CA03-391     IMPROVEMENTS                                       SEC        4             1,666        3,839            -          -            -          5,505            -           5,505
    CA03-505     BIOMETRICS                                         SEC        4                 -           51        2,722        926            -          3,699            -           3,699
    CA03-507     UNMANNED GATES                                     SEC        4             1,625        3,117        5,676          -            -         10,418            -          10,418
    CA03-516     REHABILITATION OF RUNWAY 4R-22L                    SGR        P               368          811       19,772     15,000       25,500         61,452       64,119         125,570
                 REPLACEMENT OF RUNWAY 4R APPROACH LIGHTING
    CA03-518     SYSTEM PIER                                        SGR        P                 -            -            -          -        8,249          8,249       18,630          26,879
    CA03-529     REHABILITATION OF TAXIWAY Q AND QG                 SGR        1             3,192        3,408       24,684     20,374        3,826         55,484            -          55,484
                 PAVEMENT REHABILITATION OF LOOP & NORTH SERVICE
    CA03-542     ROAD                                               SGR        4                 491            -          -            -            -          491            -             491
    CA03-543     REHABILITATION OF TAXIWAY W (N OF RUNWAY 13L)      SGR        1                   -            -          -            -          260          260        9,791          10,051
    CA03-546     TAXIWAY "U" (FROM "B" TO "CB")                     SGR        1                   -            -          -            -          882          882       22,947          23,829
                 REHABILITATION OF 148TH STREET AND JFK
    CA03-554     EXPRESSWAY RAMPS                                   SGR        4             1,416              -          -            -            -        1,416               -        1,416
                 REHABILITATION OF VAN WYCK NORTH & SOUTH
    CA03-555     SERVICE ROAD                                       SGR        4             3,422              -          -            -            -        3,422               -        3,422
                 CONSTRUCTION OF CENTRALIZED DE-ICING FACILITY -
    CA03-565     PHASE 2                                             RPP       1                 350            -          -            -            -          350               -          350
                 BUILDING 156 (CONTROL TOWER) ROOFING AND HVAC
    CA03-574     REPLACEMENT                                        SGR        1             2,380        6,787        6,865      3,105        3,001         22,137               -       22,137
                 RELOCATION OF RESTRICTED VEHICLE SERVICE ROAD
    CA03-576     BRIDGE - J2                                         SEP       4             2,320            -            -          -            -          2,320            -           2,320
    CA03-591     REDEVELOPMENT OF TERMINAL 4                         RPP       4            71,055       55,281       10,000     24,527       25,000        185,864       35,266         221,130

    CA03-594     REHABILITATION OF PAVEMENT CARGO SERVICE ROAD                 4             2,641            170          -            -            -        2,811            -           2,811
                                                                                                                                                                                                   Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 28 of 80




                                                                    SGR
    CA03-603     BUILDING 254 REHABILITATION                        SGR        1                 -              -          -            -          333          333        8,146           8,479
    CA03-605     ROOF REPLACEMENT PROGRAM BUILDING 14               SGR        1                 -              -          -            -          753          753       13,967          14,720




Aviation                                                                                   AͲ3
                                                             PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                       2014-2023 CAPITAL PLAN
                                                                    BY DEPARTMENT AND FACILITY
                                                                                          (in thousands)

                                                                                                                                                               2014-2018       2019-2023       2014-2023
    Project ID                                                         Category   Stage       2014         2015         2016         2017         2018          Forecast        Forecast        Forecast
                 REPLACEMENT OF FUEL STORAGE TANK SYSTEMS -
    CA03-607     BULK FUEL FARM                                         SGR        P                   -            -            -            -            -               -        7,524           7,524
                 REPLACEMENT OF PUMPS & UNDERGROUND PIPING
    CA03-608     SYSTEMS SATELLITE FUEL FARM & BULK FUEL FARM           SGR        P                   -            -            -            -          -              -         114,661         114,661
    CA03-612     REHABILITATION OF RUNWAY 13L-31R                       SGR        P                   -            -            -            -      4,498          4,498          56,547          61,045
                 REHABILITATION OF TAXIWAY B (TAXIWAY N TO TAXIWAY
    CA03-614     TB)                                                     SGR              4     10,314       10,623              -            -            -       20,937                  -       20,937
    CA03-616     NORTH BOUNDARY ROAD REALIGNMENT                        MAND       3             5,785            -              -            -            -        5,785                  -        5,785
                 RELOCATION OF RESTRICTED VEHICLE SERVICE ROAD
    CA03-618     BRIDGE - J8                                            SEP        4             5,488        3,559            -            -            -          9,047               -           9,047
    CA03-619     REHABILITATION OF TAXIWAY Z AND H AND G                SGR        1                 -            -            -            -          278            278          16,470          16,748
    CA03-620     REHABILITATION OF VAN WYCK SUBSTATION                  SGR        P                 -            -            -            -        1,378          1,378          35,529          36,907
    CA03-621     REPLACEMENT OF 5KV FEEDERS                             SGR        3             9,775       13,251       13,734        3,000            -         39,760               -          39,760
                 REHABILITATION OF TAXIWAYS A & B EAST (TAXIWAY EA
    CA03-628     TO TAXIWAY J)                                          SGR        1                   -            -            -            -          666          666          59,784          60,450
    CA03-632     CENTRAL SUBSTATION UNITS E&F                           SGR        P                   -            -            -            -            -            -          23,758          23,758
    CA03-633     REHABILITATION OF BERGEN SUBSTATION AT JFK             SGR        1                   -            -            -            -          318          318          39,489          39,807
    CA03-634     REHABILITATION OF FARMER'S SUBSTATION                  SGR        P                   -            -            -            -            -            -          37,826          37,826
                 SUPERVISORY CONTROL AND DATA ACQUISITION
    CA03-636     (SCADA)                                                SGR        3                   -            -            -            -        565            565           7,120           7,685
    CA03-638     FACILITY DATA ROOM REHABILITATION                      SEP        P                   -            -            -            -      1,624          1,624           3,625           5,249

    CA03-639     800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE           SEC       3             1,742        1,998              -            -            -        3,740                  -        3,740
                 CMWP - SWITCH HOUSE #2 CLIMATE CONTROL AND
    CA03-645     RELATED WORK                                           SGR        3                 853            -            -            -            -          853                  -          853

    CA03-646     800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE          SGR        1             1,423        1,456              -            -            -        2,879               -           2,879
    CA03-676     REHABILITATION OF 5KV DISTRIBUTION SYSTEM              SGR        P                 -            -              -            -          384          384          17,674          18,058
                 UPGRADE/REHABILITATION FACILITY-WIDE FIRE ALARM
    CA03-677     SYSTEM                                                 SGR        P                 184          325          380          400      2,952          4,241          11,924          16,164
                 REHABILITATION/REPLACEMENT OF HIGH PRESSURE
    CA03-678     WATER                                                  SGR        P                   -            -            -            -          767          767          87,188          87,955
                 REHABILITATION/REPLACEMENT OF LOW PRESSURE
    CA03-679     WATER                                                  SGR        P                 -            -              -            -          495          495          50,880          51,375
    CA03-760     ENGINEERED MATERIAL ARRESTOR SYSTEM                    MAND       3             9,250       10,000              -            -            -       19,250               -          19,250
                 REALIGNMENT OF NORTH BOUNDARY RD, RVSR AND AOA
    CA03-758     FENCE WEST OF R/W 13L-31R                              MAND       1                 -            -            -            -          856            856          19,530           20,386
    CA32-048     REDEVELOPMENT OF TERMINAL 5                             RPP       4                 -            -            -            -        1,039          1,039           6,971            8,009
                                                JFK AIRPORT Subtotal      60                   195,905      249,520      184,575      171,035      125,720        926,755         825,136        1,751,892
                 CA04, 44-NEWARK LIBERTY AIRPORT
    CA04-057     CMWP - AIRTRAIN GUIDEWAY COLUMN PROTECTION              SEP        3                214            -            -            -            -          214                  -          214
                 CMWP - REHABILITATION OF FUEL PIT VAULT HATCHES
    CA04-547     AT C1 RAMP                                             MAND       P                 629            -            -            -            -          629                  -          629
                                                                                                                                                                                                             Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 29 of 80




                 CMWP - INSTALLATION OF BUILDING 190 PARKING LOT
    CA04-635     ACCESS AND UNDERGROUND UTILITY                          SEP       3               619          210            -            -            -            829               -             829
    CA04-041     SCHOOL SOUNDPROOFING - PHASE 3                         MAND       4             1,776        6,179        6,162        3,000            -         17,117               -          17,117
    CA04-045     PHYSICAL PROTECTION OF TERMINAL BUILDING GLASS          SEC       P                95        1,541        2,947        8,267       24,600         37,450          18,219          55,668



Aviation                                                                                       AͲ4
                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                      2014-2023 CAPITAL PLAN
                                                                   BY DEPARTMENT AND FACILITY
                                                                                       (in thousands)

                                                                                                                                                         2014-2018     2019-2023       2014-2023
    Project ID                                                      Category   Stage       2014         2015       2016         2017         2018         Forecast      Forecast        Forecast
    CA04-049     CCTV EQUIPMENT IN TERMINAL BAGGAGE AREAS             SEC        P                822      2,508          719            -           -         4,049               -         4,049

    CA04-054     INSTALLATION OF CCTV AT SELECT AOA ACCESS DOORS     SEC        P               420        1,646      1,084              -           -         3,150            -            3,150
    CA04-294     REPLACEMENT OF TERMINAL B FIRE ALARM SYSTEM         SGR        P                 -            -          -              -          97            97        5,657            5,754
    CA04-316     PERIMETER INTRUSION DETECTION SYSTEM                SEC        4             4,482        1,592          -              -           -         6,074            -            6,074
                 AIRPORT CHECKPOINT DIGITAL CCTV SYSTEM
    CA04-319     ENHANCEMENTS                                        SEC        4               611            -          -            -             -           611               -           611
    CA04-397     BIOMETRICS                                          SEC        3                 -           56      1,297          721             -         2,074               -         2,074
    CA04-455     REHABILITATION OF RUNWAY 4L-22R                     SGR        3            28,401       26,184     10,908       10,000             -        75,493               -        75,493
                 CENTRAL TERMINAL AREA 27KV ELECTRICAL
    CA04-468     DISTRIBUTION LOOP CLOSURE                            SEP       3             4,990        2,700            -            -           -         7,690               -         7,690
                 TERMINAL B REHABILITATION ELECTRICAL &
    CA04-473     MECHANICAL SYSTEM - PHASE 2                         SGR        4               887            -            -            -           -           887               -           887
    CA04-482     INSTALLATION OF BOLLARD AT TENANT TERMINALS         SEC        4             1,309        2,846            -            -           -         4,155               -         4,155
                 REPLACEMENT OF HIGH TEMPERATURE HOT WATER
    CA04-498     GENERATORS AT CHRP                                  SGR        4             3,630        3,598      3,551        1,000             -        11,779               -        11,779
                 REHABILITATION OF TAXIWAY P DELAY REDUCTION AND
    CA04-507     OTHER IMPROVEMENTS                                  SGR        4             2,257            -            -            -           -         2,257               -         2,257
                 RELOCATE BREWSTER ROAD & SITEWORK
    CA04-512     PREPARATION FOR EMAS                                MAND       4             3,709            -          -            -            -          3,709               -         3,709
    CA04-513     AIRTRAIN BASE GUIDEWAY MID-LIFE OVERHAUL            SGR        4               976        2,154      4,998        5,991        6,387         20,506               -        20,506
                 AIRTRAIN BASE VEHICLE SUBSYSTEM LIFECYCLE
    CA04-514     OVERHAUL                                            SGR        4             4,922        8,606     20,119       19,468       16,000         69,115               -        69,115
                 INSTALLATION OF RUNWAY 11 EMAS FOR RSA
    CA04-516     IMPROVEMENTS                                        MAND       4             2,789         967             -            -           -         3,756            -            3,756
    CA04-521     REHABILITATION OF TAXIWAY Y (FROM "RM" TO "S")      SGR        P                 -           -             -            -           -             -        7,322            7,322
                 REHABILITATION OF TAXIWAY Z (FROM RUNWAY EDGE
    CA04-524     TO "UA")                                            SGR        P                   -          -            -            -           -             -        2,258            2,258
                 REPLACEMENT OF CHRP NORTH ELECTRICAL
    CA04-528     SUBSTATION AND CHILLER UPGRADES                     SGR        1                 547       406           500          500     15,500         17,453        6,377          23,830

    CA04-529     REHABILITATION OF CENTRAL TERMINAL AREA BRIDGES     SGR        P                   -          -            -            -      1,440          1,440        8,296            9,736
                 REHABILITATION OF HIGH TEMPERATURE HOT WATER
    CA04-530     PIPING IN TERMINAL "A", "B" & "C"                    SGR       0                   -          -            -            -           -             -               -             -
                 REHABILITATION OF TERMINAL C DEPARTURE AND 1&9
    CA04-538     EXIT SOUTH AREA ROADWAY                             SGR        4             4,174        4,131          -            -            -          8,305            -           8,305
    CA04-539     4TH ELECTRICAL SUBSTATION AT TERMINAL B             SEP        1               500        2,100      4,466       15,622        9,800         32,488            -          32,488
    CA04-555     END-OF-LIFE REPLACEMENT OF AIRTRAIN HVAC            SGR        4             1,332          217          -            -            -          1,549            -           1,549
    CA04-559     REPLACEMENT OF BRIDGE N20                           SGR        P               170          332        349        3,629        5,934         10,414        7,824          18,238
                 REHABILITATION OF TAXIWAY Z (FROM "P" TO RUNWAY
    CA04-561     29 END)                                             SGR        P                   -          -            -            -           -             -        3,503            3,503

    CA04-563     REHABILITATION OF TAXIWAY BEYOND THE 7-YEAR PLAN    SGR        P                   -          -          -            -          411            411        4,959           5,370
    CA04-564     TERMINAL B CURTAIN WALL REPLACEMENT                 SGR        P                   -          -          -            -          506            506       29,915          30,422
                                                                                                                                                                                                     Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 30 of 80




    CA04-567     REHABILITATION OF TAXIWAY R (FROM "B" TO "Y")       SGR        P                   -          -          -            -            -              -        8,949           8,949
    CA04-569     END AROUND TAXIWAYS FOR RUNWAY 4L-22R               SEP        P                 515      1,749      1,561        1,500       35,000         40,325      214,125         254,450




Aviation                                                                                    AͲ5
                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                      2014-2023 CAPITAL PLAN
                                                                   BY DEPARTMENT AND FACILITY
                                                                                        (in thousands)

                                                                                                                                                       2014-2018    2019-2023       2014-2023
    Project ID                                                       Category   Stage       2014         2015       2016       2017       2018          Forecast     Forecast        Forecast
                 INFRASTRUCTURE RENEWAL - ELECTRICAL
    CA04-579     DISTRIBUTION                                         SGR        1             4,500       29,000     26,000      6,284      1,716         67,500               -       67,500
                 INFRASTRUCTURE RENEWAL - FUEL DISTRIBUTION -
    CA04-583     PHASE 1                                              SGR        3             3,685       28,400     34,000     10,000          500       76,585       59,000         135,585
                 TERMINAL B INFRASTRUCTURE AND UTILITY
    CA04-584     REPLACEMENT & UPGRADE VIA WORK ORDER                 SGR        4             1,346        2,046      2,505      1,500            -        7,398               -        7,398
                 REHABILITATION OF EXPANSION JOINTS AND
    CA04-589     STRUCTURAL ELEMENTS OF FACILITY BRIDGES              SGR        1                 280      1,891      2,079      1,521      1,352          7,123               -        7,123
                 TERMINAL B DEVELOPMENT OF OPERATIONAL
    CA04-593     IMPROVEMENTS FOR SOUTH END OF TERMINAL                RPP       P                 600      2,500      3,500      1,100      2,075          9,775          984          10,758
    CA04-596      BUILDING 157 INFRASTRUCTURE IMPROVEMENT              SEP       3                 700          -          -          -          -            700            -             700
    CA04-597     FACILITY DATA ROOM REHABILITATION                     SEP       P                   -          -          -          -          -              -        5,251           5,251

    CA04-598     800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC       3             1,706        1,640          -          -            -        3,346               -        3,346
                 INFRASTRUCTURE RENEWAL - FUEL FARM BLDG 117
    CA04-604     SWITCHGEAR REPLACEMENT                               SGR        p                   -          -          -          -          456          456        4,936           5,392
                 TERMINAL B RECONSTRUCTION OF ESCALATORS 15 AND
    CA04-611     21                                                   SGR        P                 -            -          -          -          250          250        3,750           4,000
    CA04-613     INSTALLATION OF AC8 AND AC9 IN TERMINAL B            SGR        P                 -            -          -          -          204          204        4,796           4,999
    CA04-629     REMAIN OVERNIGHT PARKING                             RPP        P            12,500        2,000          -          -            -       14,500            -          14,500
                 IMPROVEMENT OF MCCLELLAN STREET OVERPASS AND
    CA04-651     SOUTHERLY ROADWAYS                                    SEP       P                 -            -          -          -            -            -       20,281          20,281
    CA04-TBD     REHABILITATION OF FUELING STATION                     SEP       P             1,000        1,500          -          -            -        2,500            -           2,500
                 LOWER LEVEL EXPANSION OF VERTICAL CIRCULATION
    CA44-017     AT TERMINAL B4                                        RPP       4             2,132            -          -          -            -        2,132               -        2,132
    CA44-018     MID & UPPER LEVELS INTERNATIONAL DEPARTURES           RPP       4             1,440            -          -          -            -        1,440               -        1,440
    CA44-026     MID-LEVEL INTERNATIONAL MEETER/GREETER                RPP       4             2,606            -          -          -            -        2,606               -        2,606
                 OVERALL SITE AND INFRASTRUCTURE PLANNING(1.0)-
    CA44-030     TERMINAL A REDEV PROGRM -PHASE II PLANNING            RPP        1                250          -          -          -            -          250               -          250
                 AIRSIDE PLANNING (2.0) - TERMINAL A REDEVELOPMENT
    CA44-031     PROGRAM - PHASE II PLANNING                           RPP       1                 250      1,000          -          -            -        1,250               -        1,250
                 TERMINAL A REDEVELOPMENT PROGRAM OVERALL
    CA44-032     PLANNING - TERMINAL PLANNING                          RPP       1             4,000        3,000          -          -            -        7,000               -        7,000
                 LANDSIDE PLANNING (4.0) - TERMINAL A
    CA44-033     REDEVELOPMENT PROGRAM - PHASE II PLANNING             RPP        1            1,500            -          -          -            -        1,500               -        1,500
                 TERMINAL A REDEVELOPMENT - TERMINAL
    CA44-037     CONSTRUCTION                                          RPP       P                   -      1,000      3,000      3,000     18,000         25,000      332,001         357,001

    CA44-038     TERMINAL A REDEVELOPMENT - AIRSIDE CONSTRUCTION       RPP       P                   -          -      2,000      2,000     28,000         32,000      214,001         246,000
                 TERMINAL A REDEVELOPMENT - LANDSIDE
    CA44-039     CONSTRUCTION                                          RPP       P                 250      6,500     12,500     13,000     43,003         75,253      352,973         428,226
                 TERMINAL A REDEVELOPMENT - PARKING
    CA44-040     CONSTRUCTION                                          RPP       P                   -          -          -          -     19,359         19,359      119,918         139,277
                                                                                                                                                                                                  Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 31 of 80




                 TERMINAL A REDEVELOPMENT - AIRTRAIN
    CA44-041     CONSTRUCTION                                          RPP       P               500        2,000     10,000     13,500     12,000         38,000         2,000          40,000
                            TERMINAL A REDEVELOPMENT                                           6,750       13,500     27,500     31,500    120,362        199,612     1,020,892       1,220,504
                                  NEWARK LIBERTY AIRPORT Subtotal      61                    110,021      152,198    154,245    121,603    242,590        780,658     1,437,293       2,217,951



Aviation                                                                                     AͲ6
                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                     2014-2023 CAPITAL PLAN
                                                                  BY DEPARTMENT AND FACILITY
                                                                                        (in thousands)

                                                                                                                                                         2014-2018    2019-2023       2014-2023
    Project ID                                                       Category   Stage       2014         2015       2016       2017         2018          Forecast     Forecast        Forecast
                 CA05-TETERBORO AIRPORT
    CA05-023     SCHOOL SOUNDPROOFING                                 MAND       4             1,332        1,701      3,500      1,450              -        7,983               -        7,983
    CA05-049     PERIMETER INTRUSION DETECTION SYSTEM                  SEC       4             2,816        1,097          -          -              -        3,913               -        3,913
    CA05-084     IMPROVE RUNWAY 6-24 RUNWAY SAFEWAY AREA              MAND       4            11,357            -          -          -              -       11,357               -       11,357
    CA05-108     REDNECK AVENUE RELOCATION                            MAND       4                 -            -        203          -              -          203               -          203
                 RUNWAY 1 RUNWAY SAFEWAY AREA -1000 FT OVERRUN
    CA05-112     AND PATROL ROAD                                      MAND       4             3,627        3,114          -            -            -        6,742               -        6,742
    CA05-122     CMWP - INSTALLATION OF INTERIOR WILDLIFE FENCE        SEP       3             1,293            -          -            -            -        1,293               -        1,293

    CA05-126     REHABILITATION OF TAXIWAY BEYOND THE 7-YEAR PLAN     SGR        P                   -          -          -          200      2,000          2,200        8,318          10,518
                 REHABILITATION OF TAXIWAY G (WEST OF RUNWAY 1-19)
    CA05-127     AND TAXIWAY E                                        SGR        P                 -            -          -          -           50             50        2,683           2,733
    CA05-128     REHABILITATION OF RUNWAY 6-24                        SGR        P                 -            -          -          -        1,000          1,000       22,208          23,208
    CA05-129     REHABILITATION OF TAXIWAY L                          SGR        P                 -            -          -          -            -              -        6,199           6,199
    CA05-130     REPLACEMENT OF TAXIWAY B WITH NEW TAXIWAY V          SEP        1               244          496      2,875        646            -          4,261            -           4,261
    CA05-138     AIRFIELD WILDLIFE HAZARD MITIGATION                  SEP        P                 -            -          -        204        2,498          2,702        8,875          11,577
    CA05-141     STORMWATER DRAINAGE SYSTEM IMPROVEMENTS              SEP        1               212        1,000      1,000      1,000        6,600          9,812        9,400          19,212
    CA05-142     ARFF BUILDING REPLACEMENT                            SEP        P             1,600          200          -          -          400          2,200       28,757          30,957
    CA05-148     REHABILITATION OF RUNWAY 1-19                        SGR        P                 -            -          -          -            -              -       12,676          12,676
                 CMWP - REPLACEMENT OF DEICING FLUID STORAGE
    CA05-149     TANKS                                                 SEP       3             1,000          235          -          -            -          1,235            -           1,235
                                        TETERBORO AIRPORT Subtotal      16                    23,481        7,844      7,578      3,500       12,548         54,951       99,116         154,067
                 C06-STEWART AIRPORT
                 TERMINAL EXPANSION FEDERAL INSPECTION FACILITY
    CA06-007     AND WELCOME CENTER                                   SEP        3               625        1,507      3,500      5,500              -       11,132            -          11,132
    CA06-012     REHABILITATION OF OPERATIONS CONTROL CENTER          SGR        P                 -            -          -          -            574          574        2,545           3,119
    CA06-017     REHABILITATION OF TAXIWAY B                          SGR        3             2,189            -          -          -              -        2,189            -           2,189
    CA06-027     SOUTH RAMP PAVEMENT REPLACEMENT                      SGR        1                 -            -          -          -            517          517       35,628          36,145
    CA06-045     REPLACEMENT OF AIRFIELD SIGNS                        SGR        3               520        1,138        722          -              -        2,381            -           2,381
                 CMWP - POSITIVE AIR PRESSURE FOR PASSENGER
    CA06-046     LOADING BRIDGES                                      MAND       4                 652          -          -            -            -          652               -          652
                 DESIGN AND CONSTRUCTION OF THE MID-HUDSON
    CA06-050     REGIONAL CRIME LABORATORY                             SEP       4             2,421        1,442          -          -            -          3,862            -           3,862
    CA06-052     REHABILITATION OF TAXIWAY C ALONG SOUTH RAMP         SGR        P                 -            -          -        100          202            302       23,859          24,161
    CA06-053     REHABILITATION OF TAXIWAY F                          SGR        P                 -            -          -          -          285            285        4,204           4,489
    CA06-054     REHABILITATION OF TAXIWAY A                          SGR        P                 -            -          -          -          100            100       13,813          13,913
    CA06-055     REHABILITATION OF TAXIWAY C                          SGR        P                 -            -          -          -          999            999        6,006           7,005
    CA06-056     REHABILITATION OF TAXIWAY L & N                      SGR        P                 -            -          -          -          999            999        6,073           7,072
    CA06-058     REHABILITATION OF GLYCOL SYSTEM                      MAND       1                 -            -          -          -          532            532        6,235           6,768
    CA06-066     REHABILITATION OF RUNWAYS 9-27 AND 16-34             SGR        4            30,781       36,421      4,548          -            -         71,750            -          71,750
    CA06-068     REHABILITATION OF TAXIWAY "A" (FROM "9" TO "C")      SGR        P                 -            -          -          -        2,002          2,002       21,966          23,968
    CA06-069     REHABILITATION OF TAXIWAY H                          SGR        P                 -            -          -          -        1,000          1,000        4,437           5,437
    CA06-070     MILL AND OVERLAY OF TAXIWAY M                        SGR        3             2,068          567          -          -            -          2,635            -           2,635
    CA06-079     BACKFLOW PREVENTER DEVICES                           MAND       P               895        1,152      1,556          -            -          3,603            -           3,603
                                                                                                                                                                                                   Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 32 of 80




    CA06-080     ROOF REPLACEMENT OFF HANGAR A                        SGR        P                 -            -          -          -          332            332        3,201           3,533
    CA06-100     RUNWAY INCURSION MITIGATION - PHASE 1B               MAND       4             2,260        3,388      6,268      5,623            -         17,540            -          17,540
    CA06-102     REPLACEMENT OF TERMINAL FIRE ALARM SYSTEM            SGR        P                 -            -          -          -          350            350        2,643           2,993



Aviation                                                                                     AͲ7
                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                     2014-2023 CAPITAL PLAN
                                                                  BY DEPARTMENT AND FACILITY
                                                                                     (in thousands)

                                                                                                                                                  2014-2018      2019-2023      2014-2023
    Project ID                                                    Category   Stage       2014         2015       2016       2017       2018        Forecast       Forecast       Forecast
    CA06-104     REPLACEMENT OF TERMINAL EMERGENCY GENERATOR        SGR        1                -            -          -          -        500            500          1,999         2,499
    CA06-115     IMPROVEMENTS TO AOA PERIMETER FENCE                SEC        1              355          841      2,182        704          -          4,082              -         4,082
    CA06-119     IMPROVEMENTS TO GUARD POST                         SEC        P              933          261          -          -          -          1,194              -         1,194
                                         STEWART AIRPORT Subtotal    24                    43,699       46,717     18,776     11,927      8,392        129,511        132,609       262,121
                 CMWP PROVISION                                     SGR                     5,000        5,000      5,000      5,000      5,000         25,000         50,000        75,000
                 Future SGR Requirements                            SGR                         -            -          -          -          -              -        267,178       267,178
    CPR Prov     CPR Provision                                      SGR       P                 -            -          -          -          -              -        825,000       825,000
                 AVIATION TOTAL                                     211                   564,328      817,381    831,530    702,063    824,131      3,739,433      4,302,222     8,041,655
                                                                                                                                                                                              Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 33 of 80




Aviation                                                                                  AͲ8

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 34 of 80





Tunnels,Bridges,andTerminals

TheTunnels,Bridges,andTerminals(TB&T)departmentisundertakingfivemajorprojectsinthenexttenyears;
thiscontributestoasignificantlyhighercapitalbudgetthaninpreviousyears:

x $7.9billionbudgetfor2014Ͳ
                                                        TB&TͲ HistoricalandForecastedDepartmentalSpending
     2023
x $4.5billionallocatedinthefirst                   2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023
                                                1,200,000
     fiveyears(2014Ͳ2018)
                                               1,000,000
Asdepictedinthegraph,TB&T’score
capitalprogramintheupcomingten             800,000
yearsissimilartohistoriclevelsof                                                                                    $7.9billion
departmentspending(from2002to               600,000
2012).
                                                 400,000

                                                 200,000

                                                       Ͳ
                                                          2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012

                                                                  HistoricalSpending
                                                                   TotalForecastedSpending
                                                                   TotalForecastedSpending(ExcludesMajors)
FiveYearSpending(2014Ͳ2018)

In2014Ͳ2018,$3.3billionor73%ofTB&T’scapitalbudgetisallocatedtoMajorProjects.Inadditiontothefive
MajorProjects,planningfortherenovation/replacementofthePABusTerminalhascommenced.Coreprojects
comprise28%ofTB&T’sfiveͲyearcapitalbudget,withthelargestamountofspendingoccurringforprojectsthat
arecurrentlyinconstructionandStateofGoodRepairprojects.

                     TB&TCapitalBudget
                    2014Ͳ2018(4.5billion)                               TB&TCapitalProjects2014Ͳ2018($in000’s)

                                    Helix                                 CapitalBudget(2014Ͳ2018)                4,558,229
                                    0.8%                                  CapitalBudgetas%of5YrPlan              28.9%
               Core
                                                                          NumberofProjects                              135
             Projects
              27.5%                                                                                                          
                                       LTA
                                                                          NumberofMajorProjects                          5
                                      31.9%
                                                                          MajorProjectBudget(2014Ͳ2018)         3,306,555
                                                                          MajorProjectBudgetas%of
                                                                                                                          72.5%
                                                                          DepartmentalBudget
                                                      GWB                                                                   
            Goethals
                                                    Suspender            CoreProjectBudget(2014Ͳ2018)          1,251,674
             Bridge
             10.2%                          Bayonne Ropes            
                                             Bridge   4.6%
                                             25.1%                    

                                                                                                                25|P a g e 


             Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 35 of 80




TB&T5–YearCapitalSpending($in000’s)


                                                               2014                   2015                      2016                       2017                   2018                2014Ͳ2018
   Mandatory                                                2,356                  3,105                     4,809                      5,379                    438                    16,087
   Security                                                26,916                 28,194                    34,865                     35,167                 32,319                   157,462
   SGR                                                     44,750                 77,992                   170,894                    136,720                163,030                   578,387
   Stage4ͲConstruction                                 144,818                102,335                    79,457                     63,913                 46,598                   437,121
   SEP/RPP                                                 51,228                  5,790                     5,100                          0                    500                    62,618
CoreProjectsSubtotal                                     270,068                217,417                   295,125                    241,179                227,885                 1,251,674

  Helix                                                     1,209                  7,137                     7,494                     10,229                 10,229                    36,297
  LTA                                                     245,925                304,845                   325,279                    346,345                232,665                 1,455,060
  GWBSuspenderRopes                                      13,770                 13,938                    13,801                     69,420                 98,014                   208,943
  BayonneBridge                                          233,827                316,153                   305,844                    216,081                 70,915                 1,142,820
  GoethalsBridge                                          52,770                 43,321                    89,199                    102,838                175,307                   463,435
MajorProjectsSubtotal                                    547,501                685,394                   741,617                    744,913                587,129                 3,306,555

TotalCapitalBudget                                       817,569                902,811                 1,036,742                    986,092                815,014                 4,558,229


MajorProjects

TB&Tisundertakingfivemajorcapitalprojectsinthenexttenyears,whichtotal$5.7billionincapital
investment,with$3.3billion(58%)occurringin2014Ͳ2018.

                                            TB&TMajorProjects                                 2014Ͳ2018              2019Ͳ2023                2014Ͳ2023
                                             ($in000’s)
                                            Helix                                                  36,297                 1,404,970               1,441,267
                                             LTA                                                 1,455,060                   272,315               1,727,375
                                            GWBSuspenderRopes                                   208,943                   724,207                 933,150
                                             BayonneBridge                                      1,142,820                         0               1,142,820
                                            Goethals                                              463,435                    11,117                 474,552
                                             Total                                               3,306,555                 2,412,610               5,719,164



                                          TB&TMajorProjectCapitalBudgetbyProject(2014Ͳ2023)
    800,000
                                                                                                                                                      
    700,000
    600,000                                                                                             
    500,000
    400,000                         
    300,000
    200,000              
    100,000
          0                                                                                                                                                                                         
                         2014              2015              2016             2017              2018              2019              2020             2021              2022              2023

                                        Helix           LTA            GWBSuspenderRopes                            BayonneBridge                      Goethals




                                                                                                                                                                                           26|P a g e 


            Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 36 of 80





CoreDepartmentProjects(ExcludesMajors)

TheportfolioofcoredepartmentworkinTB&Tconsistsof123projects.TB&T’scoredepartmentalbudgetin
2014Ͳ2023is$2.3billion,ofwhich$1.3billionwillbespentinthefirstfiveyears(2014Ͳ2018).

Thefollowingchartshowsthetoptencoreprojects(byspendingin2014Ͳ2023)inTB&T.

    Rank     Top10($in000’s)                                    Stage    2014Ͳ2018            2019Ͳ2023           2014Ͳ2023        TPC
              Rehabilitationof178th&179thStreetRamps,Bus
     1                                                                  3           96,023               96,380           192,403        192,403
              Ramps,andBusTurnaround(GWB)
              ReplacementofMechanicalandElectricalVent
     2                                                                  P             1,199              92,871            94,070        298,576
              Equipment(LT)
     3       ReplacementofPiers9/204(HT)                           3           85,826                   342           86,168         86,168
     4       Upgrade/ReplaceITSSignsandFieldDevices(GWB)        M            31,444               38,985            70,429         79,867
              RehabilitationofStructuralSteel,LeadPaint
     5                                                                  2             1,337              68,873            70,210        203,435
              RemovalandRecoatingUnderside(GWB)
              RehabilitationofthePalisadesInterstateParkway
     6                                                                  3           63,109                      0          63,109         76,449
              Helix(GWB)
     7       GWBBusStationRedevelopment                             3           62,118                      0          62,118         80,658
              RehabilitationofTunnelVentSystem
     8                                                                  4           60,813                      0          60,813        191,807
              Mechanical/Electrical(HT)
     9       PABT–InternalStructuralEnhancements                   P           32,406               24,469            56,875         56,875
              RehabilitationofCenterAveBridgeandLemoine
     10                                                                 1           48,971                      0          48,971         53,620
              AveBridge(GWB)


CompositionofCoreProjects

AllTB&Tfacilitiesarerepresentedinthedepartment’scoreplanwithspendingfocusedattheGeorge
WashingtonBridge(GWB),LincolnTunnel,andHollandTunnel.

CoreDepartmentCapital
SpendingbyFacility             Numberof                                                                            2014Ͳ2023Core
($in000’s)                       Projects            2014Ͳ2018             2019Ͳ2023           2014Ͳ2023          DeptSpending
HollandTunnel                       20                190,378                77,273                 267,651            12%
LincolnTunnel                       26                  182,737                201,711                 384,448         17%
GWB                                   43                  494,937                504,748                 999,685         44%
BayonneBridge                        2                    32,785                  1,137                  33,922          2%
GoethalsBridge                      6                   20,145                  9,774                  29,920          1%
OuterbridgeCrossing                   9                   70,480                 14,774                  85,253          4%
GWBBusStation                       3                   67,056                 13,100                  80,156          4%
PABT                                  14                  124,642                 48,719                 173,361          8%
Provisions(SGR/CMWP)                                       68,514                127,946                 196,460
TotalCoreProjects                   123         1,251,674      999,182 2,250,856                   







                                                                                                                                     27|P a g e 


            Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 37 of 80





StateofGoodRepairProjects

WithinthecoreprograminTB&T,thevastmajority(86%)ofinvestmentoverthenexttenyearsisinSGR
projects.OfTBT’scorebudgetof$2.2billion,$1.9billionisdedicatedtoSGRprojects.

    CoreDepartmentCapital                                                                                            2014Ͳ2023
    SpendingbyProjectType                     Numberof                                                            CoreDept
    ($in000’s)                                  Projects            2014Ͳ2018         2019Ͳ2023    2014Ͳ2023      Spending
    StateofGoodRepair2                           90               1,006,791          935,784       1,942,576      86%
    Mandatory                                        2                  16,516                0          16,516       1%
    Security                                        27                 165,748           54,066         219,814      10%
    SEP/RPP                                          4                  62,618            9,331          71,949       3%
    TotalCoreProjects                             123               1,251,674          999,182       2,250,856


TB&T’scurrentprojectportfolioconsistsof90StateofGoodRepairprojects,spanningallfacilities.TheSGR
budgetof$1.9billionaccountsforapproximately25%ofTBT’stotalcapitalbudgetin2014Ͳ2023.Inadditionto
TB&T’s$935millionbudgetforStateofGoodRepairprojectsin2019Ͳ2023,anagencyͲwideprovisionforfuture
SGRprojectsthathavenotyetbeenidentified,hasbeenincludedinthecapitalplan.




TB&TSGRProjects($in000’s)                                                      TB&TͲ StateofGoodRepairProjectFundingby
                                                                                                         Stage
TotalSGRBudget(2014Ͳ2023)                                  1,942,576
                                                                               1,000,000
SGRBudgetasShareofDept.Budget                              24.5%
                                                                               900,000
SGRBudget(2014Ͳ2018)                                        1,006,791        800,000
SGRBudget(2019Ͳ2023)                                          935,784        700,000                                                  2014Ͳ2018
                                                                       
                                                                                 600,000
NumberofSGRProjects                                               90
NumberofSGRProjectsinStage4                                  31        500,000
                                                                                                                                          2019Ͳ2023
ShareofSGRProjectsinStage4                                34.4%        400,000
Stage4ProjectBudget(2014Ͳ2018)                              231,728
                                                                                 300,000
                                                                                 200,000
                                                                                 100,000
                                                                                       0
                                                                                             Planningand FinalDesign Construction
                                                                                            Prelim.Design
                                                                                                                                                      








2
    StateofGoodRepairtotalreflects$78millionofallocatedfundsforfutureSGRrequirements
                                                                                                                                     28|P a g e 

                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                     2014-2023 CAPITAL PLAN
                                                                  BY DEPARTMENT AND FACILITY
                                                                                        (in thousands)

                                                                                                                                                             2014-2018     2019-2023       2014-2023
  Project ID                                                         Category   Stage       2014         2015         2016         2017         2018          Forecast      Forecast        Forecast
  TUNNELS, BRIDGES & TERMINALS
               CB02-HOLLAND TUNNEL
               REHABILITATION OF TUNNEL VENT SYSTEM
  CB02-040     MECHANICAL/ELECTRICAL                                  SGR        4            17,877       16,702       24,553        1,682            -          60,813             -         60,813
  CB02-123     REPLACEMENT OF PIERS 9/204                             SGR        3             5,256        5,032       26,181       31,033       18,324          85,826           342         86,168
  CB02-156     SUPERVISORY CONTROL SYSTEM REPLACEMENT                 SGR        3                 -            -            -            -        1,282           1,282        31,000         32,282

  CB02-162       REPLACEMENT FLOOR DRAINS/PIPING OF 4 VENT BLDGS       SGR       3             1,183            832            -            -            -         2,016               -         2,016
                 REPLACEMENT/REHABILITATION OF BOILER AND HOT
  CB02-173       WATER HEATER AT NJSB & NJAB                           SGR       3                   -            -            -            -          472          472          3,001           3,473
                 REPLACEMENT OF EXHAUST & BLOWER DUCT ACCESS
  CB02-175       DOORS IN VENTILATION BUILDINGS                        SGR       3                   -            -            -            -          222          222          3,145           3,368
                 STAIR REHABILITATION IN NEW YORK RIVER
  CB02-180       VENTILATION BUILDINGS                                 SGR       3                   -          -            -              -          550           550         1,304           1,854
  CB02-184       ACCESS CONTROL SYSTEM ENHANCEMENT                     SEC       3                 687      2,361        1,467              -            -         4,515             -           4,515
                 REHABILITATION POWER DISTRIBUTION SYSTEM AND
  CB02-191       REPLACE EMERGENCY GENERATORS                         SGR        P                 -            -            -            -            -               -         4,956          4,956
  CB02-193       CONCRETE AND STEEL REHABILITATION                    SGR        2                 -            -            -            -          445             445        15,271         15,717
  CB02-195       REHABILITATION SUPPLY BLOWER PORTS                   SGR        3               902        3,116          509            -            -           4,527             -          4,527
  CB02-200       WATERSIDE BUFFER ZONE PROTECTION                     SEC        1             1,348          599            -            -            -           1,947             -          1,947
  CB02-202       TOLL COLLECTION SYSTEM REPLACEMENT                   SGR        4               778          844        3,371        5,955        4,017          14,965         1,254         16,219
  CB02-203       FACILITY DATA ROOM REHABILITATION                    SEP        1                 -            -            -            -          500             500         2,500          3,000
  CB02-204       INTEROPERABILITY RADIO COMMUNICATIONS                SEC        P                 -          303        1,193        1,403        2,349           5,248             -          5,248

  CB02-205       800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC       3               654            625            -            -            -         1,279               -         1,279
  CB02-208       IN-BUILDING RF COVERAGE ENHANCEMENTS                  SEC       3             1,200              -            -            -            -         1,200               -         1,200
                 REHABILITATION OF FRESH AIR STACKS IN VENTILATION
  CB02-211       BUILDINGS                                            SGR        P                   -            -            -            -          600          600          8,500           9,100
                  REHABILITATION OF OFFSET DUCTS AND MITIGATION OF
  CB02-213       WATER INFILTRATION TUNNELS                            SGR        P                 90          279      1,800        1,800              -         3,970               -         3,970
                 REHABILITATE/REPLACE HIGH VOLTAGE
  CB02-218       TRANSFORMERS                                         SGR        P                 -            -            -            -            -               -         6,000          6,000
                                           HOLLAND TUNNEL Subtotal     20                     29,977       30,693       59,074       41,873       28,762         190,378        77,273        267,651
                 CB03-LINCOLN TUNNEL
  CB03-093       REPAINTING OF TUNNEL VENTILATION FANS                SGR        4             1,777            999      1,633              -            -         4,409               -         4,409
                 REPLACE DYER PLAZA AND DYER AVENUE ROADWAY
  CB03-153       SLABS                                                SGR        P                 528      1,428        9,130       14,823       15,915          41,824         5,500         47,324
                 EXPLOSION PROOF EQUIPMENT AT MID-RIVER PUMP
  CB03-167       ROOMS                                                SGR        4             2,182              -            -            -          -           2,182             -           2,182
  CB03-172       REPLACE EXHAUST & BLOWER DUCT ACCESS DOORS           SGR        P                 -              -            -            -          -               -         1,868           1,868
  CB03-190        REPLACEMENT OF SUMP PUMP AT NY EXPRESS WAY          SGR        P                 -            119          714          758      4,091           5,682         3,715           9,396
                                                                                                                                                                                                       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 38 of 80




  CB03-211       STRUCTURAL REHABILITATION AND REPAVING OF HELIX      SGR        4            21,633       18,171        1,000              -            -        40,804             -         40,804
  CB03-226       REPLACEMENT OF BUS RAMP DECK - PHASE 3               SGR        P                 -            -            -              -            -             -        31,103         31,103
                 REHABILITATION OF DRUM RINGS AND REPAIRS TO
  CB03-230       UNDERSIDE OF ROADWAYS                                SGR        4                 857            -            -            -            -          857                -          857


Tunnels,BridgesandTerminals                                                               BͲ1
                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                      2014-2023 CAPITAL PLAN
                                                                   BY DEPARTMENT AND FACILITY
                                                                                         (in thousands)

                                                                                                                                                          2014-2018     2019-2023       2014-2023
  Project ID                                                          Category   Stage       2014         2015         2016       2017       2018          Forecast      Forecast        Forecast
                 REPLACEMENT OF VENTILATION LOUVERS IN NY
  CB03-231       VENTILATION BUILDINGS                                  SGR       4              1,830       1,942        2,699          -            -         6,470             -          6,470
  CB03-234       NEW YORK BUS RAMP COMPLEX/PROTECTION                   SEC       P              1,201       1,271        3,531      5,745          500        12,248         7,250         19,498
  CB03-244       REPAVING OF CENTER TUNNEL                              SGR       3              1,241       3,176            -          -            -         4,417             -          4,417
                 DECK REPLACEMENT OF THE NY EXPRESSWAY BTWN
  CB03-245       W31ST AND W33RD STREETS                                SGR       3             10,739       5,777            -          -            -        16,516               -       16,516
                 INSTALLATION AND REHABILITATION OF ROADWAY
  CB03-248       SAFETY DEVICES                                        SGR        3                  -           -            -          -        326             326         2,423          2,749
  CB03-252       ACCESS CONTROL SYSTEM ENHANCEMENT                     SEC        3              3,180       1,989        1,674          -          -           6,842             -          6,842
  CB03-253       UPGRADE OF LIFE SAFETY MONITORING SYSTEM              SGR        3                  -           -            -          -        489             489         5,957          6,446
  CB03-258       REPLACEMENT OF NEW JERSEY FEEDERS-SOUTH TUBE          SGR        4                296           -            -          -          -             296             -            296
  CB03-261       WATERSIDE BUFFER ZONE PROTECTION                      SEC        1              1,324         405            -          -          -           1,729             -          1,729
  CB03-262       REPLACEMENT OF TOLL COLLECTION SYSTEM                 SGR        4              1,209       1,322        5,288      7,756      6,524          22,098         2,933         25,031
                 TUNNELS BRIDGES & TERMINALS INTEROPERABILITY
  CB03-263       RADIO COMMUNICATIONS                                   SEC       P              1,193       1,403        2,349      1,389            -         6,334               -         6,334
                 REPLACEMENT OF HVAC SYSTEM AT ADMIN BUILDING -
  CB03-264       PHASE 2                                                SGR       3                   -            -          -          -          427          427          4,493           4,920
  CB03-265       FACILITY DATA ROOM REHABILITATION                      SEP       P                   -            -          -          -            -            -          3,000           3,000

  CB03-266       800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC        3                 665          595          -          -          -           1,260             -          1,260
  CB03-273       REPLACEMENT OF EXISTING ITS SYSTEM                    SGR        1                   -            -          -          -      3,000           3,000        27,500         30,500
  CB03-276       REPLACEMENT OF SCADA SYSTEM                           SGR        P                   -            -          -          -          0               -        13,100         13,100
                 REPLACEMENT OF MECHANICAL & ELECTRICAL VENT
  CB03-277       EQUIP                                                 SGR        P                   -            -          -          -      1,199           1,199        92,871         94,070
                 REPLACE CURB PLATES IN THE NORTH AND SOUTH
  CB03-280       TUBES                                                 SGR        P                825       1,471        1,031          -          -           3,327             -           3,327
  CB03-213       REPLACEMENT OF HELIX - PLANNING                       SGR        1              1,209       7,137        7,494     10,229     10,229          36,297        21,480          57,777
  CB03-254       REPLACEMENT OF HELIX CONSTRUCTION                     SGR        P                  -           -            -          -          -               -     1,383,490       1,383,490
                                      LT HELIX                                                   1,209       7,137        7,494     10,229     10,229          36,297     1,404,970       1,441,267
  CB03-267       IMPROVEMENTS TO PULASKI SKYWAY                        SGR        4            181,001     252,206      201,037    169,148    112,659         916,053       150,955       1,067,008
  CB03-268       REPLACEMENT OF ROUTE 7 WITTPENN BRIDGE                SGR        4             60,255      35,785      108,454    140,312     82,264         427,068       104,004         531,071
  CB03-269       EXTENSION OF ROUTE 1 & 9T (NEW ROAD)                  SEP        4              4,669      16,854       15,788     36,885     37,742         111,939        17,356         129,295
                              LINCOLN TUNNEL ACCESS                                            245,925     304,845      325,279    346,345    232,665       1,455,060       272,315       1,727,375
                                            LINCOLN TUNNEL Subtotal     31                     297,814     352,049      361,821    387,045    275,365       1,674,093     1,878,997       3,553,090
                 CB04-GEORGE WASHINGTON BRIDGE
                 REHABILITATION OF STRUCTURAL STEEL, LEAD PAINT
  CB04-132       REMOVAL & RECOATING UNDERSIDE                          SGR       2              2,100       5,100        2,000      2,000      2,000          13,200        63,000         76,200
                 REHABILITATION OF MAIN SPAN FIRE STANDPIPE
  CB04-228       SYSTEM                                                SGR        4              5,492             -          -          -            -         5,492               -         5,492
                 REHABILITATION OF NEW JERSEY/NEW YORK HIGH
  CB04-241       TENSION ELECT SWITCHGEAR                              SGR        3                  -           -            -          -      1,165           1,165        42,134         43,299
  CB04-258       FORT LEE STREET IMPROVEMENTS                          SGR        4              1,972           -            -          -          -           1,972             -          1,972
                                                                                                                                                                                                    Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 39 of 80




  CB04-260       TOLL COLLECTION SYSTEM REPLACEMENT                    SGR        4              2,682       2,926       11,502     16,829     14,565          48,504         6,553         55,057
                 REHABILITATION OF UPPER LEVEL SPAN OVER NJ
  CB04-261       ANCHORAGE AND HUDSON TERRACE                          SGR        3              1,373       7,997       14,947      3,775            -        28,092               -       28,092




Tunnels,BridgesandTerminals                                                                BͲ2
                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                     2014-2023 CAPITAL PLAN
                                                                  BY DEPARTMENT AND FACILITY
                                                                                       (in thousands)

                                                                                                                                                          2014-2018       2019-2023       2014-2023
  Project ID                                                        Category   Stage       2014         2015         2016       2017         2018          Forecast        Forecast        Forecast
                 REPLACEMENT OF IMPACT ATTENUATORS GUIDE RAILS
  CB04-262       & BARRIERS                                          SGR        4             3,119              -          -            -            -         3,119               -          3,119
  CB04-263       TRANS MANHATTAN EXPRESSWAY REHABILITATION           SGR        P                 -              -          -            -            -             -          37,737         37,737
                 REHABILITATION OF MAIN SPAN UPPER LEVEL
  CB04-270       STRUCTURAL STEEL                                    SGR        4            25,988       17,781            -            -            -        43,769                 -       43,769
                 REHABILITATION OF 178TH &179TH STREET RAMPS, BUS
  CB04-276       RAMPS, AND BUS TURNAROUND                           SGR        3             2,808        5,907       30,839     28,824       27,645          96,023          96,380        192,403
                 REHABILITATION OF THE PALISADES INTERSTATE
  CB04-285       PARKWAY HELIX                                       SGR        3             5,542       14,720       30,566     12,282              -        63,109                 -       63,109
                 NEW YORK RAMPS HR1 & HR2 - STRUCTURAL STEEL
  CB04-286       REHABILITATION, LEAD ABATEMENT & PAINT              SGR        3                   -            -          -            -      1,063           1,063           6,976           8,039
  CB04-287       PRIORITY STEEL AND CONCRETE REHABILITATION          SGR        4                 696            -          -            -          -             696               -             696
                 GWB - TME REHABILITATION OF MEDIAN BARRIERS AND
  CB04-288       TRAFFIC SAFETY IMPROVEMENTS                          SGR       P                 605      5,427        6,831      5,956        2,880          21,699                 -       21,699
                 PROTOTYPE OF FIRE MITIGATE FIRE/DYNAMIC LOAD -
  CB04-295       PHASE 2                                              SEC       P                   -            -          -          250          500          750           10,250         11,000
                 REPLACEMENT OF LIGHTING ALONG UPPER LEVEL NY
  CB04-229       RAMP TO EXPRESSWAY RAMPS                             SGR       P                   -            -          -            -            -               -         1,804           1,804
                 PAVEMENT REPLACEMENT OF LOWER LEVEL EAST
  CB04-300       BOUND MAIN SPAN, LLEB APPROACH & RAMPS              SGR        P                62          423        3,230      4,146        4,881          12,742                 -       12,742
  CB04-302       REHABILITATION OF HUDSON RAMPS PAVEMENTS            SGR        P             3,099        1,783        1,783          -            -           6,665                 -        6,665
                 CMWP - REPLACEMENT OF PASSENGER ELEVATOR AT
  CB04-306       GWB NJAB                                            MAND       4               430            -            -          -            -             430               -            430
  CB04-312       UPGRADE/REPLACE ITS SIGNS AND FIELD DEVICES         SGR        M             5,550        1,287        1,848     10,450       12,310          31,444          38,985         70,429
                 REPLACEMENT OF DRAINAGE SYSTEMS TROUGHS AT
  CB04-316       UPPER LEVEL NY RAMP TO EXPRESSWAY ROADWAYS           SGR       4                 529            -          -            -            -          529                  -          529
                 REHABILITATION OF CENTER AVE BRIDGE AND LEMOINE
  CB04-317       AVE BRIDGE                                          SGR        1             2,033        2,119       19,491     18,385        6,943          48,971               -         48,971
  CB04-318       ACCESS CONTROL SYSTEM ENHANCEMENT                   SEC        3             5,690        2,629        3,814          -            -          12,133               -         12,133
  CB04-323        REPLACEMENT OF NJ BUILDINGS & MIS STRUCTURES       SGR        4               619            -            -          -            -             619               -            619
  CB04-325       UPGRADE EMERGENCY POWER SYSTEM                      SGR        1                 -            -            -          -          131             131           3,101          3,231
                 REHABILITATION OF RAMPS COMPLEX TO HENRY
  CB04-330       HUDSON PARKWAY - PHASE 2                             SGR       P                   -            -          -            -          800          800           13,000         13,800
                 REHABILITATION OF ROADWAY DECK OVER
  CB04-332       EMERGENCY GARAGE AT ADMIN BUILDING                   SGR       1                 -            -            -            -          402           402          22,271         22,673
  CB04-333        FACILITY STEEL AND CONCRETE REHABILITATION          SGR       4             2,889        3,492            -            -            -         6,381               -          6,381
                 REHABILITATION OF RAMPS COMPLEX TO HENRY
  CB04-334       HUDSON PARKWAY                                       SGR       P                   -            -          -            -          167          167           16,777         16,944
                 REHABILITATION OF TRANS MANHATTAN EXPRESSWAY
  CB04-335       ELECTRICAL SYS & LIGHTING                           SGR        P                   -            -          -          -          252             252          19,322         19,575
  CB04-336       REHABILITATION OF TME OVERPASSES - PHASE 1          SGR        P                 246          493      1,041      1,156        1,818           4,754          71,694         76,448
  CB04-338       NEW JERSEY LIGHTING FEEDERS REPLACEMENT             SGR        1                   -            -          -          -          320             320           9,036          9,356
                                                                                                                                                                                                      Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 40 of 80




                 COMMERCIAL VEHICLE SECURITY AND SAFETY
  CB04-350       INSPECTION SITE FOR PAPD                             SEC       P                   -          -            -          -              -             -          12,097         12,097
  CB04-351       ACCESS RAMP BARRIER UPGRADES                         SEC       P                 807      2,087        2,132      1,105              -         6,131               -          6,131
  CB04-356       FACILITY DATA ROOM REHABILITATION                    SEP       1                   -          -            -          -              -             -           3,831          3,831


Tunnels,BridgesandTerminals                                                              BͲ3
                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                      2014-2023 CAPITAL PLAN
                                                                   BY DEPARTMENT AND FACILITY
                                                                                         (in thousands)

                                                                                                                                                            2014-2018       2019-2023       2014-2023
  Project ID                                                          Category   Stage       2014         2015         2016         2017       2018          Forecast        Forecast        Forecast

  CB04-357       800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC        3                 732        614            -            -            -         1,345                 -        1,345
  CB04-361       REHABILITATION OF FACILITY WIDE PRIORITY              SGR        1                 433        598        4,106        4,782            -         9,919                 -        9,919
  CB04-362       GWB REPAVE EASTBOUND UPPER LEVEL                      SGR        P                 500      6,800       10,200            -            -        17,500                 -       17,500
                 REPLACEMENT OF ELECTRICAL DISTRIBUTION ROOMS IN
  CB04-363       TOWERS                                                SGR        P                   -            -            -          -            -               -         9,000           9,000
                 REPLACEMENT OF HALON FIRE SUPPRESSANT SYSTEM
  CB04-364       IN ADMIN BUILDING COMPUTER ROOM                       SGR        P                   -            -            -          -          150          150            3,450           3,600
  CB04-367       REPLACE SCADA SYSTEM                                  SGR        P                   -            -            -          -          150          150            8,600           8,750
                 REHABILITATION OF RETAINING WALLS AT NY & NJ
  CB04-368       APPROACHES                                            SGR        P                  -           -            -            -            -             -           8,750           8,750
  CB04-375       MAIN CABLE PROTECTION                                 SEC        P                575       1,188        2,586            -            -         4,350               -           4,350
  CB04-252       NJ ANCHORAGE IMPROVEMENTS                             SGR        3              1,790         337            -            -            -         2,127               -           2,127
                 REHABILITATION OF NY/NJ ANCHOR MAIN CABLE
  CB04-272       STRANDS                                               SGR        3              6,673       6,914        6,425        9,019            -        29,031                 -       29,031
                 REHABILITATION OF SUSPENDER ROPE REPLACEMENT &
  CB04-319       MAIN CABLE                                            SGR        1              5,012       5,647        7,376       60,401     98,014         176,450        724,207         900,657

  CB04-343       REHABILITATION OF NJ ANCHORAGE SUMP PUMP ROOM          SGR       1                295       1,040            -            -          -           1,335               -           1,335
                              GWB SUSPENDER ROPES                                               13,770      13,938       13,801       69,420     98,014         208,943         724,207         933,150
                                GEORGE WASHINGTON BRIDGE Subtotal       47                      90,339      97,308      160,717      179,360    176,156         703,880       1,228,955       1,932,835
                 CB06-BAYONNE BRIDGE
  CB06-100       CCTV CAMERA SYSTEM REPLACEMENT                         SEC       4                296         243          828            -          -           1,368               -           1,368
  CB06-113       TOLL COLLECTION SYSTEM REPLACEMENT                     SGR       4             11,224      14,002        1,694        2,479      2,019          31,418           1,137          32,555
  CB06-087       NAVIGATIONAL CLEARANCE PROGRAM                         SEP       4            233,827     316,153      305,844      216,081     70,915       1,142,820               -       1,142,820
                                  BAYONNE BRIDGE                                               233,827     316,153      305,844      216,081     70,915       1,142,820               -       1,142,820
                                           BAYONNE BRIDGE Subtotal       3                     245,348     330,398      308,366      218,560     72,934       1,175,606           1,137       1,176,743
                 CB07-GOETHALS BRIDGE
  CB07-134       REPLACEMENT OF CCTV CAMERA SYSTEM                     SEC        4              1,463       1,467            954          -            -         3,884                 -         3,884
  CB07-139       STRUCTURAL STEEL REPAIR                               SGR        4                751           -              -          -            -           751                 -           751
                 REPLACEMENT OF BUILDINGS AND TOLL BOOTHS
  CB07-143       HEATING SYSTEMS                                        SGR       P                   -            -          -            -        439             439           5,321          5,760
  CB07-149       REPLACEMENT OF TOLL COLLECTION SYSTEM                  SGR       4                 778          847      3,358        4,917      3,952          13,852           2,223         16,075

  CB07-152       800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC        3                517         435            -            -          -             952               -            952
  CB07-154       REHABILITATION OF SCUPPERS                            SGR        P                  -           -            -            -        268             268           2,231          2,498
  CB07-103       GOETHALS BRIDGE MODERNIZATION                         SGR        3             50,617      40,650       65,113       68,935    143,332         368,647               -        368,647
  CB07-145       INTERCHANGE RAMPS PROJECT                             SEP        1              2,153       2,671       24,086       33,903     31,975          94,788          11,117        105,905
                                                  GOETHALS BRIDGE                               52,770      43,321       89,199      102,838    175,307         463,435          11,117        474,552
                                           GOETHALS BRIDGE Subtotal      8                      56,279      46,070       93,511      107,755    179,965         483,580          20,891        504,471
                 CB08-OUTERBRIDGE CROSSING
  CB08-075       REHABILITATION OF FIRE STANDPIPE                       SGR       3                   -            -            -          -            -               -         9,445           9,445
                                                                                                                                                                                                        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 41 of 80




  CB08-082       REHABILITATION OF DECK                                 SGR       P                   -            -            -          -            -               -         3,215           3,215
                  TOLL CANOPY - REPLACEMENTS OF HVAC UNITS AND
  CB08-083       ROOF                                                   SGR       4              1,712         808              -          -            -         2,520                 -         2,520
  CB08-097       REPLACEMENT OF CCTV CAMERA SYSTEM                      SEC       4              1,062       1,052            920          -            -         3,034                 -         3,034


Tunnels,BridgesandTerminals                                                                BͲ4
                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                      2014-2023 CAPITAL PLAN
                                                                   BY DEPARTMENT AND FACILITY
                                                                                       (in thousands)

                                                                                                                                                         2014-2018      2019-2023       2014-2023
  Project ID                                                        Category   Stage       2014         2015         2016        2017       2018          Forecast       Forecast        Forecast
  CB08-099       REPAIR OF STRUCTURAL STEEL                           SGR        4            2,132            -            -           -          -            2,132             -           2,132
  CB08-107        REHABILITATION OF PAVEMENT                          SGR        4            5,468        3,744        3,675           -          -          12,887              -          12,887
  CB08-109       MAIN SPAN PIER PROTECTION                            SEC        1              700        3,845        6,000       8,479     10,000          29,023              -          29,023
  CB08-110       REPLACEMENT OF TOLL COLLECTION SYSTEM                SGR        4              648          706        2,816       4,109      3,211          11,490          2,113          13,603
  CB08-115       CROSS BRACING                                        SEC        P              865          882        2,278       4,251      1,119            9,394             -           9,394
                                     OUTERBRIDGE CROSSING Subtotal      9                    12,587       11,036       15,690      16,838     14,329           70,480        14,774          85,253
                 CB48-GWB BUS STATION
  CB48-048       REPLACEMENT OF CEILING OVER TME                      SGR       P                  -           -            -           -          -               -         13,100          13,100
  CB48-056       GWBBS REDEVELOPMENT                                  RPP       3             51,228       5,790        5,100           -          -          62,118              -          62,118
  CB48-061       INSTALLATION OF BOLLARDS                             SEC       P                337         449          723       1,409      2,021           4,938              -           4,938
                                           GWB BUS STATION Subtotal     3                     51,565       6,239        5,823       1,409      2,021          67,056         13,100          80,156
                 CT06-PORT AUTHORITY BUS TERMINAL
                 REPLACEMENT OF BUILDING AUTOMATED MONITORING &
  CT06-120       CONTROL SYSTEM                                       SGR       4              6,712           -            -           -            -         6,712                -         6,712
  CT06-199       REPLACEMENT OF FIRE PUMPS                            SGR       4              2,029       2,040          239           -            -         4,308                -         4,308
  CT06-200       REPLACEMENT OF FIRE ALARM SYSTEM                    MAND       3              2,356       3,105        4,809       5,379          438        16,087                -        16,087
  CT06-202       REPLACEMENT OF PRIMARY ELECTRIC SERVICE              SGR       4              4,410       4,657        4,398           -            -        13,464                -        13,464
                 REPLACEMENT OF SOUTH WING HVAC UNITS AND
  CT06-230       ASSOCIATED ELECTRICAL DISTRIBUTION SYSTEM            SGR       4              7,595       7,306        8,682       9,736          -          33,320              -          33,320
  CT06-239       INTERNAL STRUCTURAL ENHACEMENTS                      SEC       P              1,067       1,120        3,250      11,137     15,831          32,406         24,469          56,875
  CT06-241       UPGRADE OF CCTV SURVEILLANCE EQUIPMENT               SEC       P              1,602       3,325        2,871           -          -           7,798              -           7,798
  CT06-246       ENHANCEMENT OF ACCESS CONTROL SYSTEM                 SEC       3              1,700       1,323          995           -          -           4,018              -           4,018
                 CMWP - REHABILITATION OF THE STEAM DISTRIBUTION
  CT06-247       SYSTEM                                               SGR       4                 133            -           -          -            -           133                -          133
                 PABT NORTH WING SBL WEARING COURSE
  CT06-259       REPLACEMENT                                          SGR       P                 184          395      1,496       2,000          400         4,475                -         4,475
                 REPLACEMENT OF VENTILATION BUILDING EXHAUST
  CT06-261       FANS AND NW PENTHOUSE FANS                           SGR       P                   -            -           -          -          300           300         15,950          16,250

  CT06-266       800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE        SEC       3                 874          748           -          -            -         1,622              -           1,622
  CT06-269       REHABILITATION OF EGRESS DOORS                       SGR       P                   -            -           -          -            -             -          3,800           3,800
                 REHABILITATION/REPLACEMENT OF 33 FRESH AIR
  CT06-271       SUPPLY FANS LOCATED IN THE NW & SW                   SGR       P                  -           -             -          -          -               -          4,500           4,500
                               PORT AUTHORITY BUS TERMINAL Subtotal    14                     28,662      24,019        26,740     28,253     16,969         124,642         48,719         173,361
                 CMWP PROVISION                                                                5,000       5,000         5,000      5,000      5,000          25,000         50,000          75,000
                 Future SGR Requirements                                                           -           -             -          -     43,514          43,514         77,946         121,460
                 TBT TOTAL                                            135                    817,569     902,811     1,036,742    986,092    815,014       4,558,229      3,411,792       7,970,020
                                                                                                                                                                                                 Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 42 of 80




Tunnels,BridgesandTerminals                                                              BͲ5

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 43 of 80





PortAuthorityTransǦHudson(PATH)


PATH’scapitalprogramtotals$3.3billioninthenexttenyears;thisincludesthreemajorprojectsandcore
departmentprojects.Ofthe$3.3billionincapitalinvestment,$1.6billionisforecastedtobespentin2014Ͳ
2018,whichis50%.
                                                           PATHͲ HistoricalandForecastedDepartmentalSpending
PATH’scapitalbudgetisrelatively
similartoprioryears,howeverit                2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023
                                           700,000
hasbeensignificantlyimpactedby
StormSandyrecoveryprojects;            600,000
64%oftheagency’sLine
                                           500,000
DepartmentStormSandyfunding
isallocatedtothePATHsystem.         400,000                                                                               $3.3
                                                                                                                                  billion
                                          300,000

                                          200,000

                                           100,000

                                                     Ͳ
                                                        2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012

                                                               HistoricalSpending
                                                                TotalForecastedSpending
                                                                TotalForecastedSpending(ExcludingMajors)


FiveYearSpending

ApproximatelyhalfofPATH’sinvestmentsin2014Ͳ2018areincoredepartmentprojects,whichconsistof$873
million.

            PATHCapitalBudget($1.65billion)                  
                       2014Ͳ2018
                                                                        PATHCapitalProjects2014Ͳ2018($in000’s)

                                                                        CapitalBudget(2014Ͳ2018)                      1,658,869
                                                                        CapitalBudgetas%of5YrPlan                    10.5%
                       Core                                            NumberofProjects                                     71
                      Projects              PATHto                                                                             
                        53%                  EWR                        NumberofMajorProjects                                3
                                             35%                        MajorProjectBudget(2014Ͳ2018)                 785,591
                                                                        MajorProjectBudgetas%of
                                                                                                                             47.4%
                                                                        DepartmentalBudget
                                                                                                                                
                                                                        CoreProjectBudget(2014Ͳ2018)                 873,279
                      Harrison            Grove                          
                      Station              Street
                        11%                 1%
                                                                                                                 29|P a g e 


             Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 44 of 80




PATH5–YearCapitalSpending($in000’s)

                                                                    2014              2015                      2016                       2017                   2018                2014Ͳ2018
   Mandatory3                                                        Ͳ                 Ͳ                         Ͳ                          Ͳ                      Ͳ                        Ͳ
   Security                                                     32,620            22,222                    20,568                     23,531                 37,333                  136,274
   SGR                                                          28,091            47,861                    62,918                    103,108                 69,659                  311,637
   Stage4ͲConstruction                                        86,459            65,111                    88,890                    102,309                 78,369                  421,138
   SEP/RPP                                                         761             2,133                       861                        475                      0                    4,230
CoreProjectsSubtotal                                          147,932           137,327                   173,237                    229,422                185,360                  873,279

  PATHtoEWR                                                    7,000             10,000                    10,000                   274,000                274,000                    575,000
  GroveStreet                                                  2,929              6,862                     2,441                     2,159                  4,250                     18,641
  HarrisonStation                                              28,085             28,587                    39,627                    66,087                 29,564                    191,950
MajorProjectsSubtotal                                          38,014             45,449                    52,068                   342,246                307,814                    785,591

TotalCapitalBudget                                            185,946           182,776                   225,306                    571,668                493,174                 1,658,869


MajorProjects

PATH’s2014Ͳ2023capitalprogramincludestheredevelopmentoftwostationsandtheextensionofserviceto
NewarkLibertyInternationalAirport.TheHarrisonStationRedevelopmentprojectisscheduledtobecompleted
in2019;theADAportionofGroveStreetStationRedevelopmentisforecastedtobecompletedin2017.

                                            PATHMajorProjects                                 2014Ͳ2018              2019Ͳ2023                2014Ͳ2023
                                             ($in000’s)
                                            PATHtoEWR                                            575,000                   625,000             1,200,000
                                             GroveStreet                                            18,641                   195,500               214,141
                                            HarrisonStation                                      191,950                    15,000               206,950
                                             Total                                                  785,591                   835,500             1,621,091



                                                  PATHMajorProjectCapitalBudgetbyProject(2014Ͳ2018)*
                                                                 400,000

                                                                 350,000

                                                                 300,000

                                                                 250,000
                                                       $000's




                      HarrisonStation
                                                                 200,000
                      GroveStreet
                      PATHtoEWR                                150,000

                                                                 100,000

                                                                  50,000

                                                                        0
                   *post2018 spendingis$835.5million                             2014                      2015                       2016                    2017                      2018
                                                                                                                                                                                                              

3
    TheSignalsProgramisaMandatoryprojectinStage4Construction.                                                                                                       
                                                                                                                                                                                           30|P a g e 


            Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 45 of 80





CoreDepartmentProjects(ExcludesMajors)

Approximately40%ofPATH’scapitalbudgetisdedicatedtocoredepartmentprojectsfor2014Ͳ2018($873
million).In2019Ͳ2023,60%ofPATH’scapitalbudgetisallocatedtocoredepartmentprojects,whichis$842
million.

ListedbelowarePATH’slargestcoreprojects,rankedbytotalspendingin2014Ͳ2023.

    Rank    Top10($in000’s)   Stage        2014Ͳ2018     2019Ͳ2023         2014Ͳ2023       TPC
     1      InstallationofSignalReplacementProgram                                          4     246,375          70,263         316,638   580,089
     2      DuctBankTunnelsA/BUnderRiver                                                     P      13,955         147,363         161,318   189,786
     3      WashingtonStreetSubstation                                                          1      48,386         103,057         151,443   158,900
     4      TunnelMitigation                                                                     P      49,968          72,337         122,305   329,877
     5      ConstructionofFloodgateatTunnelsA,B,E,&F                                        3      48,320          40,292          88,612   181,406
     6      RehabilitationofDuctBank                                                          1         439          63,750          64,189   683,103
     7      FireAlarmSystemsRehabilitation                                                     1       9,333          52,923          62,256   73,394
     8      ReplacementofSubstation9                                                           1      12,719          44,625          57,344   59,394
     9      EquipmentPurchaseRecoveryWork                                                     1      39,427          15,000          54,427   54,427
     10     TunnelsͲLatentDamage                                                                1      32,500          16,527          49,027   49,027
                                                                                               

CompositionofCoreProjects

PATH’scapitalprogramincludesupgradesandreplacementofstations,railandrollingstock.ThePATHSafety
Programiscomprisedofsecurityprojectsandaccountsfor7%ofcoredepartmentspendinginthenextten
years.

CoreDepartmentCapital                                                                                                      2014Ͳ2023
SpendingbyFacility                           Numberof                                                                    CoreDept
($in000’s)                                   Projects                2014Ͳ2018          2019Ͳ2023       2014Ͳ2023       Spending
PATH                                              57                    717,961            662,502         1,380,463        44%
PATHSafetyProgram                              11                    128,037            112,629           240,666         8%
JournalSquareTransportation
                                                     3                       2,280           17,092            19,373         1%
Center
Provisions(SGR/CMWP)                                                      25,000            50,000            75,000         2%
TotalCoreProjects                                71                   873,279            842,224         1,715,502













                                                                                                                                                    31|P a g e 


         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 46 of 80





StateofGoodRepairProjects 

CoreDepartmentCapital                                                                                               2014Ͳ2023
SpendingbyProjectType          Numberof                                                                          CoreDept
($in000’s)                       Projects                 2014Ͳ2018           2019Ͳ2023       2014Ͳ2023          Spending
StateofGoodRepair                      56              481,202            511,969           993,171         57.9%
Mandatory                                 1                 246,375               70,263           316,638         18.4%
Security                                  11                141,472              259,992           401,464         23.4%
SEP/RPP                                    3                    4,230                    0             4,230        0.3%
TotalCoreProjects                        71              873,279          842,224   1,715,502


PATH’scapitalinvestmentinStateofGoodRepairworkaccountsforapproximatelythreequarters(58%)of
overallspendingfrom2014Ͳ2023.Ofthe$993millionallocatedtoStateofGoodRepairprojects,73percent
($727million)willbespentinthefirstfiveyears(2014Ͳ2018).

Similarly,themajorityofStateofGoodRepairworkin2014Ͳ2018$558millionisoccurringinprojectscurrently
inpreliminaryandfinaldesign;ofthe$727millioninfundingin2014Ͳ2018,$169millionisallocatedtoprojects
inactiveconstruction.




QuickStats
PATHSGRProjects($in000’s)
                                                                            PATHͲ StateofGoodRepairProjectFundingbyStage
TotalSGRBudget(2014Ͳ2023)                     993,171
SGRBudgetasShareofDept.Budget               29.8%
                                                                        800,000
                                                        
SGRBudget(2014Ͳ2018)                           481,202              700,000
SGRBudget(2019Ͳ2023)                           511,969

                                                                        600,000                                                                  2014Ͳ2018
                                                         
NumberofSGRProjects                             56               500,000
NumberofSGRProjectsinStage4                   23
ShareofSGRProjectsinStage4                  42%               400,000                                                                  2019Ͳ2023
Stage4ProjectBudget                           215,594              300,000
                                                                        200,000
                                                                        100,000
                                                                              0
                                                                                      Planningand     FinalDesign     Construction
                                                                                     Prelim.Design





                                       

                                                                                                                                    32|P a g e 

                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                   2014-2023 CAPITAL PLAN
                                                                BY DEPARTMENT AND FACILITY
                                                                                     (in thousands)

                                                                                                                                                        2014-2018       2019-2023       2014-2023
   Project ID                                                     Category   Stage       2014         2015         2016         2017       2018          Forecast        Forecast        Forecast
   PATH
                CR02-PATH
   CR02-150     INSTALLATION OF SIGNAL REPLACEMENT PROGRAM         MAND       4            37,923       34,865       66,414       47,217     59,956        246,375          70,263         316,638
   CR02-212     TIE RENEWAL PROGRAM                                SGR        4             2,078        2,078        2,078        2,078      2,078         10,388          10,097          20,484
   CR02-233     WASHINGTON ST SUBSTATION                           SGR        1                 -        1,401        6,284       22,673     18,028         48,386         103,057         151,443
   CR02-258     TURNOUT REPLACEMENT - PHASE 3                      SGR        4             2,669        1,273          272            -          -          4,214               -           4,214
   CR02-259     CONTINUOUS WELDING FOR THE RAIL PROGRAM            SGR        4             1,700        1,700        1,700        1,700      1,700          8,499           5,532          14,030
   CR02-261     CONTACT RAIL PROGRAM                               SGR        4             1,082          825          825          825        825          4,382           4,125           8,507
   CR02-328     TUNNEL TRACK AND DRAINAGE PROGRAM                  SGR        4             2,066        2,066        2,066        2,066      2,063         10,326          10,313          20,638
                REPLACEMENT AND UPGRADE OF THE CHRISTOPHER ST
   CR02-336     SUBSTATION                                         SGR        4            10,520       10,876        9,985       11,390      7,548         50,319               -          50,319
   CR02-345     PURCHASE NEW RAILCARS (PA-5)                       SGR        4             4,243        2,977        1,163       32,885          -         41,268               -          41,268
   CR02-358     RESTRAINING RAIL PROGRAM                           SGR        4               933          871          863          863        863          4,394           4,316           8,710
   CR02-378     REPLACEMENT OF SUBSTATION #8 - KEARNY NJ           SGR        2               525        1,924        2,605        4,495      8,113         17,662          26,646          44,308
                REHABILITATION OF CONTACT THIRD RAIL HEATERS
   CR02-382     FROM GRAPE INTERLOCKING TO NEWARK                  SGR         4                -            -              -      1,140          859        1,999           1,584           3,583
   CR02-384     NEWARK COMPRESSOR                                  SEP         3              255          802             68          -            -        1,125               -           1,125
   CR02-406     SYSTEM UPGRADES FOR PA-5 FLEET                     SGR         4            3,064        1,218            286          -            -        4,568               -           4,568
   CR02-412     REHABILITATION OF DUCT BANK                        SGR         1                -            -              -          -          439          439          63,750          64,189
                CMWP - REPLACE 15KV AND 27KV CABLES BETWEEN
   CR02-418     JUNCTION AND SUBSTATION #2 AND #15                 SGR         4                340          340          340        340        151          1,511             267           1,778
   CR02-419     FIRE ALARM SYSTEMS REHABILITATION                  SGR         1                713          383          383      1,806      6,048          9,333          52,923          62,256
   CR02-421     TUNNEL ELECTRICAL LIGHTING SYSTEM                  SGR         P                231          317          963      2,134      2,352          5,997           4,505          10,503
                REPLACEMENT OF 27 KV CABLES BETWEEN
   CR02-425     SUBSTATIONS 2 AND 1                                SGR        P                   -            -            -          -            -               -        3,443           3,443
                EMERGENCY DIESEL GENERATORS FOR HARRISON CAR
   CR02-434     MTC FACILITY & CONSOLIDATED SHOP                   SEP        P               139          303          167          106          -            715               -             715
   CR02-446     REPLACEMENT OF NEWPORT STATION ESCALATOR           SGR        1                 -            -            -            -          -              -          12,358          12,358
   CR02-462     REPLACEMENT OF SUBSTATION #7                       SGR        3             1,751        5,467       10,782       19,969      4,491         42,460               -          42,460
   CR02-463     REPLACEMENT OF SUBSTATION #9                       SGR        1               908        1,014          889        8,907      1,001         12,719          44,625          57,344
   CR02-477     HARRISON YARD SPECIAL TRACK WORK                   SGR        4             1,381          477          282          523      1,583          4,245           7,913          12,158
                CMWP - RAIL ROAD AVE AND CAISSON 1 VENT BLDG
   CR02-486     ROOF REPLACEMENT                                   SGR        4               359             48          23           -          -            430               -             430
   CR02-497     SUBSTATION #9 - PROPERTY ACQUISITION               SGR        1             1,002            177           -           -          -          1,179               -           1,179
   CR02-504     DUCT BANK TUNNELS A/B UNDERRIVER                   SEC        P                 -              -           -           -     13,955         13,955         147,363         161,318
                CMWP - FACADE AND ROOF CHRISTOPHER ST
   CR02-505     SUBSTATION 1                                       SGR        1                 257          25             -          -            -          282                  -          282
                CMWP - REPLACEMENT OF ROOF FOR SUBSTATION 5
   CR02-508     (BACKUS)                                           SGR        4                 721          61             -          -            -          782                  -          782

   CR02-509     REPLACEMENT OF ROOF FOR SUBSTATION 15 (CAISSON)    SGR         3                447          68           39           -            -          554                  -          554
   CR02-513     CMWP - REPLACEMENT OF ROOF - SUBSTATION 2A         SGR         3                107          76           17           -            -          199                  -          199
                CMWP - REPLACEMENT OF THE ROOF AT EXCHANGE
   CR02-514     PLACE SUB #4                                       SGR        3                 370          79           35           -            -          485                  -          485
                                                                                                                                                                                                     Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 47 of 80




                REPLACEMENT OF MITER RAILS HACKENSACK RIVER
   CR02-516     BRIDGE                                              SGR       4             7,110        1,255              -          -            -        8,365                  -        8,365




PATH                                                                                      CͲ1
                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                     2014-2023 CAPITAL PLAN
                                                                  BY DEPARTMENT AND FACILITY
                                                                                        (in thousands)

                                                                                                                                                             2014-2018       2019-2023       2014-2023
   Project ID                                                        Category   Stage       2014         2015         2016         2017         2018          Forecast        Forecast        Forecast
                CONSOLIDATED MTC SHOP - EXHAUST AND VENTILATION
   CR02-517     SYSTEM MODIFICATIONS                                  SGR        3               241          363          136            158            -          898                  -          898
   CR02-518     REPLACEMENT OF SWITCHING STATION NO. 6                SGR        4             1,272        2,556        1,546            324            -        5,698                  -        5,698
   CR02-522     REPLACEMENT OF ADA ELEVATOR - HOBOKEN                 SGR        1               503        1,306          657            435            -        2,901                  -        2,901
                REPLACEMENT OF IN-GROUND LIFTS HARRISON CAR MTC
   CR02-527     FACILITY                                              SGR        1                 931      4,383        4,049        1,652              -       11,016               -          11,016
   CR02-529     REPLACEMENT OF TRACKSIDE CIRCUIT BREAKERS             SGR        1                 595        595          595          595            595        2,975           2,626           5,601
                REHABILITATION OF VENTILATION SUBSTATIONS -
   CR02-541     MORTON                                                 SGR        P                  -            -            -          416          935        1,351           9,404          10,755
                SUBSTATION REHABILITATION - HARRISON CAR MTC
   CR02-548     FACILITY                                              SGR        P                   -            -          382          896      4,827          6,105          35,575          41,680
   CR02-552     CMWP - TUNNEL MAIN JUNCTION BOX REHABILITATION        SGR        4                 117            -            -            -          -            117               -             117
                REPLACEMENT OF ELEVATORS - HARRISON CAR MTC
   CR02-556     FACILITY                                               SGR        P                  -            -            -            -            -               -        3,408           3,408
                REPLACEMENT OF 650V DC 2,000KCMIL CABLES IN ALL
   CR02-557     TUNNELS EXCEPT E AND F                                SGR        4                 77           340          340          340          340        1,437           1,588           3,024
                INSTALLATION OF SUB DRAINS AND RAISE TRACK AT
   CR02-560     GRAPE CROSSOVER AREA                                  SEP        P                 366      1,028            626          369            -        2,389                  -        2,389
   CR02-569     SUBSTATION #8 - PROPERTY ACQUISITION                  SGR        2                 879        474            239            -            -        1,593                  -        1,593
                REPLACEMENT OF SWITCHING STATION #10 - NEWARK,
   CR02-572     NJ                                                     SGR       4             1,199            101            -            -            -        1,300                  -        1,300

   CR02-573     800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC        3                 957          540           53          165            -        1,715                  -        1,715
   CR02-574     30TH ST MEZZANINE REHABILITATION                      SGR        P                 756          732          220          830            -        2,539                  -        2,539
                 REPLACEMENT OF ROOF - MACMILLAN BLOEDEL (MMB)
   CR02-576     BUILDING                                               SGR        P                340      4,213        3,458        1,414              -        9,426                  -        9,426
                CMWP - TRACKSIDE CIRCUIT BREAKERS CONTROL
   CR02-579     CABLES REPLACEMENT                                    SGR        4                   -          425          425          425          404        1,679             296           1,975
                HACKENSACK RIVER BRIDGE EMERGENCY GENERATOR
   CR02-582     FUEL TANK                                             SGR        1             1,253        1,297          450            -            -          3,000               -           3,000
   CR02-583     TUNNELS - LATENT DAMAGE                               SGR        1             5,375        5,857        6,454        7,026        7,789         32,500          16,527          49,027
   CR02-584     EQUIPMENT PURCHASE RESILIENCY                         SGR        1             2,084        5,030        3,528        7,900            -         18,542           5,000          23,542
   CR02-585     EQUIPMENT PURCHASE RECOVERY WORK                      SGR        1             2,548        3,431       10,312       14,987        8,149         39,427          15,000          54,427
   CR02-TBD1    SUBS 7, 8, 9 AND 14 MID-TERM REPAIRS                  SGR        1               425          425          340          340          270          1,800               -           1,800
   CR02-TBD2    HOBOKEN STATION STAIRS FLOOD DOORS                    SGR        1               425        1,275        2,125          425          750          5,000               -           5,000
   CR02-TBD3    HOBOKEN UNDER PLATFORM FANS                           SGR        1               425        2,550        2,975        1,050            -          7,000               -           7,000
                CAPACITY ENHANCEMENTS AND STATION
   CR02-407     MODIFICATIONS OF GROVE ST STATION                      SEP        1            2,929        6,862        2,441        2,159        4,250         18,641         195,500         214,141
                                GROVE STREET STATION                                           2,929        6,862        2,441        2,159        4,250         18,641         195,500         214,141
   CR02-458     REPLACEMENT & UPGRADE OF HARRISON STATION              SEP       4            21,254       27,562       39,627       64,087       29,564        182,094          15,000         197,094
                HARRISON STATION - PROPERTY ACQUISITION,
   CR02-496     REMEDIATION & DEMOLITION                               SEP       4             6,831        1,025            -        2,000            -          9,856               -           9,856
                                   HARRISON STATION                                           28,085       28,587       39,627       66,087       29,564        191,950          15,000         206,950
                                                                                                                                                                                                           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 48 of 80




                PATH EXTENSION TO NEWARK LIBERTY INTERNATIONAL
   CR02-290     AIRPORT                                                SEP       P             7,000       10,000       10,000      274,000      274,000         575,000         625,000       1,200,000
                                     PATH TO EWR                                               7,000       10,000       10,000      274,000      274,000         575,000         625,000       1,200,000
                                                     PATH Subtotal     61                    141,676      155,335      199,508      543,108      463,925       1,503,552       1,498,002       3,001,554



PATH                                                                                         CͲ2
                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                     2014-2023 CAPITAL PLAN
                                                                  BY DEPARTMENT AND FACILITY
                                                                                        (in thousands)

                                                                                                                                                             2014-2018     2019-2023       2014-2023
   Project ID                                                        Category   Stage       2014         2015         2016         2017         2018          Forecast      Forecast        Forecast
                CR08-PATH SAFETY
                TUNNEL EMERGENCY VENTILATION FAN BLADE
   CR08-022     RENOVATION                                            SGR        4                 655          176          52             -            -          883                -          883
   CR08-066     EXCHANGE PLACE LANDSIDE SECURITY                      SEC        4                 437           37           -             -            -          474                -          474
                JOURNAL SQUARE TRANSPORATION CENTER PHYSICAL
   CR08-068     PROTECTION                                             SEC       3             1,956          212          100            -            -          2,268             -           2,268
   CR08-078     CONSTRUCTION OF FLOODGATE AT TUNNEL A,B,E,& F          SEC       3            11,267       10,998        9,111        8,686        8,258         48,320        40,292          88,612
   CR08-079     TUNNEL MITIGATION                                      SEC       P            12,700        1,000        6,468       14,680       15,120         49,968        72,337         122,305
   CR08-081     EXCHANGE PLACE WATERSIDE PROTECTION                    SEC       3             1,018          110            -            -            -          1,128             -           1,128
                CCTV & ACCESS CONTROL UPGRADES AT 33RD,HOB,PAV,
   CR08-091     & NWK STATION                                          SEC       4             4,588            136            -            -            -        4,724                -        4,724
                INSTALLATION NEW LENEL ACCESS CONTROL &CCTV AT
   CR08-096     SUBSTATIONS AND ROOMS                                  SEC       1             1,156        3,515        1,246              -            -        5,917                -        5,917
                UPGRADE OF UNIFIED COMMUNICATIONS NETWORK -
   CR08-100     SONET                                                 SGR        4                 628          300          230          194            -        1,352                -        1,352
                CCTV AND ACCESS CONTROL AT 9TH, 14TH, 23RD
   CR08-101     STATION                                                SEC       3             3,234        3,090              -            -            -        6,324                -        6,324
                INSTALLATION OF TRAIN UNDERCARRIAGE SCREENING
   CR08-103     DEVICES                                                SEC       P               332        2,757        3,591            -            -          6,680             -           6,680
                                              PATH SAFETY Subtotal      11                    37,971       22,331       20,797       23,560       23,378        128,037       112,629         240,666
                CR21-JOURNAL SQUARE
   CR21-032     BUS TERMINAL ESCALATOR REPLACEMENT                    SGR        4             1,299            110            -            -            -        1,409                -        1,409
                REPLACEMENT OF DOMESTIC WATER PUMPS AND PIPING
   CR21-075     SYSTEMS                                               SGR        3                   -            -            -            -          872          872         4,364           5,235
                BUS TERMINAL LANES - WEARING COURSE AND
   CR21-080     WATERPROOF MEMBRANE REPLACEMENT                       SGR        2                 -            -            -            -            -               -        12,729          12,729
                                          JOURNAL SQUARE Subtotal      3                       1,299          110            -            -          872           2,280        17,092          19,373
                CMWP PROVISION                                                                 5,000        5,000        5,000        5,000        5,000          25,000        50,000          75,000
                PATH TOTAL                                             75                    185,946      182,776      225,306      571,668      493,174       1,658,869     1,677,724       3,336,593
                                                                                                                                                                                                         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 49 of 80




PATH                                                                                         CͲ3

       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 50 of 80





PortCommerce


PortCommerce’scapitalprogramfor2014Ͳ2023is$1.5billion,with$782million(49%)programmedtobespent
in2014Ͳ2018.

WhilePortCommercewill                                       PortCommerceͲ HistoricalandForecastedDepartmental
continueworkonimportant                                                            Spending
programssuchasharbor                                     2013 2014 2015 2016 2017 2018 2019 2020 2021 2022 2023
dredgingandtheGlobal                             350,000
TerminalDevelopment                                300,000
project,therewillalsobe
                                                     250,000
increasinglevelsofStateof                                                                                                           $1.5billion
                                      ($in000's)




GoodRepairWorkinthe10                          200,000
yearplanfocusedon                                150,000
preservingandimprovingthe
                                                     100,000
conditionofthePAwharfs,
                                                      50,000
piersandotherPort
Infrastructure.                                          Ͳ
                                                              2002 2003 2004 2005 2006 2007 2008 2009 2010 2011 2012

                                                                         HistoricalSpending
                                                                        TotalForecastedSpending(ExcludingMajors)
                                                                         TotalForecastedSpending
FiveYearSpending

Inthe2014Ͳ2018periodthePortCommerceprogramincludes59capitalprojects,withabudgetof$782
million.ThisincludesoneMajorProject,theGreenvilleYards.



                                                                              
    PortCommerceCapitalBudget($782million)
                   2014Ͳ2018                                                      PortCommerce
                                                                                  CapitalProjects2014Ͳ2018($in000’s)
                                                                                  CapitalBudget(2014Ͳ2018)                      782,062
                                                                                  CapitalBudgetas%ofPlan                        5.0%
                        Core Greenville
                                                                                  NumberofProjects                                   59
                       Projects Yards
                                                                                                                                         
                         63%     37%
                                                                                  NumberofMajorProjects                              1
                                                                                  MajorProjectBudget(2014Ͳ2018)               286,351
                                                                                  MajorProjectBudgetas%of
                                                                                                                                    36.6%
                                                                                  DepartmentalBudget
                                                                                                                                         
                                                                                  CoreProjectBudget(2014Ͳ2018)                495,711
                                                                              

                                                                                                                             33|P a g e 


            Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 51 of 80





PortCommerce5–YearCapitalSpending($in000’s)


                                                            2014                  2015                      2016                      2017                2018               2014Ͳ2018
   Mandatory                                             2,654                   141                         0                         0                   0                   2,794
   Security                                                775                 5,128                     9,826                         0                   0                  15,728
   SGR                                                  16,378                25,909                    14,676                     5,987              17,085                  80,034
   Stage4ͲConstruction                              133,619                61,162                    21,294                     6,211              25,478                 247,764
   SEP/RPP                                              13,289                22,772                    25,307                    29,634              58,388                 149,391
CoreProjectsSubtotal                                  166,714               115,111                    71,104                    41,832             100,951                 495,711

     GreenvilleYards                                    50,996                80,354                   73,200                    51,800               30,000                  286,351

TotalCapitalBudget                                    217,710               195,465                  144,304                     93,632             130,951                   782,062


MajorProjects

TheGreenvilleYardsprojectiscurrentlyforecastedtobecompletedin2019.Thetotalprojectcostisestimated
at$334million,with$286millionofcapitalinvestmentslatedtooccurin2014Ͳ2018.GreenvilleYardsaccounts
for35%ofPortCommerce’scapitalbudgetin2014Ͳ2018,and17%oftheDepartment’stotalcapitalbudget
from2014Ͳ2023.


                                       PortCommerceͲMajorProjects                         2014Ͳ2018               2019Ͳ2023                2014Ͳ2023
                                       ($in000’s)
                                      GreenvilleYards                                          286,351                     26,350               312,701




                                                  PortCommerceͲ MajorProjectCapitalBudget(2014Ͳ2023)

                  90,000
                  80,000
                  70,000
                  60,000
                  50,000
                                                                                                                                                                             GreenvilleYards
                  40,000
                  30,000
                  20,000
                  10,000
                           0
                                        2014                  2015                  2016                  2017                  2018                  2019






                                                                                                                                                                                   34|P a g e 


             Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 52 of 80





CoreDepartmentProjects(ExcludesMajors)

Thereare51coreprojectsinthePortCommercedepartment,whichsumtoatotalcapitalinvestmentof$1.5
billionoverthe2014Ͳ2023period.ThePortStreetCapacityandCorbinStreetRampImprovementsisthelargest
coreprojectcurrentlyundertakenbythedepartment($105million),scheduledforcompletionin2019.
Additionally,theNorthAvenueCorridorImprovementsandGlobalTerminalDevelopmenthavesignificantlevel
ofspending;however,themajorityofremainingprojectsinthecoreprogramarelimitedtosmallercapital
projects.

     Rank    Top10($in000’s)               Stage    2014Ͳ2018          2019Ͳ2023    2014Ͳ2023    TPC
              PortStreetCapacityandCorbinStreetRamps
      1                                                                 3             82,830          21,907     104,738   105,000
              Improvement
      2      NorthAveCorridorImprovements(NACI)                    1              8,500          71,000      79,500   224,000
      3      GlobalTerminalDevelopment                               4             72,461               0      72,461   157,935

      4      AcquisitionofStrategicProperties                       4                    0        54,072      54,072    93,004
              RoadwayAccessImprovements–Howland
      5                                                                 P             33,544          19,510      53,053    54,440
              HookMarineTerminal
      6      PortJerseySGRDevelopment                               P                  177        44,244      44,421   107,190
              SprinklerSystemReplacement(Multiple
      7                                                                 P              1,995          41,003      42,998    42,998
              Buildings)
      8      ConsolidatedProjectto50FT–NJtoPJ                  4              7,052          26,914      33,966   266,548
              ConsolidatedProjectto50FTNJtoPJ,
      9                                                                 4              7,116          24,010      31,126   277,928
              Amberose
      10     Berth3WharfReconstruction                             4             28,321               0      28,321    39,000


CompositionofCoreProjects

BecauseoftherelativelyfewcoreprojectsinPortCommerce’scapitalportfolio,theshareofcoredepartment
spendingateachfacilityissignificantlyimpactedbythelargestcapitalprojectsasoutlinedabove.



CoreDepartmentCapital                                                                                           2014Ͳ2023
SpendingbyFacility                              Numberof                                                      CoreDept
($in000’s)                                      Projects    2014Ͳ2018     2019Ͳ2023          2014Ͳ2023      Spending
PortNewark                                           19        248,983      120,510               369,494       29%
ElizabethMarineTerminal                             5          26,977       97,914               124,891       10%
BrooklynMarineTerminal                              4          10,672        7,590                18,262        1%
HowlandHook                                          7          66,057       40,754               106,811        8%
PortJerseyAutomarineTerminal                       10        111,694      126,601               238,294       19%
NY/NJRailLLC                                        1           4,301            0                 4,301        0%
RedHookTerminal                                     5           2,026       34,153                36,179        3%
Provisions                                                        25,000      343,159               368,159       29%
Total                                                    51    495,711      770,680             1,266,391





                                                                                                                         35|P a g e 


            Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 53 of 80





StateofGoodRepairProjects

    CoreDepartmentCapital                                                                                                        2014Ͳ2023
    SpendingbyProjectType                           Numberof                                                                  CoreDept
    ($in000’s)                                        Projects              2014Ͳ2018         2019Ͳ2023       2014Ͳ2023       Spending
    StateofGoodRepair        4                            25               166,587            522,214           688,801      54.4%
    Mandatory                                                7                 50,714             64,830           115,544      9.1%
    Security                                                 5                 15,728              4,546            20,274      1.6%
    SEP/RPP                                                  14               262,682            179,090           441,772      34.9%
    TotalCoreProjects                                       51               495,711            770,680         1,266,391                 


Inthecorebudgetforthenextfiveyears,approximately50%ofcapitalinvestmentisallocatedtoSystem
EnhancingandRevenueProducingProjects($262million).InvestmentinSGRprojectsaccountsfor$166million
(33%)ofthefiveͲyearcorebudget.

Overthe2014Ͳ2023period,theinvestmentinSGRprojectsissignificantlygreater;approximatelyhalfofPort
Commerce’scoreprojectsareSGRprojects,whichaccountsfor54%ofcoredepartmentspendingoverall.

TheinvestmentinSGRprojectsinPortCommerceoverthenexttenyearstotal$688million;however,75%
($522million)ofSGRfundingoccursinthesecondfiveyears.

                                                                                             PortCommerceͲ StateofGoodRepairProjectFundingby
                                                                                                                      Stage
    PortCommerce                                                                   900,000
    SGRProjects($in000’s)
                                                                                     800,000
    TotalSGRBudget(2014Ͳ2023)                                    688,801
    SGRBudgetasShareofDept.Budget                               43.6         700,000
                                                                                                                                                      2014Ͳ2018
                                                                                    600,000
                                                                           
    SGRBudget(2014Ͳ2018)                                          166,587        500,000                                                          2019Ͳ2023
    SGRBudget(2019Ͳ2023)                                          522,214        400,000
                                                                           
                                                                                     300,000
    NumberofSGRProjects                                               25
    NumberofSGRProjectsinStage4                                    7        200,000
    ShareofSGRProjectsinStage4                                28.0%        100,000
    Stage4ProjectBudget                                           86,552
                                                                                              0
                                                                                                  Planningand   FinalDesign   Construction
                                                                                                  Prelim.Design









4
    StateofGoodRepairtotalreflects$293millionofallocatedfundsforfutureSGRrequirements
                                                                                                                                          36|P a g e 

                                                                    PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                              2014-2023 CAPITAL PLAN
                                                                           BY DEPARTMENT AND FACILITY
                                                                                           (in thousands)

                                                                                                                                                     2014-2018     2019-2023     2014-2023
      Project ID                                                        Category   Stage   2014       2015       2016       2017         2018         Forecast      Forecast      Forecast
      PORT COMMERCE
                 CP05-PORT NEWARK
      CP05-120   CONSOLIDATE PROJECT TO 50 FT-NJ, PJ, AMBEROSE           MAND       4            65      2,551          -            -      4,500          7,116        24,010        31,126
      CP05-124   PORT SECURITY PROGRAM-NJMT-BADGE, ID SYS                 SEC       3           251      4,074      7,650            -          -         11,975             -        11,975
      CP05-148   EXPRESS RAIL/CORBIN INTERMODAL RAIL SUPPORT -            RPP       4        10,671      6,684          -            -          -         17,355             -        17,355
                 TRACK WORK - PHASE 2A
      CP05-156   PORT STREET & BREWSTER ROAD CONNECTOR                   SEP        4         5,034          -          -          -            -          5,034             -        5,034
      CP05-173   BERTH 14 WHARF RECONSTRUCTION                           SGR        4        13,355     10,251      4,187          -            -         27,793             -       27,793
      CP05-187   PORT STREET CAPACITY AND CORBIN STREET RAMPS            SEP        3         1,121      8,359     17,770     20,634       34,945         82,830        21,907      104,738
                 IMPROVEMENT
      CP05-193   UPGRADE WATER LINES AT NJMT                             SGR        M         3,873      3,281      4,234      3,710        3,645         18,744         1,675        20,419
      CP05-206   DEMOLITION OF BUILDINGS 135, 150 AND 270                RPP        M             -          -          -          -          800            800         6,786         7,586
      CP05-220   BERTHS 30, 32 AND 34 FENDER SYSTEM UPGRADE              SEP        3         3,886      6,727      2,000          -            -         12,613             -        12,613
      CP05-246   BERTH 19 REHABILITATION                                 SGR        1         1,000      5,000      1,000          -            -          7,000             -         7,000
      CP05-224   PRIORITY MARINE REPAIRS AT BERTHS 16 TO 24              SGR        4           787          -          -          -            -            787             -           787
      CP05-233   BERTH 3 WHARF RECONSTRUCTION                            SGR        4         9,409      8,540     10,372          -            -         28,321             -        28,321
      CP05-238    SANITARY LIFT STATIONS AT NJMT                         SGR        3         2,937      3,800        500          -            -          7,237             -         7,237
      CP05-239   WATER SYSTEM AT NJMT- PHASE 2                           SGR        P             -          -          -          -          999            999        18,578        19,576
      CP05-242   SPRINKLER SYSTEM REPLACEMENT(MULTIPLE                   SGR        P             -          -          -          -        1,995          1,995        41,003        42,998
                 BUILDINGS)
      CP05-249    TRAFFIC SIGNALS AT NJMT                                 SGR       3         3,385      3,468      2,948            -          -          9,800             -         9,800
      CP05-251    UPGRADE OF ELECTRICAL SYSTEMS IN BLDG 260               SGR       1           907      3,342        491          987      2,006          7,733         3,528        11,261
      CP05-254   FACILITY DATA ROOM REHABILITATION                        SEC       P             -          -          -            -          -              -         3,022         3,022
      CP05-255   800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE            SEC       3           469        380          -            -          -            850             -           850

                                                 PORT NEWARK Subtotal     19                 57,151     66,457     51,154     25,332       48,890        248,983       120,510      369,494
                 CP08-MARINE TERMINAL AT ELIZABETH
      CP08-096   MCLESTER STREET ROADWAY WIDENING                         SEP       4         5,061          -          -          -            -          5,061             -         5,061
      CP08-111   UTILITIES RELOCATION KVK/NB 50' CHANNEL                 MAND       4           888        851      1,000      1,000        2,392          6,131             -         6,131
      CP08-112   CONSOLIDATED PROJECT TO 50 FEET-NJ-PJ                   MAND       4             -      2,551          -          -        4,500          7,052        26,914        33,966
      CP08-127   NORTH AVE CORRIDOR IMPROVEMENTS (NACI)                   SEP       1           500      1,000      1,500      2,000        3,500          8,500        71,000        79,500
      CP08-142   CMWP - RE-ROOFING OF MODULAR WAREHOUSE BLDG                        4           234          -          -          -            -            234             -           234
                 1170                                                     SGR
                               MARINE TERMINAL AT ELIZABETH Subtotal       5                  6,683      4,402      2,500      3,000       10,392         26,977        97,914      124,891
                 CP09-BROOKLYN PIERS
      CP09-085   PORT SECURITY PROGRAM NYMT-BADGE, ID SYS                SEC        3            55        674      2,175            -           -         2,903             -         2,903
      CP09-108   PIERS CRUISE TERMINAL SHORE POWER                       SEP        4         6,272      1,415          -            -           -         7,687             -         7,687
      CP09-117   CLINTON WHARF DEMOLITION / STABILIZATION                SGR        P             -          -          -            -           -             -         3,357         3,357
      CP09-118   REPLACEMENT OF SPRINKLER SYSTEM PIER SHED 11            SGR        P             -          -          -            -          82            82         4,233         4,315
                                             BROOKLYN PIERS Subtotal      4                   6,326      2,089      2,175            -          82        10,672         7,590        18,262
                 CP11-HOWLAND HOOK
      CP11-020   ARTHUR KILL CHANNEL DEEPENING 40/41'+2'                 MAND       4         6,661      6,379          -          -            -         13,040             -        13,040
      CP11-039   CONSOLIDATED PROJECT TO 50 FEET-NY-AMBROSE              MAND       4             -      1,701          -          -        1,000          2,701        13,906        16,607
      CP11-044   UTILITIES RELOCATION ARTHUR KILL 50' CHANNEL            MAND       4           888        851      1,500      1,500        7,140         11,879             -        11,879
      CP11-055   PORT IVORY INTERMODAL TERMINAL (TRACKS 6-7) -            RPP       4         3,393          -          -          -            -          3,393             -         3,393
                 PHASE 1B
                                                                                                                                                                                               Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 54 of 80




      CP11-056   ROADWAY ACCESS IMPROVEMENTS                              SEP       P         1,500      2,101      3,000      7,000       19,943         33,544        19,510        53,053
      CP11-073   DEMOLITION OF 60 & 80 SERIES BUILDINGS                   RPP       M             -          -          -          -        1,500          1,500         5,815         7,315




PortCommerce                                                                              DͲ1
                                                                 PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                           2014-2023 CAPITAL PLAN
                                                                        BY DEPARTMENT AND FACILITY
                                                                                          (in thousands)

                                                                                                                                                           2014-2018     2019-2023     2014-2023
        Project ID                                                     Category   Stage       2014         2015         2016       2017       2018          Forecast      Forecast      Forecast
        CP11-083     FACILITY DATA ROOM REHABILITATION                   SEC        P                -            -            -          -          -               -         1,523         1,523
                                                 HOWLAND HOOK Subtotal     7                    12,443       11,031        4,500      8,500     29,584          66,057        40,754       106,811
                     CP16-AUTOMARINE TERMINAL
        CP16-067     PORT JERSEY SHORELINE PROTECTION                    SGR       4             7,425            -            -          -            -         7,425             -         7,425
        CP16-027     GLOBAL TERMINAL DEVELOPMENT                         RPP       4            58,003       14,458            -          -            -        72,461             -        72,461
        CP16-033     ACQUISITION OF STRATEGIC PROPERTIES                 RPP       4                 -            -            -          -            -             -        54,072        54,072
        CP16-038     ACCESS IMPROVEMENTS PORT JERSEY                     RPP       3             6,282        4,585        1,037          -            -        11,904             -        11,904
        CP16-044     SGR DEVELOPMENT                                     SGR       P                 -            -            -          -          177           177        44,244        44,421
        CP16-047     RECONSTRUCTION OF BERTH E-1 AND E-2                 SGR       3                 -            -            -          -            -             -        16,884        16,884
                     DEMOLITION AND STABILIZATION OF BERTH N2
        CP16-048     PLATFORM                                            SGR       P                   -            -          -          -      4,800           4,800        11,401        16,200
                     INSTALLATION OF BACKFLOW PREVENTION DEVICES AT
        CP16-053     PORT JERSEY SOUTH                                  MAND        3            2,654            141          -          -            -         2,794             -         2,794
                     REPLACE HEATING SYSTEM IN BUILDING 180 IN PORT
        CP16-059     JERSEY SOUTH                                        SGR       4             1,600        1,649            -          -            -         3,249             -         3,249
                     UPGRADE OF PROTECTIVE DEVICES & DISTRIBUTION
        CP16-066     EQUIPMENT - EAST SUBSTATION                         SGR        3            2,633        3,514        2,737          -          -          8,884             -         8,884
                                          AUTOMARINE TERMINAL Subtotal    10                    78,596       24,347        3,774          -      4,977        111,694       126,601       238,294
                     CP17-NY/NJ RAIL LLC

        CP17-034     REHABILITATION OF MOORING CELLS AT NY/NJ RAILROAD     SGR      P                516      1,785        2,000          -            -         4,301             -         4,301
                     EXPRESS RAIL - INTERMODAL CONTAINER TRANSFER
        CP16-035     FACILITY AT GREENVILLE YARD                           RPP     M            16,400       30,800       37,000     28,300     10,500        123,000         13,000      136,000
        CP17-005     INTERMODAL INFRASTRUCTURE AT GREENVILLE YARD          RPP     P             4,500        7,500        2,000          -      3,000         17,000              -       17,000
        CP17-016     INSTALLATION OF SUPPORT TRACKS                        RPP     3             6,000       13,000       19,300     13,500     10,500         62,300          8,900       71,200
                     RECONFIGURE OFFSITE TRACKS - A-YARD AND
        CP17-018     TROPICANA                                             RPP     3             2,250        3,500        7,250     10,000      6,000          29,000         4,450        33,450
        CP17-019     CONSTRUCTION OF NEW BARGE                             RPP     3             5,000        4,200        1,850          -          -          11,050             -        11,050
        CP17-027     RECONSTRUCTION OF TRANSFER BRIDGE#10                  RPP     3            10,000       15,000        5,800          -          -          30,800             -        30,800
                     PURCHASE OF 3 NEW ULTRA-LOW EMISSIONS
        CP17-029     LOCOMOTIVES                                           SEP     P             3,200        4,000            -          -            -         7,200             -         7,200
                     FENDER SYSTEM MODIFICATIONS AT 65TH STREET
        CP17-033     TERMINAL (CROSS HARBOR)                               SEP     3             3,646        2,354            -          -          -           6,000             -        6,000
                                  GREENVILLE-CROSS HARBOR                                       50,996       80,354       73,200     51,800     30,000         286,351        26,350      312,701
                                                 NY/NJ RAIL LLC Subtotal    9                   51,512       82,139       75,200     51,800     30,000         290,652        26,350      317,002
                     CP91-RED HOOK TERMINAL

        CP91-056     REPLACEMENT OF SPRINKLER SYSTEM AT PIER SHED 9B       SGR     P                   -            -          -          -          415          415          4,396         4,812
        CP91-058     PAVEMENT AND UTILITY REHABILITATION OF PIER 9A        SGR     P                   -            -          -          -          465          465          7,192         7,657
        CP91-059     PAVEMENT AND UTILITY REHABILITATION OF PIER 9B        SGR     P                   -            -          -          -          584          584          7,963         8,547
                     PAVEMENT AND UTILITY REHABILITATION OF PIER 10 -
        CP91-060     PHASE 1                                               SGR     P                   -            -          -          -          562          562          5,843         6,405
                     PAVEMENT AND UTILITY REHABILITATION OF PIER 10 -
        CP91-061     PHASE 2                                               SGR     P                 -            -            -          -          -               -         8,758         8,758
                                             RED HOOK TERMINAL Subtotal     5                        -            -            -          -      2,026           2,026        34,153        36,179
                     CMWP PROVISION                                                              5,000        5,000        5,000      5,000      5,000          25,000        50,000        75,000
                     Future SGR Requirements                                                         -            -            -          -          -               -       293,159       293,159
                                                                                                                                                                                                     Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 55 of 80




                     PORT COMMERCE TOTAL                                   59                  217,710      195,465      144,304     93,632    130,951         782,062       797,030     1,579,092




PortCommerce                                                                                  DͲ2

        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 56 of 80





WorldTradeCenterRedevelopment


ThePortAuthoritywillcontinuetoinvestheavilyinthe                 QuickStats–WorldTradeCenter
                                                                           2014Ͳ2018($in000’s)
completionoftheWorldTradeCenterRedevelopment
                                                                           CapitalBudget(2014Ͳ2018)                          4,900,211
projectoverthenextseveralyears.Inthenextfiveyears,
                                                                           CapitalBudgetas%ofPlan                             30.9%
WTCcapitalprojectswillaccountfor$4.9billion,whichis              NumberofProjects                                         27
30%oftheagency’scapitalplan.

                                              
                                                                                     WTCSpendingbyFacility
                                                                                          2014Ͳ2018
                                                                                         WTCVehicular
                                                                                          SecurityCenter
                                                                                                9%
                                              
                                                                                                        OneWTC
                                                                                                         10%
                                                                                                                                WTC
                                                                                                                           Transportation
                                                                                                                               Hub
                                                                                                                                19%
                                                                                        WTC
                                                                                   Redevelopment
                                                                                         35%
                                                                                                        WTCSite
                                                                                                        Common
                                                                                                      Infrastructure
                                                                                                           27%
                                              

                                              



WTCRetailDevelopmentandWTCSiteCommonInfrastructureaccountforthelargestshareofcapital
investment,with$1.7billionand$1.3billioninspending,respectively.OneWTCisforecastedtobecompletein
2014,witharemainingcapitalbudgetof$506million.Thisaccountsforapproximately10%ofWTCspendingin
2014Ͳ2018.Inthe2019Ͳ2023period,minimalWTCcapitalspendingisforecasted($12million).

DepartmentalSpendingbyFacility                       Numberof                                                        2014Ͳ2023Dept
($in000’s)                                              Projects       2014Ͳ2018       2019Ͳ2023       2014Ͳ2023        Spending
OneWTC                                                      1               506,297              0         506,297             10.3%
WTCTransportationHub                                       1               938,736              0         938,736             19.1%
WTCSiteCommonInfrastructureandMemorial*              16             1,326,083              0       1,326,083             27.0%
WTCRetailDevelopment5                                      6             1,715,651         11,945       1,727,596             35.2%
WTCVehicularSecurityCenter                               3               413,444              0         413,444              8.4%
Total                                                      27             4,900,211         11,945       4,912,156                  




5
 BeforecapitalcontributionsfromNationalSeptember11MuseumandMemorialandWestfieldfortheretailjointventure.


                                                                                                                           37|P a g e 

 
         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 57 of 80
 




 


 DepartmentalSpendingby                                                                                      2014Ͳ2023Total
 Facility                                                                                                           Remaining
 ($in000’s)                         2014         2015       2016      2017       2018           2019         Spending
 OneWTC                            506,297            0          0        0          0              0          506,297
 WTCTransportationHub             552,129      272,208    114,399        0          0              0          938,736
 WTCSiteCommon
                                     419,745      503,867    287,054    86,115     29,302             0         1,326,083
 InfrastructureandMemorial
 WTCRetailDevelopment             713,817       609,450   281,588    83,389     27,406      11,945           1,727,596
 WTCVehicularSecurityCenter     206,210       136,548    29,632    26,779     14,275           0             413,444
 Total                           2,398,198     1,522,073   712,673   196,283     70,983      11,945           4,912,156
 
 


                                                  WTCCapitalSpendingbyFacility
                                                           2014Ͳ2023*
3,000,000


2,500,000                                                                                                       WTCVehicular
                                                                                                                SecurityCenter

2,000,000
                                                                                                                WTCRedevelopment


1,500,000
                                                                                                                WTCSiteCommon
                                                                                                                Infrastructure
1,000,000
                                                                                                                WTCTransportation
                                                                                                                Hub
 500,000
                                                                                                                OneWTC

         0
                  2014             2015             2016          2017          2018             2019

             *Noforecasted spendingpostͲ2019


     
 

 

 

 




                                                                                                                    38|P a g e 
 
                                                                     PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                               2014-2023 CAPITAL PLAN
                                                                            BY DEPARTMENT AND FACILITY
                                                                                               (in thousands)

                                                                                                                                                                      2014-2018     2019-2023       2014-2023
   Project ID                                                                       Category   Stage         2014        2015        2016       2017       2018        Forecast      Forecast        Forecast
   WORLD TRADE CENTER
   CW31-555   1 WORLD TRADE CENTER CONSTRUCTION                                       RPP       M4             506,297           -          -          -          -       506,297               -       506,297
                                                                 ONE WTC Subtotal       1                      506,297           -          -          -          -       506,297               -       506,297
   CR12-001          WTC TRANSPORTATION HUB                                          MAND       M4             552,129     272,208    114,399          -          -       938,736               -       938,736
                                                     TRANSPORTATION HUB Subtotal        1                      552,129     272,208    114,399          -          -       938,736               -       938,736
   CW11-026          WTC SITE COMMON INFRASTRUCTURE                                   SEC       M3                 577         519        101          -          -         1,197               -         1,197
   CW11-024          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4              33,359      37,125     36,708     32,462     19,801       159,455               -       159,455
   CW11-001          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4               3,450       8,501          -          -          -        11,951               -        11,951
   CW11-005          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4              13,868       9,020      5,032          -          -        27,920               -        27,920
   CW11-006          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4              73,396      65,232     24,919     13,108          -       176,655               -       176,655
   CW11-007          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4           (174,775)           -          -          -          -     (174,775)               -     (174,775)
   CW11-010          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4             111,104     159,795    109,067          -          -       379,966               -       379,966
   CW11-015          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4              91,175     164,590          -          -          -       255,765               -       255,765
   CW11-016          WTC SITE COMMON INFRASTRUCTURE                                  MAND       M4                   -           -     52,000          -          -        52,000               -        52,000
   CW11-018          WTC SITE MONITORING AND COORDINATION                            MAND       M4                   -      40,490      5,867      5,147          -        51,504               -        51,504
   CW11-019          WTC SITE SECURITY OPERATIONS                                    MAND       M4              34,229      43,627     27,353     24,899          -       130,108               -       130,108
   CW11-020          WTC MEMORIAL AND MUSEUM PROJECT                                 MAND       M4                   -     130,902          -          -          -       130,902               -       130,902
   CW32-002          TOWER 2 STRUCTURE TO GRADE                                      MAND       M4               5,000           -          -          -          -         5,000               -         5,000
   CW34-002          DESIGN, CONSTRUCT AND BUILD OUT PA CORP. OFFICES (4 WTC)        MAND       3               66,211      26,345          -          -          -        92,556               -        92,556
   CW11-023          CORTLANDT STREET STATION                                         SRP       M4              61,702      62,221     26,007     10,499      9,501       169,930               -       169,930
   CW11-008          WTC MEMORIAL AND PA FUNDED                                       SEP       M4             100,449   (244,500)          -          -          -     (144,051)               -     (144,051)
                                SITE COMMON INFRASTRUCTURE incl MEMORIAL Subtotal      16                      419,745     503,867    287,054     86,115     29,302     1,326,083               -     1,326,083
   CW11-027          CAMPUS SECURITY PLAN                                             SEC       3               28,817      35,567     33,393          -          -        97,778               -        97,778
   CW11-025          WTC SYSTEMS INTEGRATION                                          SEP       2               15,000      15,000      3,954          -          -        33,954               -        33,954
   CW11-017          WTC COMMERCIAL CAR PARKING                                      MAND       M4              30,000      38,598     18,401      5,274          -        92,273               -        92,273
   CW11-022          WTC PROPERTY MANAGEMENT FACILITY                                MAND       M4              80,000      15,363          -          -          -        95,363               -        95,363
   CW30-001          WTC RETAIL REDEVELOPMENT - PHASE 1                               RPP       M4             400,000     393,488    149,916     49,817     22,328     1,015,549               -     1,015,549
                     1 WORLD TRADE CENTER - MARKETING, LEASING AND BASE BUILDING
   CW31-001          IMPROVEMENTS                                                     RPP       M4             160,000     111,434     75,924     28,298      5,078       380,734       11,945          392,679
                                      WORLD TRADE CENTER REDEVELOPMENT Subtotal         6                      713,817     609,450    281,588     83,389     27,406     1,715,651       11,945        1,727,596
   CW11-003          VEHICULAR SECURITY CENTER & TOUR BUS PARKING (VSC1)              SEC       M4             138,527           -          -          -          -       138,527            -          138,527
   CW11-009          EAST BATHTUB VEHICULAR SECURITY CENTER (VSC2)                   MAND       M4              54,398      40,101          -          -          -        94,499            -           94,499
   CW11-021          WEST BATHTUB VEHICULAR ACCESS (VSC3)                            MAND       M4              13,285      96,447     29,632     26,779     14,275       180,418            -          180,418
                                                 VEHICLE SECURITY CENTER Subtotal       3                      206,210     136,548     29,632     26,779     14,275       413,444            -          413,444
                     WTC                                                               27                    2,398,198   1,522,073    712,673    196,283     70,983     4,900,211       11,945        4,912,156
                                                                                                                                                                                                                  Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 58 of 80




WorldTradeCenter                                                                                     EͲ1

        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 59 of 80





PlannedProvisionsandRegionalDevelopment


ǣǡ  ǡ

TheplannedprovisionsintheCapitalPlanareprovidedtoaddressfutureneedsoftheAgency,whichmayor
maynotbespecificallyknownatthispointintime.Intotal,provisionsforTSDandFutureSGRRequirements
accountforlessthanonepercentofcapitalinvestmentin2014Ͳ2018,and2.8%ofoverallcapitalinvestmentin
thenexttenyears(2014Ͳ2023).

    x   TSD–TechnologyServicesDepartment
             o TheallocationofcapitalinvestmentforTSDprovidesfortheinvestmentincapitalinfrastructure
                 systemsandservicestosupportsmoothongoingoperations,andtoincreaseinnovationand
                 efficiencythroughouttheagency
                 
    x   FutureStateofGoodRepairRequirements
             o Theagencyhasabroadportfolioofinfrastructure,muchofwhichisagingandinneedof
                 ongoingmaintenanceandrepair.Inordertoadequatelymaintainexistingassets,theLine
                 DepartmentsandEngineeringhaveidentifiedthehighestprioritySGRprojects,whichare
                 includedinthecapitalplan,butalsohaveanticipatedfutureneeds(bothknownandunknown)
                 inthesecondfiveyearsoftheplan.
             o Thesefutureneedsareaccountedforinthe“provisions”sectionoftheCapitalPlan,ifnotyet
                 definedasspecificdepartmentalprojects.

                                                                                            2014Ͳ2023Share
       CapitalSpending–PlanningProvisions                                            ofCapitalPlan
        ($in000’s)                               2014Ͳ2018   2019Ͳ2023   2014Ͳ2023        Spending

       TSD                                          10,000       10,000       20,000             0.073%
        FutureSGRRequirements                           0      759,939      759,939              2.76%

        TotalProvisions                            10,000      769,939      779,939               2.8%


    x   CMWP–CapitalMajorWorksProgram
          o TheCMWPProgramexiststoexpeditesmall(lessthan$2million)capitalprojectsthatcanbe
              deliveredintwoyearsorless.Thisallowstheagencytobecomemoreflexibleinrespondingto
              immediatecapitalneeds.
          o AllcostsassociatedwiththeCMWPprogramarereflectedineachlinedepartment’sbudget.








                                                                                                        39|P a g e 

   
           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 60 of 80
   




   
                                                                         QuickStats–RegionalDevelopment($in000’s)
   RegionalDevelopmentprojectsareregionalinitiatives
   undertakenbytheAgency,inconsultationwiththeGovernorsof      TotalBudget(2014Ͳ2023)                  942,571
   NewYorkandNewJersey,toaddressprojectsdeemedessential        BudgetasShareofCapitalPlan               3.4%
   tothecontinuedeconomicviabilityofthetwostatesandthe                                                          
   region.                                                             Budget2014Ͳ2018                          192,571
                                                                         Budget2019Ͳ2023                          750,000
   RegionalDevelopmentinitiativesaccountforarelativelysmall                                                        
                                                                         NumberofProjects                              10
   shareofthecapitalplan(3.4%),andtotal$943millionin
   investmentinthenexttenyears.

   

                                                                                                  Total         Total        Total
Project                                                                                        Spending      Spending     Spending
($in000’s)                              2014     2015     2016     2017        2018    2014Ͳ2018     2019Ͳ2023    2014Ͳ2023
RegionalTransportationandEconomic
                                           3,500    1,500        0        0           0         5,000           0          5,000
DevelopmentProjects(NY)
NJHudsonRaritanEstuaryPrograms        2,892    1,508    2,100    2,588       1,000       10,088       25,000         35,088
NYHudsonRaritanEstuaryPrograms        1,300    1,000    1,371    1,000       1,000        5,671       25,000         30,671
RegionalTransportationandEconomic
                                           3,375    2,000    3,924        0           0         9,299           0          9,299
DevelopmentProjects
RegionalDevelopmentFacility             2,579      842        0        0           0         3,421           0          3,421
EnvironmentalLandAcquisitionProgram    2,000    3,000        0        0           0         5,000           0          5,000
NJProjectDevelopmentFunds              1,946    2,146        0        0           0         4,092           0          4,092
NYRegionalTransportationPrograms          0        0        0        0           0             0     250,000        250,000
NYRegionalInfrastructureRenewal
                                          15,000   15,000   15,000   15,000     15,000        75,000      225,000        300,000
Program
NJRegionalInfrastructureRenewal
                                          15,000   15,000   15,000   15,000     15,000        75,000      225,000        300,000
Program
Total                                   47,592   41,996   37,395   33,588     32,000       192,571      750,000        942,571

   

   

   

   

   
   

   
   

       
                                                                                                               40|P a g e 
   

         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 61 of 80





    DocumentAcronyms
                   
                   
    CCTV                         ClosedCircuitTV
    CMWP                         CapitalMajorWorksProgram
    CPR                          CapitalProjectRevenue
    CTB                          CentralTerminalBuilding
    DBFM                         Design,Build,Finance,Maintain
    EWR                          Newark
    FAA                          FederalAviationAdministration
    FEMA                         FederalEmergencyManagementAgency
    FHWA                         FederalHighwayAdministration
    GOCOR                        GovernmentandCommunityRelations
    GWB                          GeorgeWashingtonBridge
    ICTF                         IntermodalContainerTerminalFacility
    ITS                          IntelligentTransportationSystems
    JFK                          JohnF.KennedyInternationalAirport
    LEED                         LeadershipinEnergy&EnvironmentalDesign
    LGA                          LaGuardiaAirport
    LT                           LincolnTunnel
    LTA                          LincolnTunnelAccess
    LTAP                         LincolnTunnelAccessProgram
    MOU                          MemorandumofUnderstanding
    NEC                          NortheastCorridor
    NFPA                         NationalFireProtectionAgency
    NJDEP                        NewJerseyDepartmentofEnvironmentalProtection
    NJDOT                        NewJerseyDepartmentofTransportation
    NJSHPO                       NewJerseyStateHistoricalPreservationOffice
    NJTA                         NewJerseyTransportationAuthority
    NYCDEP                       NewYorkCityDepartmentofEnvironmentalProtection
    NYCMTA                       NewYorkCityMetropolitanTransitAuthority
    NYSDEC                       NewYorkState
    NYSDOT                       NewYorkStateDepartmentofTransportation
    NYSHPO                       NewYorkStateHistoricalPreservationOffice
    OBX                          OuterbridgeCrossing
    PPP                          PublicPrivatePartnership
    PSE&G                        PublicServiceElectric&Gas
    RPP                          RevenueProducingProject
                          




                                                                                          41|P a g e 


         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 62 of 80





    DocumentAcronyms(continued)
    
    
    SEP                             SystemEnhancingProjectand/orRevenueProducing
    SGR                             StateofGoodRepair
    SHPO                            StateHistoricalPreservationOffice
    SIB                             StatenIslandBridges
    TSA                             TransportationSecurityAdministration
    TSD                             TechnologyServicesDepartment
    USACOE                          UnitedStatesArmyCorpsofEngineers
    USCG                            UnitedStatesCoastGuard
    VMS                             VoiceManagementSystem
    WTC                             WorldTradeCenter
    XBL                             ExclusiveBusLane





                                                                                          42|P a g e 

                                                                            PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                      2014-2023 CAPITAL PLAN
                                                                                   BY DEPARTMENT AND FACILITY
                                                                                                (in thousands)

                                                                                                                                                                 2014-2018    2019-2023       2014-2023
     Project ID                                                              Category   Stage   2014         2015         2016         2017         2018          Forecast     Forecast        Forecast
     AVIATION
                       CA02-LaGUARDIA AIRPORT
     CA02-037          PHYSICAL PROTECTION OF TERMINAL BUILDING GLASS          SEC       P             247      1,002        5,135              -            -        6,384               -        6,384
     CA02-045          INSTALLATION OF CCTV AT SELECT AOA ACCESS DOORS         SEC       P             419      1,646        1,084              -            -        3,149               -        3,149

     CA02-053          SCHOOL SOUNDPROOFING - PHASE 3                         MAND       4         5,560        7,860              -            -            -       13,420               -       13,420
     CA02-114          INSTALLATION OF BOLLARD AT TENANT TERMINALS             SEC       4           972        2,650              -            -            -        3,622               -        3,622
     CA02-117          UPGRADE OF GUARD POST VEHICLE BARRIER CONTROL           SEC       4           211            -              -            -            -          211               -          211
                       PANELS
     CA02-118          REHABILITATION OF RUNWAYS DECK WEARING SURFACE         SGR         1              -            -            -            -          137          137       11,020          11,157

     CA02-127          REHABILITATION OF RUNWAY DECK PRIORITY                 SGR        4             888            -            -            -            -          888               -          888
                       STRUCTURAL ELEMENTS - I
     CA02-128          TRANSFER OF RUNWAY DECK ELECTRICAL CIRCUITS            SGR        4         2,397        1,071            -              -            -        3,468               -        3,468
     CA02-129          REHABILITATION OF RUNWAY DECK STRUCTURAL               SGR        1         1,079        2,933        5,363              -            -        9,375               -        9,375
                       ELEMENTS - 2
     CA02-231          PERIMETER INTRUSION DETECTION SYSTEM                    SEC       4         5,940        1,413            -              -            -        7,353               -        7,353
     CA02-246          AIRPORT CHECKPOINT DIGITAL CCTV SYSTEM                  SEC       3           250          153        1,575              -            -        1,978               -        1,978
                       ENHANCEMENTS
     CA02-328          UPGRADE PUMPS IN PUMP HOUSE 4                          SGR        4         3,703        3,995        4,290            -              -       11,988            -          11,988
     CA02-330          BIOMETRICS                                              SEC       3             -           45          407        2,483              -        2,935            -           2,935
     CA02-352          DEICING PRODUCT RECOVERY                               MAND       P             -            -            -            -            717          717        6,728           7,444
     CA02-353          CONSTRUCT UNDERGROUND GLYCOL STORAGE                   MAND       P             -            -            -            -              -            -        7,461           7,461
                       FACILITY AT WEST END
     CA02-360          REHABILITATION OF EAST END LGA ROAD PAVEMENT           SGR        4         1,773          923              -            -            -        2,696               -        2,696
     CA02-368          REALIGNMENT OF WESTSIDE TAXIWAYS Y, CY, AA, BB, F,     MAND       4         1,161        1,248              -            -            -        2,409               -        2,409
                       D AND RVSR
     CA02-381          EMERGENCY GENERATORS                                   SGR        1               -          -            -            -            619          619       13,868          14,487
     CA02-388          CMWP - REHABILITATION OF CENTRAL TERMINAL ROAD         SGR        3             421          -            -            -              -          421            -             421
     CA02-401          REHABILITATION OF RUNWAY 13-31 AND ASSOCIATED          SGR        1             835     12,058       15,768       10,004              -       38,665            -          38,665
                       TAXIWAYS
     CA02-417          RUNWAY 13 & 22 DECKS SAFETY OVERRUN                    MAND       4        31,872       54,909        9,208             0            0        95,989               -       95,989
     CA02-423          REHABILITATION OF TAXIWAYS WEST OF RUNWAY 4-22         SGR        P         2,845        7,651          780             -            -        11,276               -       11,276

     CA02-434          CTB WATER DAMAGE REMEDIATION PHASE - 2                 SGR        4         1,614          412              -            -            -        2,027            -           2,027
     CA02-435          CTB CONCOURSE PLANK REHABILITATION                     SGR        4           786        1,052              -            -            -        1,838            -           1,838
     CA02-445          REHABILITATION OF TAXIWAYS A, M, AND ZA                SGR        4         6,945        3,540              -            -            -       10,485            -          10,485
     CA02-446          FACILITY DATA ROOM REHABILITATION                      SEP        P             -            -              -            -          375          375        4,877           5,252
     CA02-447          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE          SEC        3         1,349        1,379              -            -            -        2,728            -           2,728

     CA02-451          CMWP - TRAFFIC AND INTERSECTION SAFETY                 MAND       4             964          159            -            -            -        1,123               -        1,123
                       IMPROVEMENTS - PHASE 1
     CA02-454           FEEDER UPGRADE AND REDISTRIBUTION FOR DELTA                      4             832          894            -            -            -        1,726               -        1,726
                       2013 EXPANSION OF DELTA AIRLINES
                                                                                                                                                                                                           Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 63 of 80




                                                                              SEP
     CA02-464          REPLACEMENT OF THE RUNWAY DECK EXPANSION               SGR        P               -          215          672          915      3,828          5,630       16,555          22,186
                       JOINTS




CapitalPlanͲAllProjects                                                                     FͲ1
                                                                             PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                       2014-2023 CAPITAL PLAN
                                                                                    BY DEPARTMENT AND FACILITY
                                                                                                 (in thousands)

                                                                                                                                                            2014-2018     2019-2023       2014-2023
     Project ID                                                               Category   Stage   2014         2015         2016       2017       2018        Forecast      Forecast        Forecast
     CA02-465          REHABILITATION OF RUNWAY DECK PRIORITY                   SGR        P              -          792      4,858      6,162      2,896        14,708               -        14,708
                       STRUCTURAL ELEMENTS - 3
     CA02-466          REHABILITATION OF TAXIWAY "A" FROM ("L" TO "B") AND     SGR        P             507      4,576        3,528          -          -         8,611               -         8,611
                       TAXIWAY "B" (FROM "G" TO "CY")
     CA02-467          REHABILITATION OF TAXIWAY "B" (FROM "G" TO "V")         SGR        P               -          625      1,323      7,486      9,667        19,100        2,716          21,817
     CA02-468          REHABILITATION OF TAXIWAY "AA" AND TAXIWAY "BB"         SGR        P               -            -          -        264        606           870        8,306           9,176
                       (RUNWAY 4 THRESHOLD TO "E")
     CA02-470          REPLACEMENT OF RUNWAY 4 & 31 EMAS                       SGR        4        12,047            -            -          -          -        12,047               -       12,047
     CA02-486          LAGUARDIA AIRPORT FLOOD CONTROL AND RESILIENCY          SEP        1         2,400       15,000       20,000          -          -        37,400               -       37,400
                       IMPROVEMENTS
     CA02-372          CTB REDEVELOPMENT PROGRAM - CENTRAL HEATING &           SGR        P               -      7,500       20,000     20,000     20,000        67,500               -       67,500
                       REFRIGERATION PLANT
     CA02-419          CTB REDEVELOPMENT PROGRAM - TERMINAL                     RPP       P               -     70,000      140,000    137,709    200,000       547,709      272,751         820,460
                       CONSTRUCTION AND RAMP
     CA02-429          DEVELOPMENT OF INGRAHAM'S MOUNTAIN                       SEP       1         8,135       12,052        9,492      5,265          -        34,944               -       34,944
     CA02-460          WEST END 5KV DUCTBANK INFRASTRUCTURE UPGRADE             SEP       3         9,313        8,967        7,824      3,200          -        29,304               -       29,304

     CA02-461          EAST END SUBSTATION FOUNDATION AND SITE UTILITIES       SGR         3        2,202        2,202        1,102      1,112          -         6,618               -         6,618

     CA02-441          CTB REDEVELOPMENT PROGRAM - AIR TERMINAL                 SEP       P               -            -     10,000     10,000     10,000        30,000       30,000          60,000
                       RESTRICTED DEVICE RD & TAXIWAYS CONNECTIONS
                                          CTB PROGRAM                                              19,650      100,721      188,418    177,286    230,000       716,075      302,751        1,018,826
     CA02-339          CTB REDEVELOPMENT PROGRAM PLANNING & DESIGN -            RPP       M         1,267            -            -          -          -         1,267            -            1,267
                       PHASE 2
     CA02-440          CTB REDEVELOPMENT PROGRAM - REPLACEMENT OF              SGR        P        13,082       20,193       41,211     31,419     12,181       118,086       35,734         153,820
                       UTILITIES EAST OF GUARD POST 1
     CA02-442          CTB REDEVELOPMENT PROGRAM - AIR TERMINAL                 SEP       P             580     20,859       42,652     59,613     81,507       205,210      239,871         445,082
                       HIGHWAY EAST OF GUARD POST 1
     CA02-443          CTB REDEVELOPMENT PROGRAM - SURFACE AND                  SEP       P        11,276       36,145       74,564     54,480     30,994       207,459       16,000         223,459
                       STRUCTURE PARKING PROGRAM
     CA02-444          CTB REDEVELOPMENT PROGRAM - HANGARS 2 & 4 SITE           SEP       P        11,825        9,464            -          -          -        21,289               -       21,289
                       REUTILIZATION
     CA02-469          CTB REDEVELOPMENT PROGRAM - EAST END                    SGR        3        15,583       15,583       15,583     15,586     23,435        85,770               -       85,770
                       SUBSTATION BUILDING, EQUIPMENT AND FEEDERS
     CA02-474          CTB REDEVELOPMENT PROGRAM - EAST PARKING                 SEP       1        13,846       13,846       13,846     13,847     23,468        78,853               -       78,853
                       GARAGE
     CA02-482          CTB REDEVELOPMENT PROGRAM - FINAL PLANNING &             RPP       M        11,092       11,092       11,092      9,452      9,451        52,179               -       52,179
                       DESIGN
                                  CTB INFRASTRUCTURE PROGRAM                                       78,551      127,182      198,948    184,397    181,036       770,113      291,605        1,061,719
                                                LaGUARDIA AIRPORT Subtotal      50                186,221      356,102      461,355    388,998    429,881     1,822,558      665,889        2,488,446
                       CA03, 32-JFK AIRPORT
     CA03-016          EMERGENCY FUEL SHUTOFF SYSTEM                           MAND       4             266            -          -          -          -          266                -          266
     CA03-TB1          INSTALLATION OF WELCOME CENTERS AT TERMINAL 4            SEP       P             200          365          -          -          -          565                -          565
                       AND 5
                                                                                                                                                                                                        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 64 of 80




     CA03-017          REPLACEMENT OF GEOCOMPOSITE LINERS AT BULK              MAND       4         1,045              -          -          -          -         1,045               -         1,045
                       FUEL FARM - PHASE 2
     CA03-018          REPLACEMENT OF HANGAR 19 ROOF                           SGR        P               -            -          -          -       942           942         7,446            8,387



CapitalPlanͲAllProjects                                                                      FͲ2
                                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                   2014-2023 CAPITAL PLAN
                                                                                BY DEPARTMENT AND FACILITY
                                                                                             (in thousands)

                                                                                                                                                         2014-2018     2019-2023       2014-2023
     Project ID                                                           Category   Stage   2014        2015       2016       2017         2018          Forecast      Forecast        Forecast
     CA03-023          PAVEMENT REHABILITATION OF NORTH BOUNDARY            SGR        4        3,055           -          -            -            -         3,055               -         3,055
                       EASTERN, & NORTH HANGAR ROAD
     CA03-025          PAVEMENT REHABILITATION OF PAN-AM AND BERGEN        SGR        3            516      3,629      3,998          357            -         8,500               -         8,500
                       ROAD & FEDERAL CIRCLE RAMPS
     CA03-032          REHABILITATION OF TAXIWAYS FA & FB                  SGR        4         4,166       1,447      1,628            -            -         7,240               -         7,240
     CA03-036          PAVEMENT REHABILITATION OF EAST & WEST HANGAR       SGR        4         1,655           0          -            -            -         1,655               -         1,655
                       ROAD
     CA03-061          CCTV EQUIPMENT IN TERMINAL BAGGAGE AREAS             SEC       1           490       1,564      7,306      5,473            -          14,833               -        14,833
     CA03-075          TWA FLIGHT CENTER INTERIOR RENOVATION                RPP       4           138           -          -          -            -             138               -           138
     CA03-141          INSTALLATION OF BOLLARD AT TENANT TERMINALS          SEC       4         8,784       8,978        114        229        2,686          20,791               -        20,791
     CA03-145          UPGRADE OF GUARD POST ANTI-RAM VEHICLE BARRIER       SEC       4           211           -          -          -            -             211               -           211
                       CONTROL PANELS
     CA03-168          REHABILITATION OF RUNWAY 4L-22R                     SGR        3        27,798      96,663     83,695     95,510       30,000         333,666       30,000         363,666
     CA03-207          REHABILITATION OF BULK FUEL FARM ROADWAY            SGR        P             -           -          -          -          481             481       18,323          18,805
     CA03-234          PAVEMENT REHABILITATION OF CARGO PLAZA ROAD &       SGR        4         1,107           -          -          -            -           1,107            -           1,107
                       CENTER CARGO ROAD
     CA03-243          RUNWAY 13L-31R RUNWAY SAFETY AREA COMPLIANCE        MAND       1         1,915      18,908      4,001      2,134        7,989          34,947               -        34,947

     CA03-389          PERIMETER INTRUSION DETECTION SYSTEM                 SEC       4         8,818       3,290          -            -            -        12,108               -        12,108
     CA03-391          AIRPORT CHECKPOINT DIGITAL CCTV SYSTEM               SEC       4         1,666       3,839          -            -            -         5,505               -         5,505
                       IMPROVEMENTS
     CA03-505          BIOMETRICS                                          SEC        4             -          51      2,722        926            -           3,699            -           3,699
     CA03-507          UNMANNED GATES                                      SEC        4         1,625       3,117      5,676          -            -          10,418            -          10,418
     CA03-516          REHABILITATION OF RUNWAY 4R-22L                     SGR        P           368         811     19,772     15,000       25,500          61,452       64,119         125,570
     CA03-518          REPLACEMENT OF RUNWAY 4R APPROACH LIGHTING          SGR        P             -           -          -          -        8,249           8,249       18,630          26,879
                       SYSTEM PIER
     CA03-529          REHABILITATION OF TAXIWAY Q AND QG                  SGR        1         3,192       3,408     24,684     20,374        3,826          55,484               -        55,484
     CA03-542          PAVEMENT REHABILITATION OF LOOP & NORTH SERVICE     SGR        4           491           -          -          -            -             491               -           491
                       ROAD
     CA03-543          REHABILITATION OF TAXIWAY W (N OF RUNWAY 13L)       SGR        1             -           -          -            -          260           260        9,791           10,051
     CA03-546          TAXIWAY "U" (FROM "B" TO "CB")                      SGR        1             -           -          -            -          882           882       22,947           23,829
     CA03-554          REHABILITATION OF 148TH STREET AND JFK              SGR        4         1,416           -          -            -            -         1,416            -            1,416
                       EXPRESSWAY RAMPS
     CA03-555          REHABILITATION OF VAN WYCK NORTH & SOUTH            SGR        4         3,422           -          -            -            -         3,422               -         3,422
                       SERVICE ROAD
     CA03-565          CONSTRUCTION OF CENTRALIZED DE-ICING FACILITY -      RPP       1            350          -          -            -            -          350                -          350
                       PHASE 2
     CA03-574          BUILDING 156 (CONTROL TOWER) ROOFING AND HVAC       SGR        1         2,380       6,787      6,865      3,105        3,001          22,137               -        22,137
                       REPLACEMENT
     CA03-576          RELOCATION OF RESTRICTED VEHICLE SERVICE ROAD        SEP       4         2,320           -          -            -            -         2,320               -         2,320
                       BRIDGE - J2
     CA03-591          REDEVELOPMENT OF TERMINAL 4                          RPP       4        71,055      55,281     10,000     24,527       25,000         185,864       35,266         221,130
     CA03-594                                                                         4         2,641         170          -          -            -           2,811            -           2,811
                       REHABILITATION OF PAVEMENT CARGO SERVICE ROAD
                                                                                                                                                                                                     Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 65 of 80




                                                                           SGR
     CA03-603          BUILDING 254 REHABILITATION                         SGR        1              -          -          -            -          333          333         8,146           8,479
     CA03-605          ROOF REPLACEMENT PROGRAM BUILDING 14                SGR        1              -          -          -            -          753          753        13,967          14,720




CapitalPlanͲAllProjects                                                                  FͲ3
                                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                     2014-2023 CAPITAL PLAN
                                                                                  BY DEPARTMENT AND FACILITY
                                                                                                    (in thousands)

                                                                                                                                                                     2014-2018       2019-2023     2014-2023
     Project ID                                                              Category   Stage       2014         2015         2016         2017         2018          Forecast        Forecast      Forecast
     CA03-607          REPLACEMENT OF FUEL STORAGE TANK SYSTEMS -              SGR        P                  -            -            -            -            -               -         7,524         7,524
                       BULK FUEL FARM
     CA03-608          REPLACEMENT OF PUMPS & UNDERGROUND PIPING              SGR        P                   -            -            -            -            -               -      114,661       114,661
                       SYSTEMS SATELLITE FUEL FARM & BULK FUEL FARM
     CA03-612          REHABILITATION OF RUNWAY 13L-31R                       SGR        P                 -            -              -            -      4,498          4,498           56,547       61,045
     CA03-614          REHABILITATION OF TAXIWAY B (TAXIWAY N TO TAXIWAY                              10,314       10,623              -            -          -         20,937                -       20,937
                       TB)                                                     SGR              4
     CA03-616          NORTH BOUNDARY ROAD REALIGNMENT                        MAND       3             5,785            -              -            -            -        5,785                -         5,785
     CA03-618          RELOCATION OF RESTRICTED VEHICLE SERVICE ROAD           SEP       4             5,488        3,559              -            -            -        9,047                -         9,047
                       BRIDGE - J8
     CA03-619          REHABILITATION OF TAXIWAY Z AND H AND G                SGR        1                 -            -            -            -          278            278           16,470       16,748
     CA03-620          REHABILITATION OF VAN WYCK SUBSTATION                  SGR        P                 -            -            -            -        1,378          1,378           35,529       36,907
     CA03-621          REPLACEMENT OF 5KV FEEDERS                             SGR        3             9,775       13,251       13,734        3,000            -         39,760                -       39,760
     CA03-628          REHABILITATION OF TAXIWAYS A & B EAST (TAXIWAY EA      SGR        1                 -            -            -            -          666            666           59,784       60,450
                       TO TAXIWAY J)
     CA03-632          CENTRAL SUBSTATION UNITS E&F                           SGR        P                   -            -            -            -            -            -           23,758       23,758
     CA03-633          REHABILITATION OF BERGEN SUBSTATION AT JFK             SGR        1                   -            -            -            -          318          318           39,489       39,807
     CA03-634          REHABILITATION OF FARMER'S SUBSTATION                  SGR        P                   -            -            -            -            -            -           37,826       37,826
     CA03-636          SUPERVISORY CONTROL AND DATA ACQUISITION               SGR        3                   -            -            -            -          565          565            7,120        7,685
                       (SCADA)
     CA03-638          FACILITY DATA ROOM REHABILITATION                       SEP       P                 -            -              -            -      1,624          1,624            3,625         5,249
     CA03-639          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE           SEC       3             1,742        1,998              -            -          -          3,740                -         3,740

     CA03-645          CMWP - SWITCH HOUSE #2 CLIMATE CONTROL AND             SGR        3                 853            -            -            -            -          853                -          853
                       RELATED WORK
     CA03-646          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE          SGR        1             1,423        1,456              -            -            -        2,879                -         2,879

     CA03-676          REHABILITATION OF 5KV DISTRIBUTION SYSTEM              SGR        P                   -            -            -            -        384            384           17,674       18,058
     CA03-677          UPGRADE/REHABILITATION FACILITY-WIDE FIRE ALARM        SGR        P                 184          325          380          400      2,952          4,241           11,924       16,164
                       SYSTEM
     CA03-678          REHABILITATION/REPLACEMENT OF HIGH PRESSURE            SGR        P                   -            -            -            -          767          767           87,188       87,955
                       WATER
     CA03-679          REHABILITATION/REPLACEMENT OF LOW PRESSURE             SGR        P                   -            -            -            -          495          495           50,880       51,375
                       WATER
     CA03-760          ENGINEERED MATERIAL ARRESTOR SYSTEM                    MAND       3             9,250       10,000              -            -            -       19,250                -       19,250
     CA03-758          REALIGNMENT OF NORTH BOUNDARY RD, RVSR AND AOA         MAND       1                 -            -              -            -          856          856           19,530       20,386
                       FENCE WEST OF R/W 13L-31R
     CA32-048          REDEVELOPMENT OF TERMINAL 5                             RPP       4                 -            -            -            -        1,039          1,039           6,971          8,009
                                                      JFK AIRPORT Subtotal      60                   195,905      249,520      184,575      171,035      125,720        926,755         825,136      1,751,892
                       CA04, 44-NEWARK LIBERTY AIRPORT
     CA04-057          CMWP - AIRTRAIN GUIDEWAY COLUMN PROTECTION              SEP       3                 214            -            -            -            -          214                -          214
     CA04-547          CMWP - REHABILITATION OF FUEL PIT VAULT HATCHES        MAND       P                 629            -            -            -            -          629                -          629
                       AT C1 RAMP
     CA04-635          CMWP - INSTALLATION OF BUILDING 190 PARKING LOT         SEP       3                 619          210            -            -            -
                                                                                                                                                                                                                 Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 66 of 80




                                                                                                                                                                            829                -          829
                       ACCESS AND UNDERGROUND UTILITY
     CA04-041          SCHOOL SOUNDPROOFING - PHASE 3                         MAND       4             1,776        6,179        6,162        3,000            -         17,117                -       17,117
     CA04-045          PHYSICAL PROTECTION OF TERMINAL BUILDING GLASS          SEC       P                95        1,541        2,947        8,267       24,600         37,450           18,219       55,668



CapitalPlanͲAllProjects                                                                         FͲ4
                                                                          PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                    2014-2023 CAPITAL PLAN
                                                                                 BY DEPARTMENT AND FACILITY
                                                                                              (in thousands)

                                                                                                                                                             2014-2018     2019-2023       2014-2023
     Project ID                                                            Category   Stage   2014         2015       2016         2017         2018          Forecast      Forecast        Forecast
     CA04-049          CCTV EQUIPMENT IN TERMINAL BAGGAGE AREAS              SEC        P            822      2,508        719              -            -         4,049               -         4,049
     CA04-054          INSTALLATION OF CCTV AT SELECT AOA ACCESS DOORS       SEC        P            420      1,646      1,084              -            -         3,150               -         3,150

     CA04-294          REPLACEMENT OF TERMINAL B FIRE ALARM SYSTEM          SGR        P             -            -            -            -          97             97        5,657            5,754
     CA04-316          PERIMETER INTRUSION DETECTION SYSTEM                 SEC        4         4,482        1,592            -            -           -          6,074            -            6,074
     CA04-319          AIRPORT CHECKPOINT DIGITAL CCTV SYSTEM               SEC        4           611            -            -            -           -            611            -              611
                       ENHANCEMENTS
     CA04-397          BIOMETRICS                                           SEC        3             -           56      1,297          721              -         2,074               -         2,074
     CA04-455          REHABILITATION OF RUNWAY 4L-22R                      SGR        3        28,401       26,184     10,908       10,000              -        75,493               -        75,493
     CA04-468          CENTRAL TERMINAL AREA 27KV ELECTRICAL                SEP        3         4,990        2,700          -            -              -         7,690               -         7,690
                       DISTRIBUTION LOOP CLOSURE
     CA04-473          TERMINAL B REHABILITATION ELECTRICAL &               SGR        4             887          -            -            -            -          887                -          887
                       MECHANICAL SYSTEM - PHASE 2
     CA04-482          INSTALLATION OF BOLLARD AT TENANT TERMINALS          SEC        4         1,309        2,846          -            -              -         4,155               -         4,155
     CA04-498          REPLACEMENT OF HIGH TEMPERATURE HOT WATER            SGR        4         3,630        3,598      3,551        1,000              -        11,779               -        11,779
                       GENERATORS AT CHRP
     CA04-507          REHABILITATION OF TAXIWAY P DELAY REDUCTION AND      SGR        4         2,257            -            -            -            -         2,257               -         2,257
                       OTHER IMPROVEMENTS
     CA04-512          RELOCATE BREWSTER ROAD & SITEWORK                    MAND       4         3,709            -            -            -            -         3,709               -         3,709
                       PREPARATION FOR EMAS
     CA04-513          AIRTRAIN BASE GUIDEWAY MID-LIFE OVERHAUL             SGR        4           976        2,154      4,998        5,991        6,387          20,506               -        20,506
     CA04-514          AIRTRAIN BASE VEHICLE SUBSYSTEM LIFECYCLE            SGR        4         4,922        8,606     20,119       19,468       16,000          69,115               -        69,115
                       OVERHAUL
     CA04-516          INSTALLATION OF RUNWAY 11 EMAS FOR RSA               MAND       4         2,789         967             -            -            -         3,756               -         3,756
                       IMPROVEMENTS
     CA04-521          REHABILITATION OF TAXIWAY Y (FROM "RM" TO "S")       SGR        P               -          -            -            -            -             -        7,322            7,322
     CA04-524          REHABILITATION OF TAXIWAY Z (FROM RUNWAY EDGE        SGR        P               -          -            -            -            -             -        2,258            2,258
                       TO "UA")
     CA04-528          REPLACEMENT OF CHRP NORTH ELECTRICAL                 SGR        1             547       406           500          500     15,500          17,453        6,377          23,830
                       SUBSTATION AND CHILLER UPGRADES
     CA04-529          REHABILITATION OF CENTRAL TERMINAL AREA BRIDGES      SGR        P               -          -            -            -      1,440           1,440        8,296            9,736

     CA04-530          REHABILITATION OF HIGH TEMPERATURE HOT WATER                    0               -          -            -            -            -             -               -             -
                       PIPING IN TERMINAL "A", "B" & "C"                    SGR
     CA04-538          REHABILITATION OF TERMINAL C DEPARTURE AND 1&9       SGR        4         4,174        4,131            -            -            -         8,305               -         8,305
                       EXIT SOUTH AREA ROADWAY
     CA04-539          4TH ELECTRICAL SUBSTATION AT TERMINAL B              SEP        1           500        2,100      4,466       15,622        9,800          32,488            -          32,488
     CA04-555          END-OF-LIFE REPLACEMENT OF AIRTRAIN HVAC             SGR        4         1,332          217          -            -            -           1,549            -           1,549
     CA04-559          REPLACEMENT OF BRIDGE N20                            SGR        P           170          332        349        3,629        5,934          10,414        7,824          18,238
     CA04-561          REHABILITATION OF TAXIWAY Z (FROM "P" TO RUNWAY      SGR        P             -            -          -            -            -               -        3,503           3,503
                       29 END)
     CA04-563          REHABILITATION OF TAXIWAY BEYOND THE 7-YEAR PLAN     SGR        P               -          -            -            -          411          411         4,959            5,370

     CA04-564          TERMINAL B CURTAIN WALL REPLACEMENT                  SGR        P               -          -          -            -          506
                                                                                                                                                                                                         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 67 of 80




                                                                                                                                                                     506       29,915          30,422
     CA04-567          REHABILITATION OF TAXIWAY R (FROM "B" TO "Y")        SGR        P               -          -          -            -            -               -        8,949           8,949
     CA04-569          END AROUND TAXIWAYS FOR RUNWAY 4L-22R                SEP        P             515      1,749      1,561        1,500       35,000          40,325      214,125         254,450




CapitalPlanͲAllProjects                                                                   FͲ5
                                                                       PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                 2014-2023 CAPITAL PLAN
                                                                              BY DEPARTMENT AND FACILITY
                                                                                              (in thousands)

                                                                                                                                                      2014-2018     2019-2023       2014-2023
     Project ID                                                            Category   Stage   2014        2015       2016       2017       2018        Forecast      Forecast        Forecast
     CA04-579          INFRASTRUCTURE RENEWAL - ELECTRICAL                   SGR        1        4,500      29,000     26,000      6,284      1,716        67,500               -        67,500
                       DISTRIBUTION
     CA04-583          INFRASTRUCTURE RENEWAL - FUEL DISTRIBUTION -         SGR        3         3,685      28,400     34,000     10,000       500         76,585       59,000         135,585
                       PHASE 1
     CA04-584          TERMINAL B INFRASTRUCTURE AND UTILITY                SGR        4         1,346       2,046      2,505      1,500          -         7,398               -         7,398
                       REPLACEMENT & UPGRADE VIA WORK ORDER
     CA04-589          REHABILITATION OF EXPANSION JOINTS AND               SGR        1            280      1,891      2,079      1,521      1,352         7,123               -         7,123
                       STRUCTURAL ELEMENTS OF FACILITY BRIDGES
     CA04-593          TERMINAL B DEVELOPMENT OF OPERATIONAL                 RPP       P            600      2,500      3,500      1,100      2,075         9,775          984          10,758
                       IMPROVEMENTS FOR SOUTH END OF TERMINAL
     CA04-596           BUILDING 157 INFRASTRUCTURE IMPROVEMENT              SEP       3           700           -          -          -          -           700            -              700
     CA04-597          FACILITY DATA ROOM REHABILITATION                     SEP       P             -           -          -          -          -             -        5,251            5,251
     CA04-598          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC       3         1,706       1,640          -          -          -         3,346            -            3,346

     CA04-604          INFRASTRUCTURE RENEWAL - FUEL FARM BLDG 117          SGR        p              -          -          -          -       456           456         4,936            5,392
                       SWITCHGEAR REPLACEMENT
     CA04-611          TERMINAL B RECONSTRUCTION OF ESCALATORS 15 AND       SGR        P              -          -          -          -       250           250         3,750            4,000
                       21
     CA04-613          INSTALLATION OF AC8 AND AC9 IN TERMINAL B            SGR        P             -           -          -          -       204            204        4,796           4,999
     CA04-629          REMAIN OVERNIGHT PARKING                             RPP        P        12,500       2,000          -          -         -         14,500            -          14,500
     CA04-651          IMPROVEMENT OF MCCLELLAN STREET OVERPASS AND         SEP        P             -           -          -          -         -              -       20,281          20,281
                       SOUTHERLY ROADWAYS
     CA04-TBD          REHABILITATION OF FUELING STATION                     SEP       P         1,000       1,500          -          -          -         2,500               -         2,500
     CA44-017          LOWER LEVEL EXPANSION OF VERTICAL CIRCULATION         RPP       4         2,132           -          -          -          -         2,132               -         2,132
                       AT TERMINAL B4
     CA44-018          MID & UPPER LEVELS INTERNATIONAL DEPARTURES           RPP       4         1,440           -          -          -          -         1,440               -         1,440
     CA44-026          MID-LEVEL INTERNATIONAL MEETER/GREETER                RPP       4         2,606           -          -          -          -         2,606               -         2,606
     CA44-030          OVERALL SITE AND INFRASTRUCTURE PLANNING(1.0)-        RPP       1           250           -          -          -          -           250               -           250
                       TERMINAL A REDEV PROGRM -PHASE II PLANNING
     CA44-031          AIRSIDE PLANNING (2.0) - TERMINAL A REDEVELOPMENT     RPP       1            250      1,000          -          -          -         1,250               -         1,250
                       PROGRAM - PHASE II PLANNING
     CA44-032          TERMINAL A REDEVELOPMENT PROGRAM OVERALL              RPP       1         4,000       3,000          -          -          -         7,000               -         7,000
                       PLANNING - TERMINAL PLANNING
     CA44-033          LANDSIDE PLANNING (4.0) - TERMINAL A                  RPP       1         1,500           -          -          -          -         1,500               -         1,500
                       REDEVELOPMENT PROGRAM - PHASE II PLANNING
     CA44-037          TERMINAL A REDEVELOPMENT - TERMINAL                   RPP       P              -      1,000      3,000      3,000     18,000        25,000      332,001         357,001
                       CONSTRUCTION
     CA44-038          TERMINAL A REDEVELOPMENT - AIRSIDE CONSTRUCTION       RPP       P              -          -      2,000      2,000     28,000        32,000      214,001         246,000

     CA44-039          TERMINAL A REDEVELOPMENT - LANDSIDE                   RPP       P            250      6,500     12,500     13,000     43,003        75,253      352,973         428,226
                       CONSTRUCTION
     CA44-040          TERMINAL A REDEVELOPMENT - PARKING                    RPP       P              -          -          -          -     19,359        19,359      119,918         139,277
                       CONSTRUCTION
     CA44-041          TERMINAL A REDEVELOPMENT - AIRTRAIN                   RPP       P            500      2,000     10,000     13,500     12,000
                                                                                                                                                                                                  Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 68 of 80




                                                                                                                                                           38,000        2,000          40,000
                       CONSTRUCTION
                                  TERMINAL A REDEVELOPMENT                                       6,750      13,500     27,500     31,500    120,362       199,612     1,020,892       1,220,504
                                        NEWARK LIBERTY AIRPORT Subtotal      61                110,021     152,198    154,245    121,603    242,590       780,658     1,437,293       2,217,951



CapitalPlanͲAllProjects                                                                   FͲ6
                                                                          PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                    2014-2023 CAPITAL PLAN
                                                                                 BY DEPARTMENT AND FACILITY
                                                                                              (in thousands)

                                                                                                                                                             2014-2018    2019-2023       2014-2023
     Project ID                                                            Category   Stage   2014         2015       2016         2017         2018          Forecast     Forecast        Forecast
                       CA05-TETERBORO AIRPORT
     CA05-023          SCHOOL SOUNDPROOFING                                 MAND       4         1,332        1,701      3,500        1,450              -        7,983               -        7,983
     CA05-049          PERIMETER INTRUSION DETECTION SYSTEM                  SEC       4         2,816        1,097          -            -              -        3,913               -        3,913
     CA05-084          IMPROVE RUNWAY 6-24 RUNWAY SAFEWAY AREA              MAND       4        11,357            -          -            -              -       11,357               -       11,357
     CA05-108          REDNECK AVENUE RELOCATION                            MAND       4             -            -        203            -              -          203               -          203
     CA05-112          RUNWAY 1 RUNWAY SAFEWAY AREA -1000 FT OVERRUN        MAND       4         3,627        3,114          -            -              -        6,742               -        6,742
                       AND PATROL ROAD
     CA05-122          CMWP - INSTALLATION OF INTERIOR WILDLIFE FENCE       SEP        3         1,293            -            -            -          -          1,293            -           1,293
     CA05-126          REHABILITATION OF TAXIWAY BEYOND THE 7-YEAR PLAN     SGR        P             -            -            -          200      2,000          2,200        8,318          10,518

     CA05-127          REHABILITATION OF TAXIWAY G (WEST OF RUNWAY 1-19)    SGR        P               -          -            -            -           50           50        2,683           2,733
                       AND TAXIWAY E
     CA05-128          REHABILITATION OF RUNWAY 6-24                        SGR        P             -            -          -            -        1,000          1,000       22,208          23,208
     CA05-129          REHABILITATION OF TAXIWAY L                          SGR        P             -            -          -            -            -              -        6,199           6,199
     CA05-130          REPLACEMENT OF TAXIWAY B WITH NEW TAXIWAY V          SEP        1           244          496      2,875          646            -          4,261            -           4,261
     CA05-138          AIRFIELD WILDLIFE HAZARD MITIGATION                  SEP        P             -            -          -          204        2,498          2,702        8,875          11,577
     CA05-141          STORMWATER DRAINAGE SYSTEM IMPROVEMENTS              SEP        1           212        1,000      1,000        1,000        6,600          9,812        9,400          19,212
     CA05-142          ARFF BUILDING REPLACEMENT                            SEP        P         1,600          200          -            -          400          2,200       28,757          30,957
     CA05-148          REHABILITATION OF RUNWAY 1-19                        SGR        P             -            -          -            -            -              -       12,676          12,676
     CA05-149          CMWP - REPLACEMENT OF DEICING FLUID STORAGE          SEP        3         1,000          235          -            -            -          1,235            -           1,235
                       TANKS
                                              TETERBORO AIRPORT Subtotal     16                 23,481        7,844      7,578        3,500       12,548         54,951       99,116         154,067
                       C06-STEWART AIRPORT
     CA06-007          TERMINAL EXPANSION FEDERAL INSPECTION FACILITY        SEP       3             625      1,507      3,500        5,500              -       11,132               -       11,132
                       AND WELCOME CENTER
     CA06-012          REHABILITATION OF OPERATIONS CONTROL CENTER          SGR        P             -            -            -            -          574          574        2,545           3,119
     CA06-017          REHABILITATION OF TAXIWAY B                          SGR        3         2,189            -            -            -            -        2,189            -           2,189
     CA06-027          SOUTH RAMP PAVEMENT REPLACEMENT                      SGR        1             -            -            -            -          517          517       35,628          36,145
     CA06-045          REPLACEMENT OF AIRFIELD SIGNS                        SGR        3           520        1,138          722            -            -        2,381            -           2,381
     CA06-046          CMWP - POSITIVE AIR PRESSURE FOR PASSENGER           MAND       4           652            -            -            -            -          652            -             652
                       LOADING BRIDGES
     CA06-050          DESIGN AND CONSTRUCTION OF THE MID-HUDSON             SEP       4         2,421        1,442            -            -            -        3,862               -        3,862
                       REGIONAL CRIME LABORATORY
     CA06-052          REHABILITATION OF TAXIWAY C ALONG SOUTH RAMP         SGR        P             -            -          -          100          202            302       23,859          24,161
     CA06-053          REHABILITATION OF TAXIWAY F                          SGR        P             -            -          -            -          285            285        4,204           4,489
     CA06-054          REHABILITATION OF TAXIWAY A                          SGR        P             -            -          -            -          100            100       13,813          13,913
     CA06-055          REHABILITATION OF TAXIWAY C                          SGR        P             -            -          -            -          999            999        6,006           7,005
     CA06-056          REHABILITATION OF TAXIWAY L & N                      SGR        P             -            -          -            -          999            999        6,073           7,072
     CA06-058          REHABILITATION OF GLYCOL SYSTEM                      MAND       1             -            -          -            -          532            532        6,235           6,768
     CA06-066          REHABILITATION OF RUNWAYS 9-27 AND 16-34             SGR        4        30,781       36,421      4,548            -            -         71,750            -          71,750
     CA06-068          REHABILITATION OF TAXIWAY "A" (FROM "9" TO "C")      SGR        P             -            -          -            -        2,002          2,002       21,966          23,968
     CA06-069          REHABILITATION OF TAXIWAY H                          SGR        P             -            -          -            -        1,000          1,000        4,437           5,437
     CA06-070          MILL AND OVERLAY OF TAXIWAY M                        SGR        3         2,068          567          -            -            -          2,635            -           2,635
     CA06-079          BACKFLOW PREVENTER DEVICES                           MAND       P           895        1,152      1,556            -            -
                                                                                                                                                                                                       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 69 of 80




                                                                                                                                                                  3,603            -           3,603
     CA06-080          ROOF REPLACEMENT OFF HANGAR A                        SGR        P             -            -          -            -          332            332        3,201           3,533
     CA06-100          RUNWAY INCURSION MITIGATION - PHASE 1B               MAND       4         2,260        3,388      6,268        5,623            -         17,540            -          17,540
     CA06-102          REPLACEMENT OF TERMINAL FIRE ALARM SYSTEM            SGR        P             -            -          -            -          350            350        2,643           2,993



CapitalPlanͲAllProjects                                                                   FͲ7
                                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                   2014-2023 CAPITAL PLAN
                                                                                BY DEPARTMENT AND FACILITY
                                                                                            (in thousands)

                                                                                                                                                        2014-2018      2019-2023      2014-2023
     Project ID                                                     Category        Stage   2014        2015         2016       2017         2018        Forecast       Forecast       Forecast
     CA06-104   REPLACEMENT OF TERMINAL EMERGENCY GENERATOR           SGR             1            -           -            -          -          500            500          1,999         2,499
     CA06-115   IMPROVEMENTS TO AOA PERIMETER FENCE                   SEC             1          355         841        2,182        704            -          4,082              -         4,082
     CA06-119   IMPROVEMENTS TO GUARD POST                            SEC             P          933         261            -          -            -          1,194              -         1,194
                                           STEWART AIRPORT Subtotal    24                     43,699      46,717       18,776     11,927        8,392        129,511        132,609       262,121
                CMWP PROVISION                                        SGR                      5,000       5,000        5,000      5,000        5,000         25,000         50,000        75,000
                Future SGR Requirements                               SGR                          -           -            -          -            -              -        267,178       267,178
     CPR Prov   CPR Provision                                         SGR            P             -           -            -          -            -              -        825,000       825,000
                AVIATION TOTAL                                        211                    564,328     817,381      831,530    702,063      824,131      3,739,433      4,302,222     8,041,655
     DEVELOPMENT
     CW03-020   ELECTRICAL SYSTEM UPGRADE                             SGR            3         1,165             -          -            -          -         1,165               -         1,165
                                        DEVELOPMENT CMWP Subtotal      1                       1,165             -          -            -          -         1,165               -         1,165
     PORT COMMERCE
                CP05-PORT NEWARK
     CP05-120   CONSOLIDATE PROJECT TO 50 FT-NJ, PJ, AMBEROSE        MAND            4            65       2,551            -            -      4,500         7,116         24,010        31,126
     CP05-124   PORT SECURITY PROGRAM-NJMT-BADGE, ID SYS              SEC            3           251       4,074        7,650            -          -        11,975              -        11,975
     CP05-148   EXPRESS RAIL/CORBIN INTERMODAL RAIL SUPPORT -         RPP            4        10,671       6,684            -            -          -        17,355              -        17,355
                TRACK WORK - PHASE 2A
     CP05-156   PORT STREET & BREWSTER ROAD CONNECTOR                 SEP            4         5,034           -            -          -            -         5,034              -         5,034
     CP05-173   BERTH 14 WHARF RECONSTRUCTION                         SGR            4        13,355      10,251        4,187          -            -        27,793              -        27,793
     CP05-187   PORT STREET CAPACITY AND CORBIN STREET RAMPS          SEP            3         1,121       8,359       17,770     20,634       34,945        82,830         21,907       104,738
                IMPROVEMENT
     CP05-193   UPGRADE WATER LINES AT NJMT                           SGR            M         3,873       3,281        4,234      3,710        3,645        18,744          1,675        20,419
     CP05-206   DEMOLITION OF BUILDINGS 135, 150 AND 270              RPP            M             -           -            -          -          800           800          6,786         7,586
     CP05-220   BERTHS 30, 32 AND 34 FENDER SYSTEM UPGRADE            SEP            3         3,886       6,727        2,000          -            -        12,613              -        12,613
     CP05-246   BERTH 19 REHABILITATION                               SGR            1         1,000       5,000        1,000          -            -         7,000              -         7,000
     CP05-224   PRIORITY MARINE REPAIRS AT BERTHS 16 TO 24            SGR            4           787           -            -          -            -           787              -           787
     CP05-233   BERTH 3 WHARF RECONSTRUCTION                          SGR            4         9,409       8,540       10,372          -            -        28,321              -        28,321
     CP05-238    SANITARY LIFT STATIONS AT NJMT                       SGR            3         2,937       3,800          500          -            -         7,237              -         7,237
     CP05-239   WATER SYSTEM AT NJMT- PHASE 2                         SGR            P             -           -            -          -          999           999         18,578        19,576
     CP05-242   SPRINKLER SYSTEM REPLACEMENT(MULTIPLE                 SGR            P             -           -            -          -        1,995         1,995         41,003        42,998
                BUILDINGS)
     CP05-249    TRAFFIC SIGNALS AT NJMT                              SGR            3         3,385       3,468        2,948            -          -         9,800              -         9,800
     CP05-251    UPGRADE OF ELECTRICAL SYSTEMS IN BLDG 260            SGR            1           907       3,342          491          987      2,006         7,733          3,528        11,261
     CP05-254   FACILITY DATA ROOM REHABILITATION                     SEC            P             -           -            -            -          -             -          3,022         3,022
     CP05-255   800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC            3           469         380            -            -          -           850              -           850

                                                     PORT NEWARK Subtotal     19              57,151      66,457       51,154     25,332       48,890       248,983        120,510       369,494
                       CP08-MARINE TERMINAL AT ELIZABETH
     CP08-096          MCLESTER STREET ROADWAY WIDENING                       SEP    4         5,061           -            -          -            -         5,061              -         5,061
     CP08-111          UTILITIES RELOCATION KVK/NB 50' CHANNEL               MAND    4           888         851        1,000      1,000        2,392         6,131              -         6,131
     CP08-112          CONSOLIDATED PROJECT TO 50 FEET-NJ-PJ                 MAND    4             -       2,551            -          -        4,500         7,052         26,914        33,966
     CP08-127          NORTH AVE CORRIDOR IMPROVEMENTS (NACI)                 SEP    1           500       1,000        1,500      2,000        3,500         8,500         71,000        79,500
     CP08-142          CMWP - RE-ROOFING OF MODULAR WAREHOUSE BLDG                   4           234           -            -          -            -           234              -           234
                       1170
                                                                                                                                                                                                    Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 70 of 80




                                                                             SGR
                                     MARINE TERMINAL AT ELIZABETH Subtotal    5                6,683       4,402        2,500      3,000       10,392        26,977         97,914       124,891
                       CP09-BROOKLYN PIERS
     CP09-085          PORT SECURITY PROGRAM NYMT-BADGE, ID SYS              SEC      3            55          674      2,175            -          -         2,903               -         2,903



CapitalPlanͲAllProjects                                                                 FͲ8
                                                                           PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                     2014-2023 CAPITAL PLAN
                                                                                  BY DEPARTMENT AND FACILITY
                                                                                                (in thousands)

                                                                                                                                                         2014-2018      2019-2023       2014-2023
     Project ID                                                              Category   Stage   2014       2015        2016       2017       2018         Forecast       Forecast        Forecast
     CP09-108          PIERS CRUISE TERMINAL SHORE POWER                       SEP        4        6,272      1,415           -          -           -         7,687             -            7,687
     CP09-117          CLINTON WHARF DEMOLITION / STABILIZATION                SGR        P            -          -           -          -           -              -        3,357            3,357
     CP09-118          REPLACEMENT OF SPRINKLER SYSTEM PIER SHED 11            SGR        P            -          -           -          -          82             82        4,233            4,315
                                                   BROOKLYN PIERS Subtotal      4                  6,326      2,089       2,175          -          82        10,672         7,590           18,262
                       CP11-HOWLAND HOOK
     CP11-020          ARTHUR KILL CHANNEL DEEPENING 40/41'+2'                MAND       4         6,661      6,379           -          -          -         13,040             -          13,040
     CP11-039          CONSOLIDATED PROJECT TO 50 FEET-NY-AMBROSE             MAND       4             -      1,701           -          -      1,000          2,701        13,906          16,607
     CP11-044          UTILITIES RELOCATION ARTHUR KILL 50' CHANNEL           MAND       4           888        851       1,500      1,500      7,140         11,879             -          11,879
     CP11-055          PORT IVORY INTERMODAL TERMINAL (TRACKS 6-7) -           RPP       4         3,393          -           -          -          -          3,393             -           3,393
                       PHASE 1B
     CP11-056          ROADWAY ACCESS IMPROVEMENTS                             SEP       P         1,500      2,101       3,000      7,000     19,943         33,544        19,510          53,053
     CP11-073          DEMOLITION OF 60 & 80 SERIES BUILDINGS                  RPP       M             -          -           -          -      1,500          1,500         5,815           7,315
     CP11-083          FACILITY DATA ROOM REHABILITATION                       SEC       P             -          -           -          -          -              -         1,523           1,523
                                                    HOWLAND HOOK Subtotal       7                 12,443     11,031       4,500      8,500     29,584         66,057        40,754         106,811
                       CP16-AUTOMARINE TERMINAL
     CP16-067          PORT JERSEY SHORELINE PROTECTION                        SGR       4         7,425          -           -          -          -          7,425             -           7,425
     CP16-027          GLOBAL TERMINAL DEVELOPMENT                             RPP       4        58,003     14,458           -          -          -         72,461             -          72,461
     CP16-033          ACQUISITION OF STRATEGIC PROPERTIES                     RPP       4             -          -           -          -          -              -        54,072          54,072
     CP16-038          ACCESS IMPROVEMENTS PORT JERSEY                         RPP       3         6,282      4,585       1,037          -          -         11,904             -          11,904
     CP16-044          SGR DEVELOPMENT                                         SGR       P             -          -           -          -        177            177        44,244          44,421
     CP16-047          RECONSTRUCTION OF BERTH E-1 AND E-2                     SGR       3             -          -           -          -          -              -        16,884          16,884
     CP16-048          DEMOLITION AND STABILIZATION OF BERTH N2                SGR       P             -          -           -          -      4,800          4,800        11,401          16,200
                       PLATFORM
     CP16-053          INSTALLATION OF BACKFLOW PREVENTION DEVICES AT         MAND       3         2,654         141          -          -           -         2,794                -         2,794
                       PORT JERSEY SOUTH
     CP16-059          REPLACE HEATING SYSTEM IN BUILDING 180 IN PORT          SGR       4         1,600      1,649           -          -           -         3,249                -         3,249
                       JERSEY SOUTH
     CP16-066          UPGRADE OF PROTECTIVE DEVICES & DISTRIBUTION            SGR       3         2,633      3,514       2,737          -           -         8,884                -         8,884
                       EQUIPMENT - EAST SUBSTATION
                                             AUTOMARINE TERMINAL Subtotal       10                78,596     24,347       3,774          -      4,977        111,694       126,601         238,294
                       CP17-NY/NJ RAIL LLC
                       REHABILITATION OF MOORING CELLS AT NY/NJ RAILROAD                                                                                       4,301                -         4,301
     CP17-034                                                                  SGR       P           516      1,785       2,000          -          -
     CP16-035          EXPRESS RAIL - INTERMODAL CONTAINER TRANSFER            RPP       M        16,400     30,800      37,000     28,300     10,500        123,000        13,000         136,000
                       FACILITY AT GREENVILLE YARD
     CP17-005          INTERMODAL INFRASTRUCTURE AT GREENVILLE YARD            RPP       P         4,500      7,500       2,000          -      3,000         17,000             -          17,000
     CP17-016          INSTALLATION OF SUPPORT TRACKS                          RPP       3         6,000     13,000      19,300     13,500     10,500         62,300         8,900          71,200
     CP17-018          RECONFIGURE OFFSITE TRACKS - A-YARD AND                           3         2,250      3,500       7,250     10,000      6,000         29,000         4,450          33,450
                       TROPICANA                                               RPP
     CP17-019          CONSTRUCTION OF NEW BARGE                               RPP       3         5,000      4,200       1,850          -           -        11,050                -       11,050
     CP17-027          RECONSTRUCTION OF TRANSFER BRIDGE#10                    RPP       3        10,000     15,000       5,800          -           -        30,800                -       30,800
     CP17-029          PURCHASE OF 3 NEW ULTRA-LOW EMISSIONS                                       3,200      4,000           -          -           -         7,200                -        7,200
                       LOCOMOTIVES                                             SEP       P
     CP17-033          FENDER SYSTEM MODIFICATIONS AT 65TH STREET                        3         3,646      2,354           -          -           -
                                                                                                                                                                                                      Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 71 of 80




                                                                                                                                                               6,000                -         6,000
                       TERMINAL (CROSS HARBOR)                                 SEP
                                    GREENVILLE-CROSS HARBOR                                       50,996     80,354      73,200     51,800     30,000        286,351        26,350         312,701
                                                     NY/NJ RAIL LLC Subtotal    9                 51,512     82,139      75,200     51,800     30,000        290,652        26,350         317,002



CapitalPlanͲAllProjects                                                                     FͲ9
                                                                        PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                  2014-2023 CAPITAL PLAN
                                                                               BY DEPARTMENT AND FACILITY
                                                                                               (in thousands)

                                                                                                                                                                2014-2018       2019-2023       2014-2023
     Project ID                                                             Category   Stage   2014         2015         2016         2017         2018          Forecast        Forecast        Forecast
                       CP91-RED HOOK TERMINAL
     CP91-056          REPLACEMENT OF SPRINKLER SYSTEM AT PIER SHED 9B       SGR        P               -            -            -            -          415          415           4,396           4,812

     CP91-058          PAVEMENT AND UTILITY REHABILITATION OF PIER 9A        SGR        P               -            -            -            -          465          465           7,192           7,657
     CP91-059          PAVEMENT AND UTILITY REHABILITATION OF PIER 9B        SGR        P               -            -            -            -          584          584           7,963           8,547
     CP91-060          PAVEMENT AND UTILITY REHABILITATION OF PIER 10 -      SGR        P               -            -            -            -          562          562           5,843           6,405
                       PHASE 1
     CP91-061          PAVEMENT AND UTILITY REHABILITATION OF PIER 10 -      SGR        P               -            -            -            -            -               -        8,758           8,758
                       PHASE 2
                                               RED HOOK TERMINAL Subtotal      5                      -            -            -            -        2,026          2,026          34,153           36,179
                       CMWP PROVISION                                                             5,000        5,000        5,000        5,000        5,000         25,000          50,000           75,000
                       Future SGR Requirements                                                        -            -            -            -            -              -         293,159          293,159
                       PORT COMMERCE TOTAL                                    59                217,710      195,465      144,304       93,632      130,951        782,062         797,030        1,579,092
     PATH
                       CR02-PATH
     CR02-150          INSTALLATION OF SIGNAL REPLACEMENT PROGRAM            SGR        4        37,923       34,865       66,414       47,217       59,956        246,375          70,263         316,638
     CR02-212          TIE RENEWAL PROGRAM                                   SGR        4         2,078        2,078        2,078        2,078        2,078         10,388          10,097          20,484
     CR02-233          WASHINGTON ST SUBSTATION                              SGR        1             -        1,401        6,284       22,673       18,028         48,386         103,057         151,443
     CR02-258          TURNOUT REPLACEMENT - PHASE 3                         SGR        4         2,669        1,273          272            -            -          4,214               -           4,214
     CR02-259          CONTINUOUS WELDING FOR THE RAIL PROGRAM               SGR        4         1,700        1,700        1,700        1,700        1,700          8,499           5,532          14,030
     CR02-261          CONTACT RAIL PROGRAM                                  SGR        4         1,082          825          825          825          825          4,382           4,125           8,507
     CR02-328          TUNNEL TRACK AND DRAINAGE PROGRAM                     SGR        4         2,066        2,066        2,066        2,066        2,063         10,326          10,313          20,638
     CR02-336          REPLACEMENT AND UPGRADE OF THE CHRISTOPHER ST         SGR        4        10,520       10,876        9,985       11,390        7,548         50,319               -          50,319
                       SUBSTATION
     CR02-345          PURCHASE NEW RAILCARS (PA-5)                          SGR        4         4,243        2,977        1,163       32,885            -         41,268               -          41,268
     CR02-358          RESTRAINING RAIL PROGRAM                              SGR        4           933          871          863          863          863          4,394           4,316           8,710
     CR02-378          REPLACEMENT OF SUBSTATION #8 - KEARNY NJ              SGR        2           525        1,924        2,605        4,495        8,113         17,662          26,646          44,308
     CR02-382          REHABILITATION OF CONTACT THIRD RAIL HEATERS          SGR        4             -            -            -        1,140          859          1,999           1,584           3,583
                       FROM GRAPE INTERLOCKING TO NEWARK
     CR02-384          NEWARK COMPRESSOR                                     SEP        3           255          802             68            -            -        1,125               -           1,125
     CR02-406          SYSTEM UPGRADES FOR PA-5 FLEET                        SGR        4         3,064        1,218            286            -            -        4,568               -           4,568
     CR02-412          REHABILITATION OF DUCT BANK                           SGR        1             -            -              -            -          439          439          63,750          64,189
     CR02-418          CMWP - REPLACE 15KV AND 27KV CABLES BETWEEN           SGR        4           340          340            340          340          151        1,511             267           1,778
                       JUNCTION AND SUBSTATION #2 AND #15
     CR02-419          FIRE ALARM SYSTEMS REHABILITATION                     SGR        1             713          383          383      1,806        6,048          9,333          52,923          62,256
     CR02-421          TUNNEL ELECTRICAL LIGHTING SYSTEM                     SGR        P             231          317          963      2,134        2,352          5,997           4,505          10,503
     CR02-425          REPLACEMENT OF 27 KV CABLES BETWEEN                   SGR        P               -            -            -          -            -              -           3,443           3,443
                       SUBSTATIONS 2 AND 1
     CR02-434          EMERGENCY DIESEL GENERATORS FOR HARRISON CAR                                   139          303          167          106            -          715                  -          715
                       MTC FACILITY & CONSOLIDATED SHOP                      SEP        P
     CR02-446          REPLACEMENT OF NEWPORT STATION ESCALATOR              SGR        1             -            -            -            -            -              -          12,358          12,358
     CR02-462          REPLACEMENT OF SUBSTATION #7                          SGR        3         1,751        5,467       10,782       19,969        4,491         42,460               -          42,460
     CR02-463          REPLACEMENT OF SUBSTATION #9                          SGR        1           908        1,014          889        8,907        1,001         12,719          44,625          57,344
     CR02-477          HARRISON YARD SPECIAL TRACK WORK                      SGR        4         1,381          477          282          523        1,583
                                                                                                                                                                                                              Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 72 of 80




                                                                                                                                                                     4,245           7,913          12,158
     CR02-486          CMWP - RAIL ROAD AVE AND CAISSON 1 VENT BLDG          SGR        4           359           48           23            -            -            430               -             430
                       ROOF REPLACEMENT
     CR02-497          SUBSTATION #9 - PROPERTY ACQUISITION                  SGR         1        1,002            177            -            -            -        1,179                  -        1,179



CapitalPlanͲAllProjects                                                                    FͲ10
                                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                   2014-2023 CAPITAL PLAN
                                                                                BY DEPARTMENT AND FACILITY
                                                                                             (in thousands)

                                                                                                                                                            2014-2018     2019-2023     2014-2023
     Project ID                                                           Category   Stage   2014         2015         2016         2017         2018        Forecast      Forecast      Forecast
     CR02-504          DUCT BANK TUNNELS A/B UNDERRIVER                     SEC        P              -           -             -            -     13,955        13,955       147,363       161,318
     CR02-505          CMWP - FACADE AND ROOF CHRISTOPHER ST                SGR        1            257          25             -            -          -           282             -           282
                       SUBSTATION 1
     CR02-508          CMWP - REPLACEMENT OF ROOF FOR SUBSTATION 5         SGR        4             721          61             -            -          -          782              -          782
                       (BACKUS)
     CR02-509          REPLACEMENT OF ROOF FOR SUBSTATION 15 (CAISSON)     SGR         3            447          68           39             -          -          554              -          554

     CR02-513          CMWP - REPLACEMENT OF ROOF - SUBSTATION 2A          SGR        3             107          76           17             -          -          199              -          199
     CR02-514          CMWP - REPLACEMENT OF THE ROOF AT EXCHANGE          SGR        3             370          79           35             -          -          485              -          485
                       PLACE SUB #4
     CR02-516          REPLACEMENT OF MITER RAILS HACKENSACK RIVER          SGR       4         7,110       1,255               -            -          -         8,365             -         8,365
                       BRIDGE
     CR02-517          CONSOLIDATED MTC SHOP - EXHAUST AND VENTILATION     SGR        3             241          363          136          158          -          898              -          898
                       SYSTEM MODIFICATIONS
     CR02-518          REPLACEMENT OF SWITCHING STATION NO. 6              SGR        4         1,272       2,556         1,546          324            -         5,698             -        5,698
     CR02-522          REPLACEMENT OF ADA ELEVATOR - HOBOKEN               SGR        1           503       1,306           657          435            -         2,901             -        2,901
     CR02-527          REPLACEMENT OF IN-GROUND LIFTS HARRISON CAR MTC     SGR        1           931       4,383         4,049        1,652            -        11,016             -       11,016
                       FACILITY
     CR02-529          REPLACEMENT OF TRACKSIDE CIRCUIT BREAKERS           SGR        1             595          595          595          595       595          2,975         2,626        5,601
     CR02-541          REHABILITATION OF VENTILATION SUBSTATIONS -                                    -            -            -          416       935          1,351         9,404       10,755
                       MORTON                                               SGR        P
     CR02-548          SUBSTATION REHABILITATION - HARRISON CAR MTC                                   -            -          382          896      4,827         6,105        35,575       41,680
                       FACILITY                                            SGR         P
     CR02-552          CMWP - TUNNEL MAIN JUNCTION BOX REHABILITATION      SGR         4            117            -            -            -          -          117              -           117
     CR02-556          REPLACEMENT OF ELEVATORS - HARRISON CAR MTC                                    -            -            -            -          -            -          3,408         3,408
                       FACILITY                                            SGR        P
     CR02-557          REPLACEMENT OF 650V DC 2,000KCMIL CABLES IN ALL     SGR        4             77           340          340          340       340          1,437         1,588         3,024
                       TUNNELS EXCEPT E AND F
     CR02-560           INSTALLATION OF SUB DRAINS AND RAISE TRACK AT                               366     1,028             626          369          -         2,389             -         2,389
                       GRAPE CROSSOVER AREA                                SEP        P
     CR02-569          SUBSTATION #8 - PROPERTY ACQUISITION                SGR        2           879            474          239            -          -         1,593             -         1,593
     CR02-572           REPLACEMENT OF SWITCHING STATION #10 - NEWARK,                4         1,199            101            -            -          -         1,300             -         1,300
                       NJ                                                   SGR
     CR02-573          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE        SEC        3            957          540          53           165          -         1,715             -         1,715

     CR02-574          30TH ST MEZZANINE REHABILITATION                    SGR        P             756       732           220          830            -         2,539             -         2,539
     CR02-576           REPLACEMENT OF ROOF - MACMILLAN BLOEDEL (MMB)                               340     4,213         3,458        1,414            -         9,426             -         9,426
                       BUILDING                                            SGR        P
     CR02-579          CMWP - TRACKSIDE CIRCUIT BREAKERS CONTROL           SGR        4               -          425          425          425       404          1,679          296          1,975
                       CABLES REPLACEMENT
                       HACKENSACK RIVER BRIDGE EMERGENCY GENERATOR         SGR        1         1,253       1,297             450            -          -         3,000             -         3,000
     CR02-582          FUEL TANK
     CR02-583          TUNNELS - LATENT DAMAGE                             SGR        1         5,375       5,857         6,454        7,026        7,789        32,500        16,527       49,027
     CR02-584          EQUIPMENT PURCHASE RESILIENCY                       SGR        1         2,084       5,030         3,528        7,900            -
                                                                                                                                                                                                      Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 73 of 80




                                                                                                                                                                 18,542         5,000       23,542
     CR02-585          EQUIPMENT PURCHASE RECOVERY WORK                    SGR        1         2,548       3,431        10,312       14,987        8,149        39,427        15,000       54,427
     CR02-TBD1         SUBS 7, 8, 9 AND 14 MID-TERM REPAIRS                SGR        1           425         425           340          340          270         1,800             -        1,800
     CR02-TBD2         HOBOKEN STATION STAIRS FLOOD DOORS                  SGR        1           425       1,275         2,125          425          750         5,000             -        5,000



CapitalPlanͲAllProjects                                                                  FͲ11
                                                                   PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                             2014-2023 CAPITAL PLAN
                                                                          BY DEPARTMENT AND FACILITY
                                                                                          (in thousands)

                                                                                                                                                     2014-2018     2019-2023       2014-2023
     Project ID                                                        Category   Stage   2014         2015       2016       2017       2018          Forecast      Forecast        Forecast
     CR02-TBD3    HOBOKEN UNDER PLATFORM FANS                            SGR        1          425        2,550      2,975      1,050          -           7,000            -            7,000
     CR02-407     CAPACITY ENHANCEMENTS AND STATION                      SEP        1        2,929        6,862      2,441      2,159      4,250          18,641      195,500          214,141
                  MODIFICATIONS OF GROVE ST STATION
                                GROVE STREET STATION                                         2,929        6,862      2,441      2,159      4,250          18,641      195,500         214,141
     CR02-458     REPLACEMENT & UPGRADE OF HARRISON STATION              SEP       4        21,254       27,562     39,627     64,087     29,564         182,094       15,000         197,094
     CR02-496     HARRISON STATION - PROPERTY ACQUISITION,               SEP       4         6,831        1,025          -      2,000          -           9,856            -           9,856
                  REMEDIATION & DEMOLITION
                                  HARRISON STATION                                          28,085       28,587     39,627     66,087     29,564         191,950       15,000          206,950
     CR02-290     PATH EXTENSION TO NEWARK LIBERTY INTERNATIONAL         SEP       P         7,000       10,000     10,000    274,000    274,000         575,000      625,000        1,200,000
                  AIRPORT
                                     PATH TO EWR                                             7,000       10,000     10,000    274,000    274,000         575,000       625,000       1,200,000
                                                       PATH Subtotal     61                141,676      155,335    199,508    543,108    463,925       1,503,552     1,498,002       3,001,554
                  CR08-PATH SAFETY
     CR08-022     TUNNEL EMERGENCY VENTILATION FAN BLADE                SGR        4             655       176         52           -            -          883                -          883
                  RENOVATION
     CR08-066     EXCHANGE PLACE LANDSIDE SECURITY                       SEC       4           437          37          -           -            -           474               -           474
     CR08-068     JOURNAL SQUARE TRANSPORATION CENTER PHYSICAL           SEC       3         1,956         212        100           -            -         2,268               -         2,268
                  PROTECTION
     CR08-078     CONSTRUCTION OF FLOODGATE AT TUNNEL A,B,E,& F          SEC       3        11,267       10,998      9,111      8,686      8,258          48,320       40,292          88,612
     CR08-079     TUNNEL MITIGATION                                      SEC       P        12,700        1,000      6,468     14,680     15,120          49,968       72,337         122,305
     CR08-081     EXCHANGE PLACE WATERSIDE PROTECTION                    SEC       3         1,018          110          -          -          -           1,128            -           1,128
     CR08-091     CCTV & ACCESS CONTROL UPGRADES AT 33RD,HOB,PAV,        SEC       4         4,588          136          -          -          -           4,724            -           4,724
                  & NWK STATION
     CR08-096     INSTALLATION NEW LENEL ACCESS CONTROL &CCTV AT         SEC       1         1,156        3,515      1,246          -            -         5,917               -         5,917
                  SUBSTATIONS AND ROOMS
     CR08-100     UPGRADE OF UNIFIED COMMUNICATIONS NETWORK -           SGR        4             628       300        230        194             -         1,352               -         1,352
                  SONET
     CR08-101     CCTV AND ACCESS CONTROL AT 9TH, 14TH, 23RD             SEC       3         3,234        3,090          -          -            -         6,324               -         6,324
                  STATION
     CR08-103     INSTALLATION OF TRAIN UNDERCARRIAGE SCREENING          SEC       P             332      2,757      3,591          -            -         6,680               -         6,680
                  DEVICES
                                                PATH SAFETY Subtotal     11                 37,971       22,331     20,797     23,560     23,378         128,037      112,629         240,666
                  CR21-JOURNAL SQUARE
     CR21-032     BUS TERMINAL ESCALATOR REPLACEMENT                    SGR        4         1,299         110           -          -            -         1,409            -            1,409
     CR21-075     REPLACEMENT OF DOMESTIC WATER PUMPS AND PIPING        SGR        3             -           -           -          -          872           872        4,364            5,235
                  SYSTEMS
     CR21-080     BUS TERMINAL LANES - WEARING COURSE AND               SGR        2               -          -          -          -            -             -       12,729          12,729
                  WATERPROOF MEMBRANE REPLACEMENT
                                            JOURNAL SQUARE Subtotal       3                  1,299          110          -          -        872           2,280        17,092          19,373
                  CMWP PROVISION                                                             5,000        5,000      5,000      5,000      5,000          25,000        50,000          75,000
                  PATH TOTAL                                             75                185,946      182,776    225,306    571,668    493,174       1,658,869     1,677,724       3,336,593
     TUNNELS, BRIDGES & TERMINALS
                  CB02-HOLLAND TUNNEL
     CB02-040     REHABILITATION OF TUNNEL VENT SYSTEM                  SGR        4        17,877       16,702     24,553      1,682            -
                                                                                                                                                                                                 Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 74 of 80




                                                                                                                                                          60,813               -       60,813
                  MECHANICAL/ELECTRICAL
     CB02-123     REPLACEMENT OF PIERS 9/204                            SGR        3         5,256        5,032     26,181     31,033     18,324          85,826          342          86,168
     CB02-156     SUPERVISORY CONTROL SYSTEM REPLACEMENT                SGR        3             -            -          -          -      1,282           1,282       31,000          32,282



CapitalPlanͲAllProjects                                                               FͲ12
                                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                   2014-2023 CAPITAL PLAN
                                                                                BY DEPARTMENT AND FACILITY
                                                                                              (in thousands)

                                                                                                                                                             2014-2018     2019-2023       2014-2023
     Project ID                                                            Category   Stage   2014         2015         2016       2017         2018          Forecast      Forecast        Forecast
     CB02-162          REPLACEMENT FLOOR DRAINS/PIPING OF 4 VENT BLDGS       SGR        3        1,183            832          -            -            -         2,016               -         2,016

     CB02-173          REPLACEMENT/REHABILITATION OF BOILER AND HOT         SGR        3               -            -          -            -          472          472         3,001            3,473
                       WATER HEATER AT NJSB & NJAB
     CB02-175          REPLACEMENT OF EXHAUST & BLOWER DUCT ACCESS          SGR        3               -            -          -            -          222          222         3,145            3,368
                       DOORS IN VENTILATION BUILDINGS
     CB02-180          STAIR REHABILITATION IN NEW YORK RIVER               SGR        3               -            -          -            -          550          550         1,304            1,854
                       VENTILATION BUILDINGS
     CB02-184          ACCESS CONTROL SYSTEM ENHANCEMENT                    SEC        3             687      2,361        1,467            -            -         4,515            -            4,515
     CB02-191          REHABILITATION POWER DISTRIBUTION SYSTEM AND         SGR        P               -          -            -            -            -             -        4,956            4,956
                       REPLACE EMERGENCY GENERATORS
     CB02-193          CONCRETE AND STEEL REHABILITATION                    SGR        2             -            -            -          -          445             445       15,271          15,717
     CB02-195          REHABILITATION SUPPLY BLOWER PORTS                   SGR        3           902        3,116          509          -            -           4,527            -           4,527
     CB02-200          WATERSIDE BUFFER ZONE PROTECTION                     SEC        1         1,348          599            -          -            -           1,947            -           1,947
     CB02-202          TOLL COLLECTION SYSTEM REPLACEMENT                   SGR        4           778          844        3,371      5,955        4,017          14,965        1,254          16,219
     CB02-203          FACILITY DATA ROOM REHABILITATION                    SEP        1             -            -            -          -          500             500        2,500           3,000
     CB02-204          INTEROPERABILITY RADIO COMMUNICATIONS                SEC        P             -          303        1,193      1,403        2,349           5,248            -           5,248
     CB02-205          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE        SEC        3           654          625            -          -            -           1,279            -           1,279

     CB02-208          IN-BUILDING RF COVERAGE ENHANCEMENTS                 SEC        3         1,200              -          -            -            -         1,200            -            1,200
     CB02-211          REHABILITATION OF FRESH AIR STACKS IN VENTILATION    SGR        P             -              -          -            -          600           600        8,500            9,100
                       BUILDINGS
     CB02-213           REHABILITATION OF OFFSET DUCTS AND MITIGATION OF                             90           279      1,800      1,800              -         3,970               -         3,970
                       WATER INFILTRATION TUNNELS                           SGR        P
     CB02-218          REHABILITATE/REPLACE HIGH VOLTAGE TRANSFORMERS       SGR        P               -            -          -            -           0             0         6,000            6,000

                                                HOLLAND TUNNEL Subtotal      20                 29,977       30,693       59,074     41,873       28,762         190,378       77,273         267,651
                       CB03-LINCOLN TUNNEL
     CB03-093          REPAINTING OF TUNNEL VENTILATION FANS                SGR        4         1,777          999        1,633          -            -           4,409            -           4,409
     CB03-153          REPLACE DYER PLAZA AND DYER AVENUE ROADWAY           SGR        P           528        1,428        9,130     14,823       15,915          41,824        5,500          47,324
                       SLABS
     CB03-167          EXPLOSION PROOF EQUIPMENT AT MID-RIVER PUMP          SGR        4         2,182              -          -            -            -         2,182               -         2,182
                       ROOMS
     CB03-172          REPLACE EXHAUST & BLOWER DUCT ACCESS DOORS           SGR        P             -            -            -            -          -               -        1,868            1,868
     CB03-190          REPLACEMENT OF SUMP PUMP AT NY EXPRESS WAY           SGR        P             -          119          714          758      4,091           5,682        3,715            9,396
     CB03-211          STRUCTURAL REHABILITATION AND REPAVING OF HELIX      SGR        4        21,633       18,171        1,000            -          -          40,804            -           40,804

     CB03-226          REPLACEMENT OF BUS RAMP DECK - PHASE 3               SGR        P               -            -          -            -            -            -        31,103           31,103
     CB03-230          REHABILITATION OF DRUM RINGS AND REPAIRS TO          SGR        4             857            -          -            -            -          857             -              857
                       UNDERSIDE OF ROADWAYS
     CB03-231          REPLACEMENT OF VENTILATION LOUVERS IN NY             SGR        4         1,830        1,942        2,699            -            -         6,470               -         6,470
                       VENTILATION BUILDINGS
     CB03-234          NEW YORK BUS RAMP COMPLEX/PROTECTION                 SEC        P         1,201        1,271        3,531      5,745            500        12,248        7,250          19,498
     CB03-244          REPAVING OF CENTER TUNNEL                            SGR        3         1,241        3,176            -          -              -
                                                                                                                                                                                                         Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 75 of 80




                                                                                                                                                                   4,417            -           4,417
     CB03-245          DECK REPLACEMENT OF THE NY EXPRESSWAY BTWN           SGR        3        10,739        5,777            -          -              -        16,516            -          16,516
                       W31ST AND W33RD STREETS




CapitalPlanͲAllProjects                                                                   FͲ13
                                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                   2014-2023 CAPITAL PLAN
                                                                                BY DEPARTMENT AND FACILITY
                                                                                                (in thousands)

                                                                                                                                                             2014-2018     2019-2023     2014-2023
     Project ID                                                              Category   Stage   2014         2015         2016       2017       2018          Forecast      Forecast      Forecast
     CB03-248          INSTALLATION AND REHABILITATION OF ROADWAY              SGR        3              -            -          -          -          326           326         2,423         2,749
                       SAFETY DEVICES
     CB03-252          ACCESS CONTROL SYSTEM ENHANCEMENT                      SEC        3         3,180        1,989        1,674          -          -           6,842             -        6,842
     CB03-253          UPGRADE OF LIFE SAFETY MONITORING SYSTEM               SGR        3             -            -            -          -        489             489         5,957        6,446
     CB03-258          REPLACEMENT OF NEW JERSEY FEEDERS-SOUTH TUBE           SGR        4           296            0            0          0          -             296             0          296
     CB03-261          WATERSIDE BUFFER ZONE PROTECTION                       SEC        1         1,324          405            0          0          -           1,729             0        1,729
     CB03-262          REPLACEMENT OF TOLL COLLECTION SYSTEM                  SGR        4         1,209        1,322        5,288      7,756      6,524          22,098         2,933       25,031
     CB03-263          TUNNELS BRIDGES & TERMINALS INTEROPERABILITY           SEC        P         1,193        1,403        2,349      1,389          -           6,334             -        6,334
                       RADIO COMMUNICATIONS
     CB03-264          REPLACEMENT OF HVAC SYSTEM AT ADMIN BUILDING -         SGR        3               -            -          -          -          427          427          4,493         4,920
                       PHASE 2
     CB03-265          FACILITY DATA ROOM REHABILITATION                       SEP       P               -            -          -          -            -             -         3,000         3,000
     CB03-266          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE           SEC       3             665          595          -          -            -         1,260             -         1,260

     CB03-273          REPLACEMENT OF EXISTING ITS SYSTEM                     SGR        1               -            -          -          -      3,000           3,000        27,500       30,500
     CB03-276          REPLACEMENT OF SCADA SYSTEM                            SGR        P               -            -          -          -          0               0        13,100       13,100
     CB03-277          REPLACEMENT OF MECHANICAL & ELECTRICAL VENT            SGR        P               -            -          -          -      1,199           1,199        92,871       94,070
                       EQUIP
     CB03-280          REPLACE CURB PLATES IN THE NORTH AND SOUTH             SGR        P             825      1,471        1,031          -            -         3,327             -         3,327
                       TUBES
     CB03-213          REPLACEMENT OF HELIX - PLANNING                        SGR        1         1,209        7,137        7,494     10,229     10,229          36,297        21,480        57,777
     CB03-254          REPLACEMENT OF HELIX CONSTRUCTION                      SGR        P             -            -            -          -          -               -     1,383,490     1,383,490
                                            LT HELIX                                               1,209        7,137        7,494     10,229     10,229          36,297     1,404,970     1,441,267
     CB03-267          IMPROVEMENTS TO PULASKI SKYWAY                         SGR        4       181,001      252,206      201,037    169,148    112,659         916,053       150,955     1,067,008
     CB03-268          REPLACEMENT OF ROUTE 7 WITTPENN BRIDGE                 SGR        4        60,255       35,785      108,454    140,312     82,264         427,068       104,004       531,071
     CB03-269          EXTENSION OF ROUTE 1 & 9T (NEW ROAD)                   SEP        4         4,669       16,854       15,788     36,885     37,742         111,939        17,356       129,295
                                    LINCOLN TUNNEL ACCESS                                        245,925      304,845      325,279    346,345    232,665       1,455,060       272,315     1,727,375
                                                   LINCOLN TUNNEL Subtotal     31                297,814      352,049      361,821    387,045    275,365       1,674,093     1,878,997     3,553,090
                       CB04-GEORGE WASHINGTON BRIDGE
     CB04-132          REHABILITATION OF STRUCTURAL STEEL, LEAD PAINT         SGR        2         2,100        5,100        2,000      2,000      2,000          13,200        63,000       76,200
                       REMOVAL & RECOATING UNDERSIDE
     CB04-228          REHABILITATION OF MAIN SPAN FIRE STANDPIPE SYSTEM      SGR         4        5,492              -          -          -            -         5,492             -         5,492

     CB04-241          REHABILITATION OF NEW JERSEY/NEW YORK HIGH             SGR        3               -            -          -          -      1,165           1,165        42,134        43,299
                       TENSION ELECT SWITCHGEAR
     CB04-258          FORT LEE STREET IMPROVEMENTS                           SGR        4         1,972            -            -          -          -           1,972             -         1,972
     CB04-260          TOLL COLLECTION SYSTEM REPLACEMENT                     SGR        4         2,682        2,926       11,502     16,829     14,565          48,504         6,553        55,057
     CB04-261          REHABILITATION OF UPPER LEVEL SPAN OVER NJ             SGR        3         1,373        7,997       14,947      3,775          -          28,092             -        28,092
                       ANCHORAGE AND HUDSON TERRACE
     CB04-262          REPLACEMENT OF IMPACT ATTENUATORS GUIDE RAILS &        SGR        4         3,119              -          -          -            -         3,119             -         3,119
                       BARRIERS
     CB04-263          TRANS MANHATTAN EXPRESSWAY REHABILITATION              SGR        P             -            -            -          -           0              0        37,737        37,737
     CB04-270          REHABILITATION OF MAIN SPAN UPPER LEVEL                SGR        4        25,988       17,781            -          -           -         43,769             -        43,769
                       STRUCTURAL STEEL
                                                                                                                                                                                                       Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 76 of 80




     CB04-276          REHABILITATION OF 178TH &179TH STREET RAMPS, BUS       SGR        3         2,808        5,907       30,839     28,824     27,645          96,023        96,380      192,403
                       RAMPS, AND BUS TURNAROUND




CapitalPlanͲAllProjects                                                                     FͲ14
                                                                         PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                   2014-2023 CAPITAL PLAN
                                                                                BY DEPARTMENT AND FACILITY
                                                                                             (in thousands)

                                                                                                                                                        2014-2018     2019-2023       2014-2023
     Project ID                                                           Category   Stage   2014         2015       2016       2017       2018          Forecast      Forecast        Forecast
     CB04-285          REHABILITATION OF THE PALISADES INTERSTATE           SGR        3        5,542       14,720     30,566     12,282            -        63,109               -        63,109
                       PARKWAY HELIX
     CB04-286          NEW YORK RAMPS HR1 & HR2 - STRUCTURAL STEEL         SGR        3               -          -          -          -      1,063           1,063        6,976            8,039
                       REHABILITATION, LEAD ABATEMENT & PAINT
     CB04-287          PRIORITY STEEL AND CONCRETE REHABILITATION          SGR        4             696          -          -          -          -             696               -          696
     CB04-288          GWB - TME REHABILITATION OF MEDIAN BARRIERS AND     SGR        P             605      5,427      6,831      5,956      2,880          21,699               -       21,699
                       TRAFFIC SAFETY IMPROVEMENTS
     CB04-295          PROTOTYPE OF FIRE MITIGATE FIRE/DYNAMIC LOAD -       SEC       P               -          -          -       250           500          750        10,250          11,000
                       PHASE 2
     CB04-229          REPLACEMENT OF LIGHTING ALONG UPPER LEVEL NY        SGR        P               -          -          -          -            -             -        1,804            1,804
                       RAMP TO EXPRESSWAY RAMPS
     CB04-300          PAVEMENT REPLACEMENT OF LOWER LEVEL EAST            SGR        P             62        423       3,230      4,146      4,881          12,742               -       12,742
                       BOUND MAIN SPAN, LLEB APPROACH & RAMPS
     CB04-302          REHABILITATION OF HUDSON RAMPS PAVEMENTS            SGR        P         3,099        1,783      1,783          -            -         6,665               -         6,665
     CB04-306          CMWP - REPLACEMENT OF PASSENGER ELEVATOR AT         MAND       4           430            -          -          -            -           430               -           430
                       GWB NJAB
     CB04-312          UPGRADE/REPLACE ITS SIGNS AND FIELD DEVICES         SGR        M         5,550        1,287      1,848     10,450     12,310          31,444       38,985          70,429
     CB04-316          REPLACEMENT OF DRAINAGE SYSTEMS TROUGHS AT          SGR        4           529            -          -          -          -             529            -             529
                       UPPER LEVEL NY RAMP TO EXPRESSWAY ROADWAYS
     CB04-317          REHABILITATION OF CENTER AVE BRIDGE AND LEMOINE     SGR        1         2,033        2,119     19,491     18,385      6,943          48,971               -       48,971
                       AVE BRIDGE
     CB04-318          ACCESS CONTROL SYSTEM ENHANCEMENT                   SEC        3         5,690        2,629      3,814          -            -        12,133            -          12,133
     CB04-323           REPLACEMENT OF NJ BUILDINGS & MIS STRUCTURES       SGR        4           619            -          -          -            -           619            -             619
     CB04-325          UPGRADE EMERGENCY POWER SYSTEM                      SGR        1             -            -          -          -          131           131        3,101           3,231
     CB04-330          REHABILITATION OF RAMPS COMPLEX TO HENRY            SGR        P             -            -          -          -          800           800       13,000          13,800
                       HUDSON PARKWAY - PHASE 2
     CB04-332          REHABILITATION OF ROADWAY DECK OVER EMERGENCY       SGR        1               -          -          -          -          402          402        22,271          22,673
                       GARAGE AT ADMIN BUILDING
     CB04-333           FACILITY STEEL AND CONCRETE REHABILITATION         SGR        4         2,889        3,492          -          -            -         6,381            -           6,381
     CB04-334          REHABILITATION OF RAMPS COMPLEX TO HENRY            SGR        P             -            -          -          -          167           167       16,777          16,944
                       HUDSON PARKWAY
     CB04-335          REHABILITATION OF TRANS MANHATTAN EXPRESSWAY        SGR        P               -          -          -          -          252          252        19,322          19,575
                       ELECTRICAL SYS & LIGHTING
     CB04-336          REHABILITATION OF TME OVERPASSES - PHASE 1          SGR        P             246       493       1,041      1,156      1,818           4,754       71,694          76,448
     CB04-338          NEW JERSEY LIGHTING FEEDERS REPLACEMENT             SGR        1               -         -           -          -        320             320        9,036           9,356
     CB04-350          COMMERCIAL VEHICLE SECURITY AND SAFETY              SEC        P               -         -           -          -          -               -       12,097          12,097
                       INSPECTION SITE FOR PAPD
     CB04-351          ACCESS RAMP BARRIER UPGRADES                         SEC       P             807      2,087      2,132      1,105            -         6,131            -            6,131
     CB04-356          FACILITY DATA ROOM REHABILITATION                    SEP       1               -          -          -          -            -             -        3,831            3,831
     CB04-357          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE        SEC       3             732        614          -          -            -         1,345            -            1,345

     CB04-361          REHABILITATION OF FACILITY WIDE PRIORITY            SGR        1             433        598      4,106      4,782           -          9,919            -           9,919
     CB04-362          GWB REPAVE EASTBOUND UPPER LEVEL                    SGR        P             500      6,800     10,200          -           -         17,500            -          17,500
     CB04-363          REPLACEMENT OF ELECTRICAL DISTRIBUTION ROOMS IN     SGR        P               -          -          -          -           0
                                                                                                                                                                                                    Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 77 of 80




                                                                                                                                                                  0        9,000           9,000
                       TOWERS
     CB04-364          REPLACEMENT OF HALON FIRE SUPPRESSANT SYSTEM        SGR        P               -          -          -          -          150          150         3,450            3,600
                       IN ADMIN BUILDING COMPUTER ROOM



CapitalPlanͲAllProjects                                                                  FͲ15
                                                                        PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                  2014-2023 CAPITAL PLAN
                                                                               BY DEPARTMENT AND FACILITY
                                                                                               (in thousands)

                                                                                                                                                              2014-2018     2019-2023     2014-2023
     Project ID                                                             Category   Stage   2014         2015         2016         2017       2018          Forecast      Forecast      Forecast
     CB04-367          REPLACE SCADA SYSTEM                                   SGR        P              -            -            -          -          150           150         8,600         8,750
     CB04-368          REHABILITATION OF RETAINING WALLS AT NY & NJ           SGR        P              -            -            -          -            -             -         8,750         8,750
                       APPROACHES
     CB04-375          MAIN CABLE PROTECTION                                 SEC        P           575        1,188        2,586            -            -         4,350             -         4,350
     CB04-252          NJ ANCHORAGE IMPROVEMENTS                             SGR        3         1,790          337            -            -            -         2,127             -         2,127
     CB04-272          REHABILITATION OF NY/NJ ANCHOR MAIN CABLE             SGR        3         6,673        6,914        6,425        9,019            -        29,031             -        29,031
                       STRANDS
     CB04-319          REHABILITATION OF SUSPENDER ROPE REPLACEMENT &        SGR        1         5,012        5,647        7,376       60,401     98,014         176,450      724,207       900,657
                       MAIN CABLE
     CB04-343          REHABILITATION OF NJ ANCHORAGE SUMP PUMP ROOM         SGR         1            295      1,040              -          -            -         1,335            0          1,335

                                    GWB SUSPENDER ROPES                                          13,770       13,938       13,801       69,420     98,014         208,943       724,207       933,150
                                     GEORGE WASHINGTON BRIDGE Subtotal        47                 90,339       97,308      160,717      179,360    176,156         703,880     1,228,955     1,932,835
                       CB06-BAYONNE BRIDGE
     CB06-100          CCTV CAMERA SYSTEM REPLACEMENT                        SEC        4           296          243          828            -          -           1,368             -         1,368
     CB06-113          TOLL COLLECTION SYSTEM REPLACEMENT                    SGR        4        11,224       14,002        1,694        2,479      2,019          31,418         1,137        32,555
     CB06-087          NAVIGATIONAL CLEARANCE PROGRAM                        SEP        4       233,827      316,153      305,844      216,081     70,915       1,142,820             -     1,142,820
                                       BAYONNE BRIDGE                                           233,827      316,153      305,844      216,081     70,915       1,142,820             -     1,142,820
                                                BAYONNE BRIDGE Subtotal        3                245,348      330,398      308,366      218,560     72,934       1,175,606         1,137     1,176,743
                       CB07-GOETHALS BRIDGE
     CB07-134          REPLACEMENT OF CCTV CAMERA SYSTEM                     SEC        4         1,463        1,467            954          -            -         3,884             -         3,884
     CB07-139          STRUCTURAL STEEL REPAIR                               SGR        4           751            -              -          -            -           751             -           751
     CB07-143          REPLACEMENT OF BUILDINGS AND TOLL BOOTHS              SGR        P             -            -              -          -          439           439         5,321         5,760
                       HEATING SYSTEMS
     CB07-149          REPLACEMENT OF TOLL COLLECTION SYSTEM                 SGR        4             778          847      3,358        4,917      3,952          13,852         2,223       16,075
     CB07-152          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE         SEC        3             517          435          -            -          -             952             -          952

     CB07-154          REHABILITATION OF SCUPPERS                            SGR        P             -            -            -            -        268             268         2,231        2,498
     CB07-103          GOETHALS BRIDGE MODERNIZATION                         SGR        3        50,617       40,650       65,113       68,935    143,332         368,647             -      368,647
     CB07-145          INTERCHANGE RAMPS PROJECT                             SEP        1         2,153        2,671       24,086       33,903     31,975          94,788        11,117      105,905
                                                        GOETHALS BRIDGE                          52,770       43,321       89,199      102,838    175,307         463,435        11,117      474,552
                                                 GOETHALS BRIDGE Subtotal      8                 56,279       46,070       93,511      107,755    179,965         483,580        20,891      504,471
                       CB08-OUTERBRIDGE CROSSING
     CB08-075          REHABILITATION OF FIRE STANDPIPE                      SGR        3             -              -            -          -            -             -         9,445         9,445
     CB08-082          REHABILITATION OF DECK                                SGR        P             -              -            -          -            -             -         3,215         3,215
     CB08-083          TOLL CANOPY - REPLACEMENTS OF HVAC UNITS AND                     4         1,712            808            -          -            -         2,520             -         2,520
                       ROOF                                                  SGR
     CB08-097          REPLACEMENT OF CCTV CAMERA SYSTEM                     SEC        4         1,062        1,052          920            -          -           3,034             -        3,034
     CB08-099          REPAIR OF STRUCTURAL STEEL                            SGR        4         2,132            -            -            -          -           2,132             -        2,132
     CB08-107           REHABILITATION OF PAVEMENT                           SGR        4         5,468        3,744        3,675            -          -          12,887             -       12,887
     CB08-109          MAIN SPAN PIER PROTECTION                             SEC        1           700        3,845        6,000        8,479     10,000          29,023             -       29,023
     CB08-110          REPLACEMENT OF TOLL COLLECTION SYSTEM                 SGR        4           648          706        2,816        4,109      3,211          11,490         2,113       13,603
     CB08-115          CROSS BRACING                                         SEC        P           865          882        2,278        4,251      1,119           9,394             -        9,394
                                                                                                                                                                                                        Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 78 of 80




                                           OUTERBRIDGE CROSSING Subtotal      9                  12,587       11,036       15,690       16,838     14,329          70,480        14,774       85,253
                       CB48-GWB BUS STATION
     CB48-048          REPLACEMENT OF CEILING OVER TME                       SGR        P             -            -            -            -            -             -        13,100        13,100
     CB48-056          GWBBS REDEVELOPMENT                                   RPP        3        51,228        5,790        5,100            -            -        62,118             -        62,118



CapitalPlanͲAllProjects                                                                    FͲ16
                                                                        PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                                  2014-2023 CAPITAL PLAN
                                                                               BY DEPARTMENT AND FACILITY
                                                                                             (in thousands)

                                                                                                                                                         2014-2018     2019-2023       2014-2023
     Project ID                                                           Category   Stage   2014         2015         2016        2017       2018        Forecast      Forecast        Forecast
     CB48-061          INSTALLATION OF BOLLARDS                             SEC        P          337          449          723       1,409      2,021         4,938            -            4,938
                                                 GWB BUS STATION Subtotal    3                 51,565        6,239        5,823       1,409      2,021        67,056       13,100           80,156
                       CT06-PORT AUTHORITY BUS TERMINAL
     CT06-120          REPLACEMENT OF BUILDING AUTOMATED MONITORING &       SGR       4         6,712              -           -          -          -         6,712               -         6,712
                       CONTROL SYSTEM
     CT06-199          REPLACEMENT OF FIRE PUMPS                            SGR       4         2,029        2,040          239           -         -          4,308               -        4,308
     CT06-200          REPLACEMENT OF FIRE ALARM SYSTEM                    MAND       3         2,356        3,105        4,809       5,379       438         16,087               -       16,087
     CT06-202          REPLACEMENT OF PRIMARY ELECTRIC SERVICE              SGR       4         4,410        4,657        4,398           -         -         13,464               -       13,464
     CT06-230          REPLACEMENT OF SOUTH WING HVAC UNITS AND             SGR       4         7,595        7,306        8,682       9,736         -         33,320               -       33,320
                       ASSOCIATED ELECTRICAL DISTRIBUTION SYSTEM
     CT06-239          INTERNAL STRUCTURAL ENHACEMENTS                      SEC       P         1,067        1,120        3,250      11,137     15,831        32,406       24,469          56,875
     CT06-241          UPGRADE OF CCTV SURVEILLANCE EQUIPMENT               SEC       P         1,602        3,325        2,871           -          -         7,798            0           7,798
     CT06-246          ENHANCEMENT OF ACCESS CONTROL SYSTEM                 SEC       3         1,700        1,323          995           -          -         4,018            -           4,018
     CT06-247          CMWP - REHABILITATION OF THE STEAM DISTRIBUTION      SGR       4           133            -            -           -          -           133            -             133
                       SYSTEM
     CT06-259          PABT NORTH WING SBL WEARING COURSE                   SGR       P             184          395      1,496       2,000       400          4,475               -         4,475
                       REPLACEMENT
     CT06-261          REPLACEMENT OF VENTILATION BUILDING EXHAUST          SGR       P               -            -           -          -       300           300        15,950          16,250
                       FANS AND NW PENTHOUSE FANS
     CT06-266          800MHZ SIMULCAST TRUNKED RADIO SYSTEM UPGRADE        SEC       3             874          748           -          -          -         1,622               -         1,622

     CT06-269   REHABILITATION OF EGRESS DOORS                              SGR       P               -            -           -          -         0             0         3,800            3,800
     CT06-271   REHABILITATION/REPLACEMENT OF 33 FRESH AIR                  SGR       P               -            -           -          -         0             0         4,500            4,500
                SUPPLY FANS LOCATED IN THE NW & SW
                              PORT AUTHORITY BUS TERMINAL Subtotal           14                28,662       24,019        26,740     28,253     16,969       124,642        48,719         173,361
                CMWP PROVISION                                                                  5,000        5,000         5,000      5,000      5,000        25,000        50,000          75,000
                Future SGR Requirements                                                             -            -             -          -     43,514        43,514        77,946         121,460
                TBT TOTAL                                                   135               817,569      902,811     1,036,742    986,092    815,014     4,558,229     3,411,792       7,970,020
     WORLD TRADE CENTER
     CW31-555   1 WORLD TRADE CENTER CONSTRUCTION                           RPP       M4       506,297           -            -           -          -       506,297               -       506,297
                                                  ONE WTC Subtotal           1                 506,297           -            -           -          -       506,297               -       506,297
     CR12-001   WTC TRANSPORTATION HUB                                     MAND       M4       552,129     272,208      114,399           -          -       938,736               -       938,736
                                        TRANSPORTATION HUB Subtotal          1                 552,129     272,208      114,399           -          -       938,736               -       938,736
     CW11-026   WTC SITE COMMON INFRASTRUCTURE                              SEC       M3           577         519          101           -          -         1,197               -         1,197
     CW11-024   PERFORMING ARTS CENTER                                     MAND       M4        33,359      37,125       36,708      32,462     19,801       159,455               -       159,455
     CW11-001   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4         3,450       8,501            -           -          -        11,951               -        11,951
     CW11-005   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4        13,868       9,020        5,032           -          -        27,920               -        27,920
     CW11-006   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4        73,396      65,232       24,919      13,108          -       176,655               -       176,655
     CW11-007   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4     (174,775)           -            -           -          -     (174,775)               -     (174,775)
     CW11-010   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4       111,104     159,795      109,067           -          -       379,966               -       379,966
     CW11-015   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4        91,175     164,590            -           -          -       255,765               -       255,765
     CW11-016   WTC SITE COMMON INFRASTRUCTURE                             MAND       M4             -           -       52,000           -          -        52,000               -        52,000
     CW11-018   WTC SITE MONITORING AND COORDINATION                       MAND       M4             -      40,490        5,867       5,147          -        51,504               -        51,504
     CW11-019   WTC SITE SECURITY OPERATIONS                               MAND       M4        34,229      43,627       27,353      24,899          -
                                                                                                                                                                                                     Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 79 of 80




                                                                                                                                                             130,108               -       130,108
     CW11-020   WTC MEMORIAL AND MUSEUM PROJECT                            MAND       M4             -     130,902            -           -          -       130,902               -       130,902
     CW32-002   TOWER 2 STRUCTURE TO GRADE                                 MAND       M4         5,000           -            -           -          -         5,000               -         5,000




CapitalPlanͲAllProjects                                                                  FͲ17
                                                                  PORT AUTHORITY OF NEW YORK & NEW JERSEY
                                                                            2014-2023 CAPITAL PLAN
                                                                         BY DEPARTMENT AND FACILITY
                                                                                         (in thousands)

                                                                                                                                                     2014-2018     2019-2023       2014-2023
     Project ID                                                       Category   Stage   2014        2015        2016        2017        2018         Forecast      Forecast        Forecast
     CW34-002    DESIGN, CONSTRUCT AND BUILD OUT PA CORP. OFFICES      MAND        3       66,211      26,345            -           -           -        92,556               -        92,556
                 (4 WTC)
     CW11-023    CORTLANDT STREET STATION                               SRP       M4       61,702       62,221     26,007      10,499       9,501        169,930               -       169,930
     CW11-008    WTC MEMORIAL AND PA FUNDED                             SEP       M4      100,449    (244,500)          -           -           -      (144,051)               -     (144,051)
                         SITE COMMON INFRASTRUCTURE incl MEMORIAL
                                                           Subtotal      16               419,745     503,867     287,054      86,115      29,302      1,326,083            -        1,326,083
     CW11-027    CAMPUS SECURITY PLAN                                   SEC       3        28,817      35,567      33,393           -           -         97,778            -           97,778
     CW11-025    WTC SYSTEMS INTEGRATION                                SEP       2        15,000      15,000       3,954           -           -         33,954            -           33,954
     CW11-017    WTC COMMERCIAL CAR PARKING                            MAND       M4       30,000      38,598      18,401       5,274           -         92,273            -           92,273
     CW11-022    WTC PROPERTY MANAGEMENT FACILITY                      MAND       M4       80,000      15,363           -           -           -         95,363            -           95,363
     CW30-001    WTC RETAIL REDEVELOPMENT - PHASE 1                     RPP       M4      400,000     393,488     149,916      49,817      22,328      1,015,549            -        1,015,549
     CW31-001    1 WORLD TRADE CENTER - MARKETING, LEASING AND          RPP       M4      160,000     111,434      75,924      28,298       5,078        380,734       11,945          392,679
                 BASE BUILDING IMPROVEMENTS
                       WORLD TRADE CENTER REDEVELOPMENT Subtotal         6                713,817     609,450     281,588      83,389      27,406      1,715,651       11,945        1,727,596
     CW11-003    VEHICULAR SECURITY CENTER & TOUR BUS PARKING           SEC       M4      138,527           -           -           -           -        138,527            -          138,527
                 (VSC1)
     CW11-009    EAST BATHTUB VEHICULAR SECURITY CENTER (VSC2)         MAND       M4        54,398      40,101          -           -           -         94,499            -           94,499
     CW11-021    WEST BATHTUB VEHICULAR ACCESS (VSC3)                  MAND       M4        13,285      96,447     29,632      26,779      14,275        180,418            -          180,418
                                   VEHICLE SECURITY CENTER Subtotal      3                 206,210     136,548     29,632      26,779      14,275        413,444            -          413,444
                 WTC                                                    27               2,398,198   1,522,073    712,673     196,283      70,983      4,900,211       11,945        4,912,156
     REGIONAL CAPITAL PROGRAMS
     CF81-002    NY TRANSPORTATION, ECONOMIC DEVELOPMENT &              SRP       1         3,500       1,500            -           -           -         5,000               -         5,000
                 INFRASTRUCTURE RENEWAL PROGRAM
     CF84-008    NJ HUDSON RARITAN ESTUARY PROGRAM                      SRP       1         2,892       1,508       2,100       2,588       1,000         10,088       25,000          35,088
     CF85-007    NY HUDSON RARITAN ESTUARY PROGRAM                      SRP       1         1,300       1,000       1,371       1,000       1,000          5,671       25,000          30,671
     CF99-001    REGIONAL TRANSPORTATION AND ECONOMIC                   SRP       1         3,375       2,000       3,924           -           -          9,299            0           9,299
                 DEVELOPMENT PROJECTS-NY
     CF99-003    REGIONAL DEVELOPMENT FACILITY                          SRP       1         2,579         842           -           -           -          3,421            -           3,421
     CF99-017    ENVIRONMENT LAND ACQUISITION PROGRAM - NY              SRP       1         2,000       3,000           -           -           -          5,000            -           5,000
     CF99-022    NEW JERSEY PROJECT DEVELOPMENT FUNDS                   SRP       1         1,946       2,146           -           -           -          4,092            -           4,092
     CF99-227    NEW YORK REGIONAL TRANSPORTATION PROGRAMS              SRP       1             -           -           -           -           -              -      250,000         250,000
     CF93-001    NY REGIONAL INFRASTRUCTURE RENEWAL PROGRAM             SRP       1        15,000      15,000      15,000      15,000      15,000         75,000      225,000         300,000
     CF94-001    NJ REGIONAL INFRASTRUCTURE RENEWAL PROGRAM             SRP       1        15,000      15,000      15,000      15,000      15,000         75,000      225,000         300,000
                 REGIONAL CAPITAL PROGRAMS                               10                47,592      41,996      37,395      33,588      32,000        192,571      750,000         942,571
     FUTURE REQUIREMENTS
                 TECHNOLOGY PROVISION                                             P          2,000       2,000       2,000       2,000       2,000        10,000        10,000          20,000
                 FUTURE SGR FUNDING REQUIREMENTS                                  P              -           -           -           -           -             -       759,939         759,939
                 FUTURE REQUIREMENTS                                                         2,000       2,000       2,000       2,000       2,000        10,000       769,939         779,939
                 TOTAL CAPITAL PLAN                                     523              4,234,508   3,664,503   2,989,950   2,585,326   2,368,253    15,842,540    11,720,651      27,563,191
                                                                                                                                                                                                 Case 1:11-cv-06746-RKE-HBP Document 151-14 Filed 08/21/15 Page 80 of 80




CapitalPlanͲAllProjects                                                              FͲ18
